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·1· · · · · · · · ·BRADLEY DEAN GRIFFIN
·2· · · · ·IN THE UNITED STATES DISTRICT COURT
·3· · · · ·FOR THE WESTERN DISTRICT OF VIRGINIA
·4· · · · · · · ·CHARLOTTESVILLE DIVISION
·5
·6· ELIZABETH SINES, et al.,
·7· · · · · · Plaintiffs,
·8· vs.· · · · · · · · · · CASE NO. 3:17-cv-00072-NKM
·9· JASON KESSLER, et al.,
10· · · · · · Defendants.
11
12
13· · · · · · · · · · · *REVISED*
14· · · · · · ·REMOTE VIDEOTAPED DEPOSITION
15· · · · · · · · · · · · · OF
16· · · · · · · · ·BRADLEY DEAN GRIFFIN
17
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21
22
23· Reported by:
24· Greta H. Duckett, CCR, RPR, CRR, CVR-S, RVR-M-S
25· Job no. 180540


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·1· · · · · · · · ·BRADLEY DEAN GRIFFIN

·2

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·5· · · · · · · · ·Remote videotaped deposition of

·6· BRADLEY DEAN GRIFFIN, taken before Greta H.

·7· Duckett, Certified Court Reporter, Registered

·8· Professional Reporter, Certified Realtime Reporter,

·9· and Commissioner for the State of Alabama at Large,

10· on Thursday, June 11, 2020, commencing at

11· approximately 9:45 a.m.

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·2· · · · · · · · · · ·APPEARANCES
·3
·4· FOR THE PLAINTIFFS:
·5
·6· · · · · ·Caitlin Munley, Esq.
·7· · · · · ·Allegra Flamm, Esq.
·8· · · · · ·COOLEY
·9· · · · · ·1299 Pennsylvania Avenue, NW
10· · · · · ·Washington, DC 20004
11
12· FOR THE WITNESS:
13
14· · · · · ·Bryan Jones, Esq.
15· · · · · ·BRYAN J. JONES
16· · · · · ·106 W. South Street
17· · · · · ·Charlottesville, Virginia 22902
18
19· FOR DEFENDANT JAMES ALEX FIELDS, JR.:
20
21· · · · · ·David Campbell, Esq.
22· · · · · ·DUANE, HAUCK, DAVIS, GRAVATT & CAMPBELL
23· · · · · ·100 West Franklin Street
24· · · · · ·Richmond, Virginia 23220
25


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·2· · · · · · · · APPEARANCES, CONTINUED

·3

·4· FOR DEFENDANTS JASON KESSLER, NATHAN DAMIGO,
· · IDENTITY EVROPA, MATTHEW PARROTT, AND THE
·5· TRADITIONALIST WORKER PARTY:

·6
· ·   · · · · ·James Kolenich, Esq.
·7
· ·   · · · · ·LAW OFFICES OF JAMES E. KOLENICH
·8
· ·   · · · · ·9435 Waterstone Boulevard
·9
· ·   · · · · ·Cincinnati, Ohio 45249
10

11

12· ALSO PRESENT:

13
· · · · · · ·Julie Ruse
14
· · · · · · ·Amanda Liverzani
15
· · · · · · ·Lem Lattimer, videographer
16

17

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·3· · · · · · · · · EXAMINATION INDEX

·4

·5· BRADLEY DEAN GRIFFIN

·6· · · · ·BY MS. MUNLEY· · · · · · · · · · · · · ·9

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·1· · · ·BRADLEY DEAN GRIFFIN
·2· · · · ·THE VIDEOGRAPHER:· Good morning,
·3· ·Counselors.· My name is Lem Lattimer.
·4· ·I'm a legal videographer in association
·5· ·with TSG Reporting.· Due to the
·6· ·severity of COVID-19 and following the
·7· ·practice of social distancing, I will
·8· ·not be in the same room with the
·9· ·witness.· Instead, I will record this
10· ·videotaped deposition remotely.· The
11· ·reporter, Greta Duckett, also will not
12· ·be in the same room and will swear the
13· ·witness in remotely.
14· · · · ·Do all parties stipulate to the
15· ·validity of this video recording and
16· ·remote swearing and that it will be
17· ·admissible in the courtroom as if it
18· ·had been taken following Rule 30 of the
19· ·Federal Rules of Civil Procedure and
20· ·the state's rules where this case is
21· ·pending?
22· · · · ·MS. MUNLEY:· Yes.
23· · · · ·MR. CAMPBELL:· Yes.
24· · · · ·MR. KOLENICH:· Yes.
25· · · · ·MR. JONES:· Yes.


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·1· · · · · · · · ·BRADLEY DEAN GRIFFIN
·2· · · · · · · · · ·THE VIDEOGRAPHER:· Thank
·3· · · · · · ·you.· This is the start of media
·4· · · · · · ·labeled number 1 of the video-recorded
·5· · · · · · ·deposition of Bradley Dean Griffin, in
·6· · · · · · ·the matter of Elizabeth Sines, et al.,
·7· · · · · · ·versus Jason Kessler, et al., on June
·8· · · · · · ·the 11th, 2020, at approximately
·9· · · · · · ·9:46 a.m.
10· · · · · · · · · ·All appearances are noted on the
11· · · · · · ·record.· Will the court reporter please
12· · · · · · ·swear the witness in.
13· · · · · · · · BRADLEY DEAN GRIFFIN,
14· · · · · · the witness, having first been duly sworn
15· to speak the truth, the whole truth and nothing but
16· the truth, testified as follows:
17· · · · · · · · · · ·EXAMINATION
18· BY MS. MUNLEY:
19· · · ·Q.· · ·Good morning, Mr. Griffin.
20· · · ·A.· · ·Good morning.
21· · · ·Q.· · ·My name is Caitlin Munley.· I'm from
22· the firm Cooley, LLP, and I represent the plaintiff
23· in the action Sines v. Kessler.· I'm going to set a
24· couple ground rules to begin with, and then some of
25· them are going to be specific to the interesting


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·1· · · · · · · · ·BRADLEY DEAN GRIFFIN
·2· video situation that we find ourselves in today.
·3· · · · So just so that you're aware, a court
·4· reporter is transcribing everything that is being
·5· said while we are on the record.· So I'm going to
·6· ask that you speak slowly and clearly so that the
·7· court reporter can understand everything that is
·8· being said.
·9· · · · Do you understand?
10· · · ·A.· · ·I'll do my best.
11· · · ·Q.· · ·Okay.· It's also important to give
12· verbal responses so the court reporter can record
13· them.· Don't shake your head, no nodding, no
14· "uh-huh," "um-hm."· We need clear "yeses" or "nos."
15· · · · Do you understand?
16· · · ·A.· · ·Yes.
17· · · ·Q.· · ·Okay.· I apologize.· We may be cutting
18· in or out a little bit.· If, at any point, you do
19· not hear my question, please feel free to ask me to
20· repeat it.· If you are experiencing any tech
21· issues, let us know as soon as possible.
22· · · · Do you understand?
23· · · ·A.· · ·Yeah, I will.
24· · · ·Q.· · ·Okay.· If you don't understand a
25· question as I have phrased it, will you let me


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·1· · · · · · · · ·BRADLEY DEAN GRIFFIN
·2· know, and I will do my best to rephrase it in a
·3· more understandable way?· If you don't tell me that
·4· you understand a question [sic], I will assume that
·5· you understood it and that your answer is to my
·6· question.
·7· · · · Do you understand?
·8· · · ·A.· · ·Yes.
·9· · · ·Q.· · ·Okay.· There may be objections from
10· counsel here today.· As it's clear, there is a
11· couple counsel on the phone.· Those objections are
12· for the record only.· You are obligated to answer
13· all of my questions regardless of the objection,
14· unless your counsel, Mr. Jones, instructs you not
15· to.
16· · · · Do you understand that?
17· · · ·A.· · ·Yes, I do.
18· · · ·Q.· · ·If, at any time, you need a break,
19· please feel free to let me know.· As long as there
20· is not a question pending, we can take a break.· We
21· discussed this before you got on the line, but I
22· think we're going to break in about 45 minutes for
23· a short break; we'll probably run another 45
24· minutes after that; and then we'll take lunch.· But
25· we're not making you eat super early in the


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·1· · · · · · · · ·BRADLEY DEAN GRIFFIN
·2· morning.
·3· · · ·A.· · ·Okay.
·4· · · ·Q.· · ·All right.· Do you understand that you
·5· are sworn to tell the truth in this deposition
·6· today?
·7· · · ·A.· · ·Yes, I do.
·8· · · ·Q.· · ·Are you under the influence of any
·9· medication or drugs, including alcohol or
10· prescription medicine, that would impair your
11· ability to testify truthfully and accurately today?
12· · · ·A.· · ·No.
13· · · ·Q.· · ·Okay.· Is there any other reason you
14· may not be able to testify truthfully or accurately
15· today?
16· · · ·A.· · ·No.· The only problem I anticipate is
17· that my battery on this tablet might go dead, so I
18· might need to --
19· · · · · · · · · ·(Simultaneous speakers.)
20· BY MS. MUNLEY:
21· · · ·Q.· · ·Okay.· If that happens, I'll let your
22· counsel know, and we will just reconvene as soon as
23· possible.· Okay?
24· · · ·A.· · ·Okay.
25· · · ·Q.· · ·I think there is a somewhat high


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·1· · · · · · · · ·BRADLEY DEAN GRIFFIN
·2· likelihood that at least one of us will experience
·3· tech issues during this deposition, and so we're
·4· going to have to roll with the punches.· Okay?
·5· · · ·A.· · ·Okay.
·6· · · ·Q.· · ·All right.· Have you ever been deposed
·7· before?
·8· · · ·A.· · ·No, I haven't.
·9· · · ·Q.· · ·Okay.· Have you ever been party to a
10· lawsuit before?
11· · · ·A.· · ·No.
12· · · ·Q.· · ·Have you ever been named as a defendant
13· in a lawsuit before?
14· · · ·A.· · ·The other Charlottesville lawsuit.
15· · · ·Q.· · ·Do you know the name of that lawsuit?
16· · · ·A.· · ·I think it's the Washington lawsuit.
17· · · ·Q.· · ·Okay.· Is that the same lawsuit that
18· Ms. Tadrint is involved in?
19· · · ·A.· · ·I believe so.
20· · · ·Q.· · ·And you were not deposed in that
21· matter?
22· · · ·A.· · ·No.
23· · · ·Q.· · ·Is that matter still pending?
24· · · ·A.· · ·I have no idea.· It's been going on for
25· two years.


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·1· · · · · · · · ·BRADLEY DEAN GRIFFIN
·2· · · ·Q.· · ·Okay.· And you said that the subject
·3· matter of that lawsuit is also Charlottesville; is
·4· that correct?
·5· · · ·A.· · ·That's correct.
·6· · · ·Q.· · ·Can you give me any more details about
·7· that?
·8· · · ·A.· · ·Apparently, this person sued, a few
·9· days after Charlottesville, a bunch of defendants,
10· and I was not amongst them.· And I believe the
11· lawsuit was withdrawn.· And it was reintroduced
12· last May or so, and I was added to it in June.· I'm
13· sorry.· Not last May.· It was May of 2018, and I
14· was added to it in June of 2018.· It's been about
15· two years now.
16· · · ·Q.· · ·Okay.· And what are the claims against
17· you in that lawsuit?
18· · · ·A.· · ·Some kind of conspiracy or something
19· like that.
20· · · ·Q.· · ·Okay.· Have you ever testified in court
21· before?
22· · · ·A.· · ·No, I have not.
23· · · ·Q.· · ·Did you do anything to prepare for
24· today's deposition?
25· · · ·A.· · ·Aside from talking to my lawyer, no.


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·1· · · · · · · · ·BRADLEY DEAN GRIFFIN
·2· · · ·Q.· · ·Okay.· Did you review any documents in
·3· preparation for this deposition?
·4· · · ·A.· · ·No.
·5· · · ·Q.· · ·Did you speak to anybody about this
·6· deposition besides your attorney?
·7· · · ·A.· · ·No, I have not.
·8· · · ·Q.· · ·Okay.· How long did you speak to your
·9· counsel for?
10· · · ·A.· · ·About this deposition?· Just off and
11· on -- just off and on, telling me I need to get
12· ready to do this and, you know, get Zoom installed.
13· And that's pretty much it.
14· · · ·Q.· · ·Okay.· And you did not go over any
15· documents with your counsel; is that correct?
16· · · ·A.· · ·That's correct.
17· · · ·Q.· · ·Okay.· Are you familiar with this
18· litigation, the Sines v. Kessler litigation?
19· · · ·A.· · ·How could I not?
20· · · ·Q.· · ·Have you -- and, Mr. Griffin, I
21· apologize.· I'm going to be asking my co-counsel,
22· Ms. Flamm, to be showing you exhibits.· I'm not
23· controlling them myself today, because she's much
24· more tech savvy than I am.· So you're going to hear
25· me speaking to somebody called Allegra on the


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·1· · · · · · · · ·BRADLEY DEAN GRIFFIN
·2· record.
·3· · · · · · · · · ·MS. MUNLEY:· Allegra, would you
·4· · · · · · ·mind showing Exhibit 1?
·5· · · · · · · · · ·(Exhibit 1 was marked for
·6· · · · · · · · · · identification.)
·7· BY MS. MUNLEY:
·8· · · ·Q.· · ·Mr. Griffin, do you recognize this
·9· document?
10· · · ·A.· · ·Yes, I've seen it.
11· · · ·Q.· · ·Okay.· All right.· So you've seen it
12· before?
13· · · ·A.· · ·Yes, I'm familiar with it.· It's been
14· going on for two years.
15· · · ·Q.· · ·Okay.· Who showed it to you?
16· · · ·A.· · ·It's been all over the Internet.· It's
17· been on the news.
18· · · ·Q.· · ·Okay.· So you saw it on the Internet?
19· · · ·A.· · ·Well, yes.· I mean, everyone, you know,
20· in our circles knows about the lawsuit.
21· · · ·Q.· · ·Do you remember how you first heard
22· about it?
23· · · ·A.· · ·I believe it was announced a month or
24· two after Charlottesville.
25· · · ·Q.· · ·And that was announced in the circle


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·1· · · · · · · · ·BRADLEY DEAN GRIFFIN
·2· that you run in; is that correct?
·3· · · ·A.· · ·It was in the media when I first heard
·4· about it.
·5· · · ·Q.· · ·So you heard about it on the news; is
·6· that correct?
·7· · · ·A.· · ·That's correct.
·8· · · ·Q.· · ·And what is it that you heard about it?
·9· · · ·A.· · ·That Ms. Kaplan (phonetic) has sued a
10· bunch of people who went to the Charlottesville
11· rally and has made various claims of conspiracy.
12· · · ·Q.· · ·All right.· Do you understand that I
13· represent the plaintiffs in this litigation and
14· that you're here to testify as part of this
15· litigation today?
16· · · ·A.· · ·Yes, I understand that.
17· · · ·Q.· · ·Okay.· Have you spoken to any of the
18· defendants in this litigation about this case?
19· · · ·A.· · ·Maybe -- maybe briefly.· I think that I
20· talked to --
21· · · · · · · · · ·(Simultaneous speakers.)
22· · · ·A.· · ·-- Jason Kessler.· I think I talked to
23· Jason Kessler before.
24· · · ·Q.· · ·Okay.· When would that have been?
25· · · ·A.· · ·I believe he was trying to organize a


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·1· · · · · · · · ·BRADLEY DEAN GRIFFIN
·2· second rally in Charlottesville.· And he went to
·3· D.C., and he tried to get a bunch of us to come to
·4· that.· And I didn't want to go to that, because --
·5· one of the reasons being the lawsuits, the
·6· violence.· I just didn't want to go to his second
·7· rally.
·8· · · ·Q.· · ·Okay.· And when he was asking you to go
·9· to that rally in D.C., that's when you discussed
10· this litigation; is that correct?
11· · · ·A.· · ·You know, it briefly came up.· And, you
12· know, he's always talking about, like, his defense
13· against the lawsuit.· And I believe he filed his
14· own lawsuit as well, and he informed me of that.
15· · · ·Q.· · ·Did you speak to any of the other
16· defendants in this lawsuit about it?
17· · · ·A.· · ·Not -- maybe Dr. Hill, I would say.
18· Dr. Michael Hill.· I know he's also -- you know,
19· he's also being represented by my attorney.
20· · · ·Q.· · ·And what did you talk to Mr. Hill
21· about?
22· · · ·A.· · ·Just that, I mean, we have lawsuits to
23· deal with.· That's all.
24· · · ·Q.· · ·All right.· Did you talk to Michael
25· Tubbs about it?


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·1· · · · · · · · ·BRADLEY DEAN GRIFFIN
·2· · · ·A.· · ·Who?
·3· · · ·Q.· · ·Mr. Tubbs.
·4· · · ·A.· · ·I don't believe so.
·5· · · ·Q.· · ·Do you know to whom I'm referring?
·6· · · ·A.· · ·Yes, of course.
·7· · · ·Q.· · ·All right.· I'm going to ask you a
·8· couple of easy questions here.· Have you ever had a
·9· different legal name?
10· · · ·A.· · ·No.
11· · · ·Q.· · ·Do you have any nicknames or other
12· names that people use to refer to you?
13· · · ·A.· · ·My pseudonym, Hunter Wallace, my pen
14· name.
15· · · ·Q.· · ·And is Hunter Wallace the name that you
16· use on the Internet?
17· · · ·A.· · ·Yes.· I have a blog.· It's just a name
18· I use for the blog.
19· · · ·Q.· · ·And what's the name of your blog?
20· · · ·A.· · ·Occidental Dissent.
21· · · ·Q.· · ·Do you ever use the name Hunter Wallace
22· in the real world?
23· · · ·A.· · ·No, not really, although people off the
24· Internet recognize me as the pen name.
25· · · ·Q.· · ·Is Hunter Wallace the name you use as a


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·1· · · · · · · · ·BRADLEY DEAN GRIFFIN
·2· League of the South member?
·3· · · ·A.· · ·No, I use my real name.
·4· · · ·Q.· · ·Okay.· Do you have any other names?
·5· · · ·A.· · ·No.
·6· · · ·Q.· · ·Have you ever used any other pen names
·7· to write on the Internet?
·8· · · ·A.· · ·Going back 20 years on forums.· I mean,
·9· various pseudonyms I've used for 20 years on
10· forums.· I can't remember them all.
11· · · ·Q.· · ·Okay.· None of them you've used with
12· regularity within the last 20 years?
13· · · ·A.· · ·Not within the last five, 10 years, no.
14· It's just been Hunter Wallace for 10 years, so --
15· but before that, I used various pseudonyms to post
16· on forums.· I'm being completely honest.
17· · · ·Q.· · ·Do you recall any of them?
18· · · ·A.· · ·Daedalus was one, but that was posting
19· on a forum ten years ago.
20· · · ·Q.· · ·And you used that on which forum?
21· · · ·A.· · ·I believe it was a forum called The
22· Phora.· And this was, like, 10 years ago.
23· · · ·Q.· · ·And what kind of forum was The Phora?
24· What was the subject matter?
25· · · ·A.· · ·It was the free-speech forum I created


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·1· · · · · · · · ·BRADLEY DEAN GRIFFIN
·2· when I was a college student at Auburn University.
·3· · · ·Q.· · ·So this was a forum that you ran; is
·4· that correct?
·5· · · ·A.· · ·From 2001 to 2005.
·6· · · ·Q.· · ·Where did you grow up?
·7· · · ·A.· · ·In Barbour County, Alabama.
·8· · · ·Q.· · ·Where do you currently live?
·9· · · ·A.· · ·Barbour County, Alabama.
10· · · ·Q.· · ·What's the highest level of education
11· that you've received?
12· · · ·A.· · ·A bachelor's degree from Auburn
13· University.
14· · · ·Q.· · ·When did you graduate?
15· · · ·A.· · ·2005.
16· · · ·Q.· · ·Are you currently employed?
17· · · ·A.· · ·I'm self-employed.· I run my -- my
18· blog.
19· · · ·Q.· · ·So your main source of income is your
20· blog; is that correct?
21· · · ·A.· · ·That's correct.
22· · · ·Q.· · ·And that's the Occidental Dissent blog;
23· is that correct?
24· · · ·A.· · ·That's correct.
25· · · ·Q.· · ·And you receive income from that blog;


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·1· · · · · · · · ·BRADLEY DEAN GRIFFIN
·2· is that correct?
·3· · · ·A.· · ·I mean, readers donate money, yes.
·4· · · ·Q.· · ·But that's your main source of income,
·5· is donations from readers; is that correct?
·6· · · ·A.· · ·That's correct.· Journalism
·7· (indiscernible).
·8· · · · · · · · · ·(Technical discussion off the
·9· · · · · · · · · · record.)
10· · · ·A.· · ·I consider it a journalism job.· It's
11· just a website -- a platform that I own.
12· · · ·Q.· · ·I'm going to ask you a few questions,
13· and I think we should maybe break and have you call
14· in on your phone, Mr. Griffin, if that's okay.
15· · · ·A.· · ·Okay.
16· · · ·Q.· · ·All right.· Do you pay other
17· individuals to write articles for your website,
18· Occidental Dissent?
19· · · ·A.· · ·No, I do not.
20· · · ·Q.· · ·Do you receive any income from
21· advertising on your website?
22· · · ·A.· · ·No, I do not.
23· · · ·Q.· · ·Do you receive any income from League
24· of the South?
25· · · ·A.· · ·No, I do not.


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·1· · · · · · · · ·BRADLEY DEAN GRIFFIN
·2· · · ·Q.· · ·Do you write for any other websites?
·3· · · ·A.· · ·No, I do not.
·4· · · ·Q.· · ·Have you ever written for altright.com?
·5· · · ·A.· · ·Briefly for a few months in 2017.
·6· · · ·Q.· · ·Have you ever written for Daily
·7· Stormer?
·8· · · ·A.· · ·No, I do not.· No, I have not.
·9· · · ·Q.· · ·Have you ever written for the League of
10· the South website?
11· · · ·A.· · ·No, but stuff I've written on my
12· website has been cross-published on other sites.
13· But I don't have access to the League of the South
14· website.
15· · · ·Q.· · ·Have you ever written for any other
16· website?
17· · · ·A.· · ·I think I've published an article on
18· VDARE, like, once.· Some of my articles have been
19· published on unz.com.
20· · · ·Q.· · ·Have you ever published any of your
21· articles in print media -- books or newspapers or
22· magazines?
23· · · ·A.· · ·Some of my articles might have been in
24· The Free Magnolia, which is the League's print
25· magazine, newsletter.


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·1· · · · · · · · ·BRADLEY DEAN GRIFFIN
·2· · · ·Q.· · ·Have you ever written any books?
·3· · · ·A.· · ·No.
·4· · · ·Q.· · ·Have you ever published any journals?
·5· · · ·A.· · ·No.
·6· · · ·Q.· · ·Have you ever run any other blogs
·7· besides Occidental Defense?
·8· · · ·A.· · ·Something maybe, like briefly for a
·9· month or two, something called Confederate
10· Renaissance.· But that's -- it's just basically
11· cross-posted material.
12· · · ·Q.· · ·Did you ever run a blog called
13· antisemitica?
14· · · ·A.· · ·Oh, well, yeah, maybe for a month or
15· two, something like that.
16· · · ·Q.· · ·What was the subject matter of that
17· blog?
18· · · ·A.· · ·It was just a spinoff of my blog.                   I
19· mean, it was a way to collect all of the articles I
20· had written about Jews in one place.· But it was
21· mainly just cross-posting stuff from my blog all in
22· one place.· I write about dozens of topics.
23· · · ·Q.· · ·I apologize.· What was that last word
24· that you said?
25· · · ·A.· · ·I said I write about dozens of topics.


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·1· · · · · · · · ·BRADLEY DEAN GRIFFIN
·2· So the antisemitica blog was basically a topic from
·3· my blog that was just cross-posted.· It was all on
·4· my own website.
·5· · · ·Q.· · ·Do you have any other blogs like that,
·6· that are just specific topics?
·7· · · ·A.· · ·No, not anymore.· This was an
·8· experiment that lasted maybe a few months or two,
·9· but it wasn't worth the time.
10· · · ·Q.· · ·Okay.· And you said "not anymore."· At
11· one point, did you have other blogs like that?
12· · · ·A.· · ·Yes.· I would -- you know, I would have
13· another blog that -- where I would write just about
14· Jewish issues or one about Southern issues.· But
15· that was just not worth the effort of cross-posting
16· material from Occidental Dissent to a separate
17· blog, so I just discontinued it.
18· · · ·Q.· · ·You had one about Jewish issues and one
19· about Southern issues.· Any other blogs that you
20· can think of?
21· · · ·A.· · ·None that comes to mind.
22· · · · · · · · · ·MS. MUNLEY:· Okay.· All right.
23· · · · · · ·Let's go off the record very briefly.
24· · · · · · ·I'm going to ask you to call in on your
25· · · · · · ·phone.


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·1· · · · · · · · ·BRADLEY DEAN GRIFFIN
·2· · · · · · · · · ·THE VIDEOGRAPHER:· The time is
·3· · · · · · ·10:06 a.m.· We're off the record.
·4· · · · · · · · · ·(Recess from 10:06 a.m. to
·5· · · · · · · · · · 10:21 a.m.)
·6· · · · · · · · · ·THE VIDEOGRAPHER:· The time is
·7· · · · · · ·10:21 a.m.· We're back on the record.
·8· BY MS. MUNLEY:
·9· · · ·Q.· · ·Mr. Griffin, you're a member of League
10· of the South; is that correct?
11· · · ·A.· · ·That's correct.· I haven't renewed my
12· dues, though, recently.
13· · · ·Q.· · ·When was last when you renewed your
14· dues?
15· · · ·A.· · ·Huh?
16· · · ·Q.· · ·When was the last time you renewed your
17· dues?
18· · · ·A.· · ·I think in 2018.
19· · · ·Q.· · ·Do you understand that the League of
20· the South is a defendant in this lawsuit?
21· · · ·A.· · ·Yes, I do.
22· · · ·Q.· · ·How did you first hear about League of
23· the South?
24· · · ·A.· · ·What did you say?
25· · · ·Q.· · ·How did you first hear about League of


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·1· · · · · · · · ·BRADLEY DEAN GRIFFIN
·2· the South?
·3· · · ·A.· · ·Oh.· Long ago, when I was in college, I
·4· think they were defending Confederate monuments in
·5· Montgomery.· This was 15, 20 years ago.
·6· · · ·Q.· · ·And did you hear about them in the
·7· news?
·8· · · ·A.· · ·Yes.· Yes.· I was in college when I
·9· heard about them.
10· · · ·Q.· · ·Did you hear about them on the
11· Internet?
12· · · ·A.· · ·Yes.· On the news on the Internet.
13· · · ·Q.· · ·And this was when you were in college.
14· Approximately when was it?
15· · · ·A.· · ·Probably around 2003-2004 is when I
16· first heard of the group.
17· · · ·Q.· · ·And at some point, you became
18· personally involved in League of the South; is that
19· correct?
20· · · ·A.· · ·In 2012.
21· · · ·Q.· · ·Why did you want to become a member of
22· League of the South?
23· · · ·A.· · ·The League of the South was a
24· pro-Christian group, a pro-white group, and a
25· pro-Southern group, and it was specifically not a


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·1· · · · · · · · ·BRADLEY DEAN GRIFFIN
·2· violent group.· I just wanted to associate with
·3· other Southerners who share my identity and
·4· beliefs.
·5· · · ·Q.· · ·So you decided to become a member of
·6· League of the South because you felt like they
·7· shared your beliefs; is that correct?
·8· · · ·A.· · ·My identity, specifically.
·9· · · ·Q.· · ·What do you mean by "your identity"?
10· · · ·A.· · ·Well, I'm a white Southern Christian,
11· and the League of the South is a group for white
12· Southern Christians, so that's why I was interested
13· in the group.
14· · · ·Q.· · ·Are all white Southern Christians
15· welcome to join League of the South?
16· · · ·A.· · ·I believe there is other criteria, if
17· I'm not mistaken.
18· · · · · · · · · ·(Simultaneous speakers.)
19· · · ·A.· · ·I mean, they exclude people, like, who
20· are, you know -- like, obviously, like, if someone
21· is an anarchist or something or -- they're not
22· going to just accept any member of the group.
23· They -- people who are -- basically, nationalists
24· is who they accept.· But I believe -- but it's been
25· years since I looked at the membership form.                  I


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·1· · · · · · · · ·BRADLEY DEAN GRIFFIN
·2· believe they have some other criteria on it on
·3· their website.
·4· · · ·Q.· · ·And so, generally, their members need
·5· to share their beliefs; is that correct?
·6· · · ·A.· · ·Yeah.· Pretty much.· It's an
·7· ethnonationalist Southern patriotic group.
·8· · · ·Q.· · ·You said there's an application form to
·9· join League of the South; is that correct?
10· · · ·A.· · ·It was on their old Dixie Net website.
11· I believe it's on their new website.
12· · · ·Q.· · ·When you became a member, did you fill
13· out that application?
14· · · ·A.· · ·Online, yes.
15· · · ·Q.· · ·What information did it ask you for?
16· · · ·A.· · ·My name, my address.· That's just
17· general sign-up information.· That's about it.                    I
18· might have joined at the -- I might have joined at
19· the conference I went to, which was in 2012.                  I
20· think I actually did an on-site, and I just renewed
21· through the website.
22· · · ·Q.· · ·And what conference is that?
23· · · ·A.· · ·It was their national conference in
24· 2012.
25· · · ·Q.· · ·Okay.· And when you joined, did they


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·1· · · · · · · · ·BRADLEY DEAN GRIFFIN
·2· ask you any information about your beliefs?
·3· · · ·A.· · ·I was a pretty well-known personality
·4· by then, so (indiscernible).
·5· · · ·Q.· · ·Did you have any involvement with
·6· recruiting new members?
·7· · · ·A.· · ·I would suppose so.· I mean, plenty of
·8· people from my blog have joined the group.· Plenty
·9· of people I've interacted with on Twitter have
10· joined the group -- on social media.
11· · · ·Q.· · ·So when you are recruiting a new
12· member, what do you do to make sure that they share
13· the beliefs of League of the South?
14· · · ·A.· · ·I think anyone can join, but, like, if
15· people don't share the beliefs of the group, I
16· think they're kicked out.· But, you know, I don't
17· run the group, so I don't know.
18· · · ·Q.· · ·Do new members undergo any form of
19· vetting process?
20· · · ·A.· · ·I'm not in charge of that, so you would
21· have to ask Dr. Hill.
22· · · ·Q.· · ·Are you aware if new members undergo
23· any form of vetting process?
24· · · ·A.· · ·I think he said anyone could join, if
25· I'm not mistaken.· But, I mean, it's up to


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·1· · · · · · · · ·BRADLEY DEAN GRIFFIN
·2· Dr. Hill, who runs the group, to decide whether
·3· you're in or you're out.
·4· · · ·Q.· · ·Could a non-white person join League of
·5· the South?
·6· · · ·A.· · ·I believe they've had non-white members
·7· in the past.
·8· · · ·Q.· · ·Okay.
·9· · · · · · · · · ·(Simultaneous speakers.)
10· · · ·A.· · ·A friend of mine is a Hispanic Cuban,
11· so -- I know he's a member.· And we have Native
12· American members as well.· I know them personally.
13· · · ·Q.· · ·Could a Jewish person join League of
14· the South?
15· · · ·A.· · ·I don't know.· You would have to ask
16· Dr. Hill.· Probably not.
17· · · ·Q.· · ·Is there anything that a new member
18· needs to do to become a member of League of the
19· South other than submit the application?
20· · · ·A.· · ·I think there's a -- there's a
21· membership fee and they submit the application.
22· And they're vetted by Dr. Hill, I guess.· I'm not
23· in charge of that.
24· · · ·Q.· · ·Okay.· Is there any kind of initiation
25· into the membership?


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·1· · · · · · · · ·BRADLEY DEAN GRIFFIN
·2· · · ·A.· · ·No.· There's no initiation ritual or
·3· anything like that.
·4· · · ·Q.· · ·Were you recruited to join League of
·5· the South?
·6· · · ·A.· · ·A friend of mine from my blog was going
·7· to the conference in Wetumpka, which happens to be
·8· near where I live.· So I went, and I liked what
·9· I -- liked what I saw, and that's when I joined the
10· group.
11· · · ·Q.· · ·Do you recall that friend's name?
12· · · ·A.· · ·Michael Cushman.
13· · · ·Q.· · ·And Michael Cushman is a member of
14· League of the South; is that correct?
15· · · ·A.· · ·Not anymore.
16· · · ·Q.· · ·When did he stop being a member of
17· League of the South?
18· · · ·A.· · ·2015, I believe.· He settled down and
19· he got married and had a kid and just returned to
20· private life.
21· · · ·Q.· · ·Before you joined League of the South,
22· what did you know about the organization?
23· · · ·A.· · ·I knew it was a pro-Southern group and
24· a pro-Christian group and it was a Southern
25· nationalist group.· And I wasn't exactly sure if it


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·1· · · · · · · · ·BRADLEY DEAN GRIFFIN
·2· was a pro-white group, but it eventually became
·3· one.
·4· · · ·Q.· · ·Did you have any involvement in pushing
·5· it towards being a pro-white group?
·6· · · ·A.· · ·Not necessarily.· My impression is,
·7· when I joined, it was.· But I had only seen it then
·8· through the media.· I didn't know them to that
·9· point.
10· · · ·Q.· · ·What gave you the impression that it
11· was a pro-white group?
12· · · ·A.· · ·Just listening to the speeches.· I saw
13· a -- more of an ethnonationalist as opposed to a
14· civic nationalist, similar to the speeches I saw in
15· 2012.
16· · · ·Q.· · ·Any specific statements that you
17· recall?
18· · · ·A.· · ·No, not really.· Just that was my
19· impression, that it was a -- it was a
20· ethnonationalist organization is the impression I
21· got, and I joined it.
22· · · ·Q.· · ·What do you mean by "ethnonationalist"?
23· · · ·A.· · ·Basically, it's a -- someone who
24· defines their identity in terms of ethnicity,
25· place, history, tradition, like most nations in the


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·1· · · · · · · · ·BRADLEY DEAN GRIFFIN
·2· world.
·3· · · ·Q.· · ·Okay.· So an ethnonationalist believes
·4· that a society should be made up of only one race;
·5· is that correct?
·6· · · ·A.· · ·That's incorrect.· An ethnonationalist
·7· is someone who believes that identity should be
·8· rooted in kinship.· For example, Poland is an
·9· example of an ethnonationalist country or Hungary
10· or Japan or China.· Most of the world's nations, in
11· fact, are based on kinship.
12· · · ·Q.· · ·What do you mean by "kinship"?
13· · · ·A.· · ·Blood relation, descent from a common
14· ancestry.
15· · · ·Q.· · ·So the descendent of a black person who
16· married a white person and had children, that's
17· still a kinship tie that would fit into your
18· ethnonationalism world view; is that correct?
19· · · ·A.· · ·There's always been mixed-race people
20· in the South.· I mean, if a person -- if a white
21· woman, for example, married a black man and had a
22· half-white child, I mean, there would be some
23· degree of biological relation there, obviously.
24· · · ·Q.· · ·And so that's -- those people would be
25· welcome in the ethnonationalist society that you


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·1· · · · · · · · ·BRADLEY DEAN GRIFFIN
·2· envision; is that correct?
·3· · · ·A.· · ·I believe there would be a space for
·4· those people, yes.· In my ethnonationalist vision,
·5· people would be allowed to form their own
·6· communities.· So if, for example, people who are of
·7· British ancestry wanted to form their own
·8· community, they would be allowed to do so.· Or say
·9· people who are of Native American ancestry -- or,
10· actually, Native Americans already have their own
11· places.· We call them reservations.· They're here
12· in Alabama and in most Southern states, and
13· especially in the state of Oklahoma.
14· · · · So I think people should be allowed to
15· form their own communities, and people who are
16· mixed should be allowed to live like -- I don't
17· think everyone should be required to live the exact
18· same way.· I believe that breeds tension and
19· resentment of the sort we've recently seen in this
20· country.
21· · · ·Q.· · ·Do you advocate for entirely racially
22· homogenous communities?
23· · · ·A.· · ·I think that's an -- I think that's an
24· ideal, that -- not necessarily racially homo- --
25· race is only one facet of identity.· There's also


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·1· · · · · · · · ·BRADLEY DEAN GRIFFIN
·2· culture and ethnicity and religion.· But I believe,
·3· generally -- if you want my perspective, which is
·4· social conservatism, I believe that homogenous
·5· communities where people have -- are united not by
·6· ideology but have shared ancestry, history,
·7· culture, and values -- I believe those communities
·8· are far more stable than diverse communities.                   I
·9· believe in diverse communities, especially under
10· neoliberalism that -- there's a lot of resentment
11· and hate in those communities, which we've seen,
12· for example, explode in places like Minneapolis
13· over the last two weeks.
14· · · ·Q.· · ·So a community that is all Christian
15· and identifies in all other ways with the same
16· world view but is racially homogenous, does that
17· fit in with your definition of ethnonationalism?
18· · · ·A.· · ·Of course.· I believe religion is a
19· facet of identity, just like ethnicity and culture
20· and race and the family and history -- common
21· history and things.
22· · · · And I think, basically -- if you want
23· my world view, I think that the more homogeneous a
24· society or a community is, the more stable it is,
25· the more it's orderly, the more it's peaceful and


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·1· · · · · · · · ·BRADLEY DEAN GRIFFIN
·2· happy and content.· And I believe that, when you
·3· combine people of various backgrounds and you
·4· exploit them under neoliberal capitalism, that that
·5· is just a recipe for social chaos and hatred and
·6· discord and disaster of -- for example, like we saw
·7· in Richmond, Virginia, last night.
·8· · · ·Q.· · ·And do you -- is it your understanding
·9· that League of the South shares these views with
10· you?
11· · · ·A.· · ·Oh.· League of the South is definitely
12· rooted in nationalism and social conservatism and
13· identitarianism.· That's definitely our -- our
14· world view.
15· · · · · · · · · ·(Simultaneous speakers.)
16· · · ·A.· · ·-- be based on ancestry and culture and
17· history and share a strong and common identity,
18· because those -- those societies are far more
19· peaceful and content than the system we have now.
20· · · ·Q.· · ·What do you understand that the goals
21· of League of the South are?
22· · · ·A.· · ·Obviously, the main goal of the group
23· is Southern independence and also to re-establish
24· society on a more ethnonationalist foundation.
25· · · · I would emphasize here that


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                                                                            Page 38
·1· · · · · · · · ·BRADLEY DEAN GRIFFIN
·2· ethnonationalism is just an ideal, though.· We can
·3· all have ideals.· Like, our society has equality
·4· and freedom as an ideal, although reality doesn't
·5· necessarily match that ideal.· And that's okay.
·6· Reality is messy.· We don't -- we're not -- we're
·7· not ideological fanatics.· We are social
·8· conservatives.
·9· · · ·Q.· · ·Okay.· And the League of the South,
10· their priority is Southern independence; is that
11· correct?
12· · · ·A.· · ·Well, Southern independence, but also
13· more specifically a celebration of Southern culture
14· and, more than anything else -- probably even more
15· than Southern independence is rebuilding Southern
16· ethnic identity and -- because we've lost our
17· identity, I think, over the last 50 or 60 years,
18· and I think that's very sad.· So we also --
19· · · · · · · · · ·(Simultaneous speakers.)
20· BY MS. MUNLEY:
21· · · ·Q.· · ·Identity you're referring to, is that
22· the identity of the Confederacy?
23· · · ·A.· · ·No.· The Confederacy was only four
24· years of our history, although that is part of our
25· history.


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·1· · · · · · · · ·BRADLEY DEAN GRIFFIN
·2· · · ·Q.· · ·Is that identity -- does that identity
·3· include the racial regimes that were in place in
·4· the South prior to the Confederacy?
·5· · · ·A.· · ·Can you restate the question?
·6· · · ·Q.· · ·Does the Southern identity that League
·7· of the South has as their goal include the racial
·8· regime that was in place in the South prior to the
·9· Confederacy?
10· · · ·A.· · ·No.· No one is proposing to
11· re-establish slavery.· That's absurd.
12· · · ·Q.· · ·What about Jim Crow?
13· · · ·A.· · ·No, not in my understanding.· I believe
14· that people should be -- if they want to form their
15· own homogenous communities, they should be allowed
16· to do so.· I mean, American Indians have
17· reservations, but no one is particularly upset
18· about that.
19· · · · · · · · · ·MS. MUNLEY:· Allegra, would you
20· · · · · · ·mind showing exhibit 88 [sic]?
21· · · · · · · · · ·(Exhibit 2 was marked for
22· · · · · · · · · · identification.)
23· BY MS. MUNLEY:
24· · · ·Q.· · ·And I apologize.· These are internal
25· reference numbers.· This is going to be Exhibit 2.


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·1· · · · · · · · ·BRADLEY DEAN GRIFFIN
·2· · · · Mr. Griffin, are you able to see the
·3· exhibit?· We should have tested this earlier.                   I
·4· apologize.
·5· · · ·A.· · ·Yes.
·6· · · ·Q.· · ·Okay.· Do you recognize this?
·7· · · ·A.· · ·Yes.
·8· · · ·Q.· · ·This is from --
·9· · · · · · · · · ·(Simultaneous speakers.)
10· · · ·A.· · ·That's my blog.
11· · · ·Q.· · ·Occidental Dissent.· Okay.
12· · · ·A.· · ·That's from, like, 10 years ago, it
13· looks like.
14· · · ·Q.· · ·Okay.· And you wrote this article; is
15· that correct?
16· · · ·A.· · ·Should -- it should -- it looks like
17· that way.· That's when I was a white nationalist.
18· · · ·Q.· · ·Are -- you no longer identify as a
19· white nationalist?
20· · · ·A.· · ·No, I don't.· I quit identifying as a
21· white nationalist in 2011.· I was a white
22· nationalist before I became a Southern nationalist.
23· · · ·Q.· · ·I am going to apologize again.· This is
24· a little bit slow, but I'm scrolling through this
25· article.· And nothing looks out of place; is that


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·1· · · · · · · · ·BRADLEY DEAN GRIFFIN
·2· correct?
·3· · · ·A.· · ·That looks correct.· It looks like
·4· you're scrolling now, because I see "coronavirus"
·5· in the sidebar.· So this is obviously not a screen
·6· save.
·7· · · ·Q.· · ·Yeah.· It's a current screenshot.                   I
·8· believe it was taken very recently.· Again, this is
·9· moving rather slowly.
10· · · · · · · · · ·MS. MUNLEY:· Can we go off the
11· · · · · · ·record for one moment?
12· · · · · · · · · ·THE VIDEOGRAPHER:· The time is
13· · · · · · ·10:41 a.m.· We're off the record.
14· · · · · · · · · ·(Off-the-record discussion from
15· · · · · · · · · · 10:41 a.m. to 10:44 a.m.)
16· · · · · · · · · ·THE VIDEOGRAPHER:· The time is
17· · · · · · ·10:44 a.m.· We're back on the record.
18· BY MS. MUNLEY:
19· · · ·Q.· · ·All right.· Mr. Griffin, can you see
20· the document that I have up on the screen?
21· · · ·A.· · ·Yes, that's correct.
22· · · ·Q.· · ·Is this document familiar to you?
23· · · ·A.· · ·It looks like your -- something from
24· 2010.
25· · · ·Q.· · ·Okay.· But this is from your blog; is


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·1· · · · · · · · ·BRADLEY DEAN GRIFFIN
·2· that correct?
·3· · · ·A.· · ·Yes.
·4· · · ·Q.· · ·Excellent.· I am going to ask you to
·5· read the section starting with, "My favorite."
·6· · · ·A.· · ·My favorite racial regime of the 20th
·7· century is the Jim Crow South.· I have over a
·8· hundred books about the subject on my bookshelf and
·9· all sorts of Jim Crow memorabilia.· My second and
10· third choices would be the Belgian Congo and
11· apartheid South Africa, which I have written about
12· in the past.· If I was forced to pick my favorite
13· racial regime of all time, I would easily choose
14· Confederacy, which was based on the cornerstone of
15· racial inequality, or the White Republic, which
16· lasted from 1789 to 1865.· In January --
17· · · · · · · · · ·(Simultaneous speakers.)
18· · · ·A.· · ·Is that enough?
19· · · ·Q.· · ·Yeah.· Thank you.· And you wrote those
20· words; is that correct?
21· · · ·A.· · ·That's correct.· I was a white
22· nationalist at the time.
23· · · ·Q.· · ·Is being a white nationalist different
24· than being pro-white?
25· · · ·A.· · ·Yes.· A white nationalist would base


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·1· · · · · · · · ·BRADLEY DEAN GRIFFIN
·2· their identity solely on their race.· And,
·3· initially, when I got involved in the white nat- --
·4· the only people who were talking about white
·5· identity in the twenty -- in the 2000s, up until,
·6· like, 2010, were white nationalists.· So I believed
·7· that white identity was legitimate, so I became a
·8· white nationalist.· Although, if you read those
·9· articles and in the context of my blog, this was
10· before I joined the League of the South.· And my
11· views were -- around 2010, 2011, 2012 were
12· changing.· I was becoming more interested in
13· ethnicity and culture, and I was growing -- I wrote
14· a lot of articles around that time where I was
15· growing skeptical of white nationalism.· And
16· eventually, I think I wrote a few articles saying I
17· wasn't a white nationalist anymore.· So that --
18· · · ·Q.· · ·I'm going to cut you off there, but
19· thank you.
20· · · · What kind of activities does League of
21· the South engage in?
22· · · ·A.· · ·They have a blog; they have a
23· newsletter; they do protests.· The last thing I was
24· involved with in League of the South that we did is
25· we went down to Panama City to do hurricane relief


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·1· · · · · · · · ·BRADLEY DEAN GRIFFIN
·2· after Hurricane Michael, and we passed out food and
·3· groceries and helped hurricane victims in Panama
·4· City.· So that's the last activity -- the
·5· biggest -- last thing, really, I did.
·6· · · · · · · · · ·(Simultaneous speakers.)
·7· · · ·A.· · ·November 2018, I want to say.
·8· · · ·Q.· · ·Does League of the South hold
·9· conferences?
10· · · ·A.· · ·Oh, yeah.· Conferences too.
11· · · ·Q.· · ·Do they hold rallies?
12· · · ·A.· · ·Rallies, barbecues.
13· · · ·Q.· · ·Do they engage in activism?
14· · · ·A.· · ·Activism, yes.· Although we've had to
15· change --
16· · · · · · · · · ·(Court reporter interruption.)
17· BY MS. MUNLEY:
18· · · ·Q.· · ·Do they engage in street activism?
19· · · ·A.· · ·Yes, they do.· They've changed their
20· mode of activism now.
21· · · ·Q.· · ·Okay.· How so?
22· · · ·A.· · ·Well, one thing we learned from 2017
23· and 2018 is that we had a problem with violent
24· anarchists coming to our rallies to disrupt our
25· events.· And after experience with them in


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·1· · · · · · · · ·BRADLEY DEAN GRIFFIN
·2· Charlottesville and other events, not just the
·3· League of the South, but most pro-white
·4· organizations, most alt-right organizations decided
·5· that they would no longer engage at all with
·6· anarchists.· So instead of having these
·7· pre-announced street rallies, like we did in
·8· Charlottesville, there was a shift to doing
·9· unannounced rallies, where we would just show up in
10· a place and have a rally.· And, that way, we could
11· avoid the violent anarchists who are burning down
12· our country these past two weeks.
13· · · ·Q.· · ·Does the League of the South publish
14· about their ideas?
15· · · ·A.· · ·They have their newsletter, The Free
16· Magnolia.
17· · · ·Q.· · ·And is there -- are you a member of a
18· local Alabama chapter of League of the South?
19· · · ·A.· · ·There was a local Alabama chapter.                   I
20· think they parted ways with the League of the
21· South, though.· So I'm just -- and I haven't even
22· renewed my own dues, so I'm just supportive of the
23· group at this moment.
24· · · ·Q.· · ·Okay.· Do you know what other states
25· have chapters of the League of the South?


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·1· · · · · · · · ·BRADLEY DEAN GRIFFIN
·2· · · ·A.· · ·It's changed over the years as people
·3· have come and gone.· But there's a group in
·4· Florida; there is a group in North Carolina; there
·5· was a group in Arkansas.· I've gone all over the
·6· South to League of the South rallies.· I've been
·7· to, like, 30 or 40 rallies.
·8· · · · · · · · · ·(Simultaneous speakers.)
·9· BY MS. MUNLEY:
10· · · ·Q.· · ·Was there a group in Tennessee?
11· · · ·A.· · ·In Tennessee?
12· · · ·Q.· · ·Yes.
13· · · ·A.· · ·Yes.· I've been to Tennessee several
14· times.
15· · · ·Q.· · ·Was there a League of the South chapter
16· in Georgia?
17· · · ·A.· · ·Yes, there was.· I'm not sure what the
18· status of it is now.
19· · · ·Q.· · ·Was there a League of the South chapter
20· in South Carolina?
21· · · ·A.· · ·Yes, there was.
22· · · ·Q.· · ·Did you ever have a specific role in
23· the Alabama chapter?
24· · · ·A.· · ·No.· I was just a member.
25· · · ·Q.· · ·So did you know anybody who was a


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·1· · · · · · · · ·BRADLEY DEAN GRIFFIN
·2· member of League of the South before you joined?
·3· · · ·A.· · ·My friend Michael Cushman was the one
·4· who got me into it.· He was a member, but he quit
·5· around 2015.
·6· · · ·Q.· · ·Okay.· Did you know anybody else?
·7· · · ·A.· · ·In the group?· No, I didn't know anyone
·8· personally in the group at the time.
·9· · · ·Q.· · ·Is Michael Hill in charge of League of
10· the South?
11· · · ·A.· · ·Michael Hill?
12· · · ·Q.· · ·Yes.
13· · · ·A.· · ·Yes.· He's still the president of the
14· League of the South.
15· · · ·Q.· · ·Was he the president of League of the
16· South when you joined?
17· · · ·A.· · ·Yes, he was.
18· · · ·Q.· · ·Has he always been the president of
19· League of the South?
20· · · ·A.· · ·As far as I know.· I think so.
21· · · ·Q.· · ·Can you explain the structure of League
22· of the South?
23· · · ·A.· · ·It's changed over the years.· It was --
24· there was local chapters.· There was -- and they
25· reported the state chapters, I believe.· And then


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·1· · · · · · · · ·BRADLEY DEAN GRIFFIN
·2· there was the national group.
·3· · · · For a long time, each -- it was a very
·4· decentralized thing.· And I think, in recent years,
·5· they've, you know -- they're just more of a
·6· national group than a state or local -- it seemed
·7· to be more state and local at the time.· Now it's
·8· just, like, everyone who is a Southerner, and
·9· there's, like, a few guys who are at the top.
10· · · ·Q.· · ·So there -- were there leadership roles
11· in the overall League of the South organization?
12· · · ·A.· · ·For example, Michael Tubbs is in charge
13· of the Florida chapter.· I'm pretty sure he still
14· is.
15· · · ·Q.· · ·And did you have a leadership role?
16· · · ·A.· · ·No.· They just asked me to talk to the
17· media for them, I believe, around the time of the
18· Pikeville rally, and I agreed.· And they started
19· calling me the public relations officer.· And what
20· I would do is I would talk to the media, and I
21· would promote the -- promote events and interact
22· with people on social media.· But that was my --
23· the only real role I had ever had except for being
24· a member.
25· · · ·Q.· · ·Was that a formal position?


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·1· · · · · · · · ·BRADLEY DEAN GRIFFIN
·2· · · ·A.· · ·I think they said it was, but I just
·3· consider it I would talk to the media for them.
·4· · · ·Q.· · ·Were you paid for that position?
·5· · · ·A.· · ·No, I was not.
·6· · · ·Q.· · ·When did that start?
·7· · · ·A.· · ·Sometime in 2017, I believe.
·8· · · ·Q.· · ·And --
·9· · · · · · · · · ·(Simultaneous speakers.)
10· · · ·A.· · ·I mean, I did a lot of interviews with
11· the press for the group.· I talked to various
12· reporters.
13· · · ·Q.· · ·Are you still the PR officer for League
14· of the South?
15· · · ·A.· · ·I haven't done any -- I quit talking to
16· the media a long time ago, so I don't -- I guess
17· so, but it's, like, a -- really a defunct role at
18· this point.
19· · · ·Q.· · ·Who asked you to be the PR officer?
20· · · ·A.· · ·I believe it was Tubbs or Dr. Hill, one
21· of the two.· But they just put me in charge of
22· public relations because they thought I could talk
23· to people and explain our world view.· And --
24· · · · · · · · · ·(Simultaneous speakers.)
25· ///


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·1· · · · · · · · ·BRADLEY DEAN GRIFFIN
·2· BY MS. MUNLEY:
·3· · · ·Q.· · ·Did they give you direction in your
·4· role as a PR officer?
·5· · · ·A.· · ·No, not really.· They just said, you
·6· know, Brad, he can -- he can talk to people in the
·7· media, and we'll let him do interviews and explain
·8· what we believe.· So they really just left it up to
·9· me.
10· · · ·Q.· · ·So was part of your role as the PR
11· officer -- did that include coordinating with other
12· groups, including other Southern nationalists or
13· white nationalist groups?
14· · · ·A.· · ·Not really as part of my role, I would
15· say.· I just -- I've always known a lot of --
16· I've -- from -- from my time -- like I said, as you
17· cited earlier, I used to be a white nationalist
18· until, like, 2011, so I knew other people from that
19· world.· And I had contacts with those people, but
20· that was just mainly personal through my blog.· It
21· wasn't any kind of official thing.
22· · · ·Q.· · ·Do you know what other roles or titles
23· League of the South has?
24· · · ·A.· · ·There's chief of staff.· There's the
25· president.· There is, you know, the various state


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·1· · · · · · · · ·BRADLEY DEAN GRIFFIN
·2· chairmen.· There was someone who did logistics at
·3· one point and operations; he would plan rallies.                    I
·4· can't name them all off the top of my head, but
·5· there was just various other roles.· And my role
·6· was just to talk to the media as the public
·7· relations officer.
·8· · · ·Q.· · ·Okay.· Was your role ever described as
·9· communications?
10· · · ·A.· · ·I would say so, yeah.· My -- insofar as
11· I ever had a role in the group besides being a
12· member, I would give speeches at conferences like I
13· did last year, and I would talk to the media.· And
14· that's communications, basically.
15· · · ·Q.· · ·And did Mr. Hill ever ask you to post
16· about a specific subject?
17· · · ·A.· · ·Post about a subject?· I don't really
18· think so.· I mean, it was probably me posting about
19· it anyway on my own blog, so he probably didn't
20· even have to tell me to post about anything.
21· · · ·Q.· · ·Did Mr. Tubbs ever ask you to post
22· about a specific subject?
23· · · ·A.· · ·Not that I can recall, except -- well,
24· the only thing I can think of is, at one time, they
25· had some kind of "Get Off Titanic" billboard or


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·1· · · · · · · · ·BRADLEY DEAN GRIFFIN
·2· sticker somewhere, and I think I posted about that
·3· once.
·4· · · ·Q.· · ·Did you report about your
·5· communications efforts to Mr. Hill or Mr. Tubbs?
·6· · · ·A.· · ·No, not really.· They just, you know,
·7· let me -- let me handle it.
·8· · · ·Q.· · ·Do you know who Ike Baker is?
·9· · · ·A.· · ·Yes, I know who Ike Baker is.
10· · · ·Q.· · ·Is Ike Baker a member of League of the
11· South?
12· · · ·A.· · ·Did the connection drop?· I'm back.
13· · · · Okay.· Ike Baker was a member of the
14· League of the South.· I don't know if he still is.
15· I haven't talked to him recently.
16· · · ·Q.· · ·Okay.· Do you know what his role in
17· League of the South was?
18· · · ·A.· · ·I believe it was operations, if I'm not
19· mistaken.
20· · · · · · · · · ·(Technical discussion off the
21· · · · · · · · · · record.)
22· BY MS. MUNLEY:
23· · · ·Q.· · ·What does "operations" mean?
24· · · ·A.· · ·Like, coordinating with police, entry
25· and exit from rallies, and stuff of that nature.


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·1· · · · · · · · ·BRADLEY DEAN GRIFFIN
·2· Like logistics --
·3· · · · · · · · · ·(Simultaneous speakers.)
·4· BY MS. MUNLEY:
·5· · · ·Q.· · ·Did he ever hold the title, commander
·6· of the Southern Kentucky Defense Force?
·7· · · ·A.· · ·I have no idea.· I was never a part of
·8· the defense force.
·9· · · ·Q.· · ·But League of the South did have a
10· defense force; is that correct?
11· · · ·A.· · ·I know that -- I know a lot of them
12· were into training and stuff with firearms and
13· stuff like that.· I was never involved with that,
14· and I never went to any of that, so -- I just -- I
15· just know that, like, they do, like -- they
16· practice survival skills and -- and you know, go
17· out on the gun range and do stuff like that, like a
18· lot of people do, but I was never involved in it.
19· · · ·Q.· · ·You were never part of the logistics
20· and training group?
21· · · ·A.· · ·No.· I was never involved in logistics
22· or defense force or anything like that.
23· · · · · · · · · ·MS. MUNLEY:· Allegra, would you
24· · · · · · ·mind showing tab 67.· This will be
25· · · · · · ·Exhibit 3.


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·1· · · · · · · · ·BRADLEY DEAN GRIFFIN
·2· · · · · · · · · ·(Exhibit 3 was marked for
·3· · · · · · · · · · identification.)
·4· BY MS. MUNLEY:
·5· · · ·Q.· · ·Do you recognize this email?
·6· · · ·A.· · ·It's probably -- it looks like
·7· something from VK.· And it looks like Pat is
·8· inviting me to join a group.· I don't -- it looks
·9· like -- I don't know if I joined it.· I certainly
10· never paid any attention to it.· But Pat would
11· often send me stuff like that.
12· · · ·Q.· · ·Prozium1984@gmail.com is your email
13· address; is that correct?
14· · · ·A.· · ·That's correct.
15· · · ·Q.· · ·And what is VK?
16· · · ·A.· · ·After the League was banned from
17· Facebook, they shifted their operations over to VK.
18· But, in my view, it was a ghost town, so I just
19· kind of rarely went over there, especially in the
20· last two years.
21· · · ·Q.· · ·So in February 2017, Mr. Hill called
22· for a Southern Defense Force to be formed in the
23· League of the South; is that correct?
24· · · ·A.· · ·In February of 2017?
25· · · ·Q.· · ·Yes.


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·1· · · · · · · · ·BRADLEY DEAN GRIFFIN
·2· · · ·A.· · ·Probably.· That sounds about right.
·3· That's about the time of the Berkeley events.
·4· · · ·Q.· · ·And that offered an opportunity for
·5· interested members to increase their proficiency
·6· with, quote, hand-to-hand defense skills, firearms
·7· training, both pistols and long weapons, and other
·8· related skills; is that correct?
·9· · · ·A.· · ·It sounds -- it sounds like something
10· they were doing at the time.· This was -- this was
11· an aftermath of the Trump inauguration and it was
12· in the aftermath, I believe, of the Berkeley riots.
13· And so political -- politics was very tense around
14· that period.· And I believe they were -- you know,
15· they wanted to --
16· · · · · · · · · ·(Simultaneous speakers.)
17· · · ·A.· · ·But I was never involved in that.
18· · · ·Q.· · ·And you agreed that there was a need
19· for military preparation, though, correct?
20· · · ·A.· · ·Well, my impression was that the left
21· was getting far more violent around that period.
22· There was -- I went to the Trump inauguration to
23· see the president inaugurated, and there were
24· massive riots in Washington, D.C., at the time.
25· And then shortly thereafter that, there was all


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·1· · · · · · · · ·BRADLEY DEAN GRIFFIN
·2· these riots at Milo Yiannopoulos' speaking events.
·3· And so, you know, it just seems to me, you know,
·4· self-evident that when --
·5· · · · · · · · · ·(Simultaneous speakers.)
·6· · · · · · · · · ·MS. MUNLEY:· Allegra, will you
·7· · · · · · ·show tab number five?· And this will be
·8· · · · · · ·Exhibit 4.
·9· · · · · · · · · ·(Exhibit 4 was marked for
10· · · · · · · · · · identification.)
11· BY MS. MUNLEY:
12· · · ·Q.· · ·This is another post from your blog; is
13· that correct?
14· · · ·A.· · ·That looks about right.· Yeah.· Yeah.
15· That's me and my friend Tom.
16· · · ·Q.· · ·All right.· I think Allegra is
17· scrolling to what I want to talk about.· It's
18· number 8 here.
19· · · · Do you see right here, where it says,
20· I'm not opposed to preparation.· By that, I mean
21· arming yourself, training, gaining experience with
22· firearms, developing your military skills with
23· others.
24· · · · Is that your position on the League of
25· the South's development of a Southern Defense


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·1· · · · · · · · ·BRADLEY DEAN GRIFFIN
·2· Force?
·3· · · ·A.· · ·I obviously believe that, you know,
·4· there's actually nothing wrong with practicing
·5· firearms or getting in better physical shape or
·6· working with others, you firing guns at the range.
·7· I don't believe, you know, there's anything wrong
·8· with that.
·9· · · ·Q.· · ·But you agree that a Southern Defense
10· Force was justified; is that correct?
11· · · ·A.· · ·Well, when violent anarchists -- from
12· my view -- and this is -- this was around, I
13· believe, February 2017 -- or January.· This was at
14· a time when --
15· · · · · · · · · ·(Simultaneous speakers.)
16· BY MS. MUNLEY:
17· · · ·Q.· · ·It's just a yes-or-no question.
18· · · ·A.· · ·Was it justified?· I believe it was
19· absolutely justified.
20· · · ·Q.· · ·Okay.· Thank you.
21· · · · · · · · · ·(Simultaneous speakers.)
22· · · · · · · · · ·MS. MUNLEY:· I think we're going
23· · · · · · ·to actually take a quick break.· When
24· · · · · · ·we come back, I'm going to have maybe,
25· · · · · · ·like, 25 minutes of questions, and then


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·1· · · · · · · · ·BRADLEY DEAN GRIFFIN
·2· · · · · · ·we'll break for lunch.· Does that sound
·3· · · · · · ·good to everybody?
·4· · · · · · · · · ·UNIDENTIFIED SPEAKER:· Okay.
·5· · · · · · · · · ·MS. MUNLEY:· All right.· Let's go
·6· · · · · · ·off the record.· Thank you.
·7· · · · · · · · · ·THE VIDEOGRAPHER:· The time is
·8· · · · · · ·11:04 a.m.· We're off the record.
·9· · · · · · · · · ·(Recess from 11:04 a.m. to
10· · · · · · · · · · 11:13 a.m.)
11· · · · · · · · · ·THE VIDEOGRAPHER:· The time is
12· · · · · · ·11:13.· We're back on the record.
13· BY MS. MUNLEY:
14· · · ·Q.· · ·Do you know Michael Tubbs?
15· · · ·A.· · ·Yes, I do.
16· · · ·Q.· · ·Is he a member of League of the South?
17· · · ·A.· · ·As far as I know.
18· · · ·Q.· · ·Do you know what his role is in League
19· of the South?
20· · · ·A.· · ·He was the chairman of the Florida
21· group.· I think he might be Dr. Hill's chief of
22· staff now.· I'm not up to date.
23· · · ·Q.· · ·Do you know who Eric Torbolton is?
24· · · ·A.· · ·Oh.· Oh, Eric?· Unfortunately.
25· · · ·Q.· · ·Was he -- is he a member of League of


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·1· · · · · · · · ·BRADLEY DEAN GRIFFIN
·2· the South?
·3· · · ·A.· · ·Not that I know.· He was briefly, and
·4· then he stormed out and quit.· And he's a really
·5· weird guy.
·6· · · ·Q.· · ·When was he a member?
·7· · · ·A.· · ·A long time ago.· Maybe, like, 2013,
·8· 2014.· I met Eric a few times.
·9· · · ·Q.· · ·Do you know what his role in League of
10· the South was?
11· · · ·A.· · ·No.· As far as I know, he was just a
12· member and one who was very prone to starting
13· conflicts, at that.
14· · · ·Q.· · ·Do you know Eric Meadows?
15· · · ·A.· · ·That would be one and the same person.
16· · · ·Q.· · ·Okay.· And we talked about Michael
17· Cushman.· Did he have a role in League of the
18· South?
19· · · ·A.· · ·He was the South Carolina chairman at
20· one point.
21· · · ·Q.· · ·Do you know Pat Hines?
22· · · ·A.· · ·Yes.· He's the South Carolina chairman.
23· I know Pat.
24· · · ·Q.· · ·Did he have a role in PR and
25· communications as well?


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·1· · · · · · · · ·BRADLEY DEAN GRIFFIN
·2· · · ·A.· · ·Pat?· I don't think so.
·3· · · ·Q.· · ·Did you have any specific
·4· responsibilities as the PR officer for League of
·5· the South?
·6· · · ·A.· · ·Not that I really -- I think I was sent
·7· a handbook.· I think they created a handbook last
·8· year.· I haven't really read through it.
·9· · · · · · · · · ·(Simultaneous speakers.)
10· · · ·A.· · ·And I haven't talked to the media
11· anyway, so, like, I don't -- there's not much
12· public relations to do when you're not talking to
13· the media.
14· · · ·Q.· · ·And you used your blog, Occidental
15· Dissent, to promote League of the South, primarily;
16· is that correct?
17· · · ·A.· · ·Yes.
18· · · ·Q.· · ·Do you use any other platforms to
19· promote League of the South?
20· · · ·A.· · ·At one point, Twitter, mainly.
21· · · · · · · · · ·(Simultaneous speakers.)
22· · · ·Q.· · ·Were you in charge of their Facebook?
23· · · ·A.· · ·No, I was not in charge of their
24· Facebook.
25· · · ·Q.· · ·Do you know who was?


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·1· · · · · · · · ·BRADLEY DEAN GRIFFIN
·2· · · ·A.· · ·No, I don't.· It's been deleted for
·3· years now, as far as I know.
·4· · · ·Q.· · ·Would you say it was generally known in
·5· the alt-right alt-south community that you were a
·6· member of League of the South?
·7· · · ·A.· · ·Oh, everyone knew I was a member of
·8· League of the South.
·9· · · ·Q.· · ·And were you generally viewed as one of
10· the mouthpieces of League of the South?
11· · · ·A.· · ·A spokesman for the League of the
12· South, yes.
13· · · ·Q.· · ·Are you familiar with a communications
14· service called Discord?
15· · · ·A.· · ·Yes.
16· · · ·Q.· · ·What is Discord?
17· · · ·A.· · ·My understanding is that it's a gamer
18· platform and some kind of audio software, and it
19· was used by the alt-right in 2017, mainly.
20· · · ·Q.· · ·And have you used it?
21· · · ·A.· · ·I was -- yes, I've used it before.                   I
22· signed up to keep up with updates at the time.· But
23· it was mainly, in my view, like an alt-right thing.
24· It was where alt-right people organized, not
25· necessarily our community.


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·1· · · · · · · · ·BRADLEY DEAN GRIFFIN
·2· · · ·Q.· · ·What was the handle that you used on
·3· Discord?
·4· · · ·A.· · ·I don't even remember.· I just know
·5· it's out there.· I can't remember.
·6· · · ·Q.· · ·Was that handle Hunter Wallace?
·7· · · ·A.· · ·Probably.
·8· · · ·Q.· · ·How did you first find out about
·9· Discord?
10· · · ·A.· · ·I believe Richard Spencer and Identity
11· Evropa had held the first rally in Charlottesville
12· in May of 2017, correct?· And they organized that
13· rally -- Identity Evropa was the main group behind
14· that, and they used Discord.· So that's how I found
15· out about it.· I'm not a gamer, so -- there's a lot
16· of gamers in the alt-right, and I heard about it
17· from them.
18· · · ·Q.· · ·Did someone invite you to join Discord
19· or ask you to join Discord?
20· · · ·A.· · ·I believe so.· I believe it was
21· Kessler, if I'm not mistaken.· Although --
22· · · · · · · · · ·(Simultaneous speakers.)
23· · · ·A.· · ·Go ahead.
24· · · ·Q.· · ·Was that for purposes of organizing the
25· Unite the Right?


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·1· · · · · · · · ·BRADLEY DEAN GRIFFIN
·2· · · ·A.· · ·The alt-right -- the alt-right groups
·3· were using Discord to organize, you know,
·4· themselves for Unite the Right, whereas we mainly,
·5· you know, chatted -- our groups, which are not
·6· really -- the alt-right and Southern nationalism
·7· are not really the same thing.· So our groups
·8· mainly, you know, just chatted through the phone
·9· like we usually do.· But I got on the Discord to
10· keep up with updates that the alt-right was posting
11· for Unite the Right.
12· · · ·Q.· · ·And did you use Discord on behalf of
13· League of the South?
14· · · ·A.· · ·No, not really.
15· · · ·Q.· · ·So when you posted on Discord, did
16· people believe that was coming from League of the
17· South?
18· · · ·A.· · ·I don't think so.· I was really just
19· speaking for myself and my blog.
20· · · ·Q.· · ·Have you ever reported to anyone about
21· your Discord communications?
22· · · ·A.· · ·Have I ever what?
23· · · ·Q.· · ·Reported to anyone about your Discord
24· communications, like to Michael Hill or anyone else
25· at League of the South?


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·1· · · · · · · · ·BRADLEY DEAN GRIFFIN
·2· · · ·A.· · ·I don't believe so.· I barely even
·3· checked the thing.· I just mainly watched it to
·4· find out, like, how to get rides for people who
·5· were, you know, sending me messages on Twitter and
·6· email.
·7· · · ·Q.· · ·Did you keep using it after Unite the
·8· Right?
·9· · · ·A.· · ·For maybe a month or two.· And then we
10· noticed that, you know -- that people that
11· Discord -- people on Discord were being doxed so we
12· quit using the platform because it was insecure,
13· although I never really used it to begin with.· It
14· was other people who were interested in that.
15· · · ·Q.· · ·And has the League of the South ever
16· maintained a Discord channel?
17· · · ·A.· · ·If they have, I don't remember it.                   I
18· don't think so.· I don't think they ever really
19· used Discord much.
20· · · ·Q.· · ·So you said that League of the South
21· members generally communicate using the phone; is
22· that correct?
23· · · ·A.· · ·Well, yeah.· I mean, most of us have
24· been activists for years, so we know each other in
25· real life.· So we would just chat on the phone


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·1· · · · · · · · ·BRADLEY DEAN GRIFFIN
·2· with, you know, friends.· Whereas, people in the
·3· alt-right are mainly anonymous and didn't know each
·4· other in the real world, so they were much more
·5· focused on Discord at the time.· But we barely --
·6· we were barely using that or even aware of it.
·7· · · ·Q.· · ·And you said you also used Gab to post
·8· on behalf of League of the South; is that correct?
·9· · · ·A.· · ·Yes.· This was mainly after the big
10· shuttering, as we call it, after everyone was
11· banned from Facebook.· And my Twitter account was
12· banned in December of 2017 when Twitter changed the
13· rules.· And for about a year after that, I posted
14· on Gab in 2018, I believe.
15· · · ·Q.· · ·And you -- but prior to that, you used
16· Twitter primarily to communicate on behalf of
17· League of the South; is that correct?
18· · · ·A.· · ·In 2017, yes.· I had a pretty big
19· Twitter account which I was trying to build up.
20· And like I said, that Twitter account, like
21· Occ Dissent, was banned when they changed the rules
22· in December of 2017.
23· · · ·Q.· · ·The Twitter account you were using to
24· communicate on behalf of League of the South, was
25· that Occ Dissent?


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·1· · · · · · · · ·BRADLEY DEAN GRIFFIN
·2· · · ·A.· · ·It was really just my account, my
·3· personal account for my website.· But, you know, I
·4· would kind of use it interchangeably.· I would
·5· promote the league on the Occidental Dissent --
·6· occdissent Twitter account, along with just my
·7· commentary on my usual subjects.
·8· · · ·Q.· · ·And just to clarify for the record, the
·9· Twitter handle that you were referring to there is
10· @occdissent, correct?
11· · · ·A.· · ·That's correct.
12· · · ·Q.· · ·All right.· I wanted to make sure we
13· got that spelled for our reporter.
14· · · · Does League of the South use email to
15· communicate with its members?
16· · · ·A.· · ·Yes.
17· · · · · · · · · ·(Simultaneous speakers.)
18· BY MS. MUNLEY:
19· · · ·Q.· · ·What email platform does League of the
20· South use?
21· · · ·A.· · ·They use, now, ProtonMail.
22· · · ·Q.· · ·When did that start?
23· · · ·A.· · ·Oh, it was well after Charlottesville.
24· It was probably 2018-2019, I think.
25· · · ·Q.· · ·And is that the email address


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·1· · · · · · · · ·BRADLEY DEAN GRIFFIN
·2· lspres@ProtonMail.com?
·3· · · ·A.· · ·That sounds familiar.
·4· · · ·Q.· · ·Okay.· And is that -- does that send
·5· out to a listserv?
·6· · · ·A.· · ·I think so.· I've always hated
·7· ProtonMail because I just can't juggle, like, so
·8· many email addresses, so mainly I stayed in touch
·9· with people through my Gmail account.· I just --
10· there's too many email addresses for me to keep up
11· with.
12· · · ·Q.· · ·That's the prozium1984 Gmail account;
13· is that correct?
14· · · ·A.· · ·That's correct.· I mean, that's the one
15· I use for everything, really.
16· · · ·Q.· · ·Okay.· So you receive League of the
17· South emails at that email address, correct?
18· · · ·A.· · ·Yeah, sometimes, I think.
19· · · ·Q.· · ·Are you familiar with any other email
20· addresses associated with League of the South?
21· · · ·A.· · ·Aside from ProtonMail, not really.                   I
22· think they -- I think before -- before they became
23· more secure, they used Gmail.· I'm not sure.· But
24· mainly ProtonMail is what they have been doing.
25· · · ·Q.· · ·So you believe they were using Gmail in


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·1· · · · · · · · ·BRADLEY DEAN GRIFFIN
·2· 2016 and 2017?
·3· · · ·A.· · ·They were using something.· I don't
·4· ne- -- know necessarily if it was Gmail.· I don't
·5· recall.· But it was -- I remember we switched to
·6· ProtonMail and there was a switch to VK and a
·7· switch to Gab, because people were banned from so
·8· many other things and, like, the doxings.· But that
·9· happened well after Charlottesville.· I mean, I
10· think people just used their ordinary email
11· addresses before that.· I don't think -- I can't
12· recall what it was.· But I still --
13· · · · · · · · · ·(Simultaneous speakers.)
14· · · ·A.· · ·I use my Gmail.
15· · · ·Q.· · ·Do you have a ProtonMail address?
16· · · ·A.· · ·I think so.· Like, I signed up --
17· signed up for one, but I don't think I ever use it.
18· · · ·Q.· · ·Does League of the South have -- have
19· or had a Twitter account?
20· · · ·A.· · ·Dr. Hill has been on Twitter many times
21· and has been banned.· If they're currently on
22· Twitter, I have no idea what the handle is.
23· · · ·Q.· · ·Does League of the South use any other
24· social media platforms?
25· · · ·A.· · ·They were mainly on Facebook until


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·1· · · · · · · · ·BRADLEY DEAN GRIFFIN
·2· everyone was banned from Facebook, and then they
·3· went to mainly VK.· The VK was a ghost town so, you
·4· know, I -- what's the point of going over there and
·5· seeing a bunch of people posting in Russian?· It
·6· seemed like a waste of time to me, so I didn't
·7· really use it.
·8· · · ·Q.· · ·Did you ever utilize any of the League
·9· of the South social media accounts?
10· · · ·A.· · ·No.· I never had access to the League
11· of the South social media accounts.
12· · · ·Q.· · ·Did anyone at League of the South ever
13· direct you to communicate via your email or Twitter
14· or Facebook or Occidental Dissent blog on behalf of
15· League of the South?
16· · · ·A.· · ·I don't think so.· I mean, the only
17· thing that would come to mind is -- I think
18· Mr. Tubbs asked me to post something about his "Get
19· Off Titanic" sticker/billboard.· But, I mean,
20· that's, like, the only thing that comes to mind,
21· and that's just, like, ancient history.
22· · · ·Q.· · ·Does League of the South have a YouTube
23· channel?
24· · · ·A.· · ·I believe they did at one point.· It's
25· probably, I'm sh- -- almost gone for sure now.


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·1· · · · · · · · ·BRADLEY DEAN GRIFFIN
·2· · · ·Q.· · ·Do you have a YouTube channel?
·3· · · ·A.· · ·I had one, and I didn't even really use
·4· YouTube.· I just uploaded my footage from the
·5· rally.· And YouTube changed its terms of service
·6· and deleted my channel.· But I have, I think, a
·7· channel to watch health and fitness videos and
·8· philosophy lectures and history channels and stuff
·9· like that.
10· · · ·Q.· · ·Do you have a podcast?
11· · · ·A.· · ·Currently?· No.· I think I might have
12· had -- I might have done a few episodes with Harold
13· when he was doing his Southern nationalist radio
14· podcast, but he doesn't do it anymore.
15· · · ·Q.· · ·And by Harold, are you referring to
16· Harold Crews?
17· · · ·A.· · ·That's correct.· He did a Southern
18· nationalist radio show, and I would talk to Harold
19· about the events of the day and stuff.· That was
20· 2017 or 2018.
21· · · ·Q.· · ·Have you appeared on any other
22· podcasts?
23· · · ·A.· · ·I've been on -- I talked to Christopher
24· Cantwell a few times right after he got out of
25· prison.· I've talked to Mike Enoch on his show


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·1· · · · · · · · ·BRADLEY DEAN GRIFFIN
·2· once, I believe.· And I've been on Identity Dixie's
·3· Rebel Yell podcast, I think, twice with Kessler
·4· maybe -- once or twice with Kessler before
·5· Charlottesville.
·6· · · ·Q.· · ·Does the League of the South have a
·7· podcast?
·8· · · ·A.· · ·That was mainly Harold's show, but he
·9· discontinued it.
10· · · ·Q.· · ·So my understanding from our
11· discussions is that League of the South members
12· would communicate under their own social media on
13· behalf of League of the South; is that correct?
14· · · ·A.· · ·I don't know what you mean by "on
15· behalf of League of the South."· People just had
16· the social media accounts, and they would talk
17· about League of the South.· But I don't remember
18· ever getting an order from Dr. Hill to, hey, talk
19· about this on your social media.· I just don't
20· recall that.
21· · · ·Q.· · ·But as the PR officer for League of the
22· South, you used your own social media platforms to
23· promote League of the South, correct?
24· · · ·A.· · ·At the time, when I was on Twitter and
25· my -- I used my email address to talk to various


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·1· · · · · · · · ·BRADLEY DEAN GRIFFIN
·2· reporters who wanted to interview me about -- the
·3· main thing I recall is that -- being asked to do
·4· anything in relation to being a PR officer was to
·5· talk to various journalists who had had email
·6· inquiries about talking about the League, and I did
·7· a few of those.
·8· · · ·Q.· · ·Did there come a time when League of
·9· the South determined that it was necessary to
10· restrict how and what League members were permitted
11· to discuss about the League on social media?
12· · · ·A.· · ·I don't really recall that.· I recall
13· everyone just being thrown off of social media,
14· basically.· And then everyone went over to VK, from
15· what I recall, but VK is a ghost town.· So, like, I
16· just hardly ever went over there.· I kept Gab while
17· they were doing that.
18· · · ·Q.· · ·Did League of the South ever use a
19· Yahoo! group?
20· · · ·A.· · ·If they did, this was probably well
21· before my time.
22· · · ·Q.· · ·Does the email address
23· lsstaff@yahoogroups.com sound familiar to you?
24· · · ·A.· · ·No, it doesn't.· It might have been
25· something from the '90s or the early 2000s, but it


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·1· · · · · · · · ·BRADLEY DEAN GRIFFIN
·2· was certainly never anything I saw.
·3· · · · · · · · · ·(Technical discussion off the
·4· · · · · · · · · · record.)
·5· · · · · · · · · ·MS. MUNLEY:· I was actually going
·6· · · · · · ·to ask for a very brief break.
·7· · · · · · · · · ·THE VIDEOGRAPHER:· The time is
·8· · · · · · ·11:31 a.m.· We're off the record.
·9· · · · · · · · · ·(Off-the-record discussion from
10· · · · · · · · · · 11:31 a.m. to 11:38 a.m.)
11· · · · · · · · · ·THE VIDEOGRAPHER:· The time is
12· · · · · · ·11:38 a.m.· We're on the record.
13· BY MS. MUNLEY:
14· · · ·Q.· · ·Mr. Griffin, you said that you haven't
15· been a white nationalist since about 2012; is that
16· correct?
17· · · ·A.· · ·2011-2012.· I considered myself, for a
18· while there, a Southern nationalist since that
19· time.· And now I think I just use
20· nationalist/populist/reaction on my blog.
21· · · ·Q.· · ·Okay.· And you said that League of the
22· South is not a white nationalist group; is that
23· correct?
24· · · ·A.· · ·It's a Southern nationalist group.· And
25· the way I would explain that is a white nationalist


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·1· · · · · · · · ·BRADLEY DEAN GRIFFIN
·2· is someone whose identity is focused on race,
·3· whereas a Southern nationalist is someone whose
·4· identity is grounded in a place, a physical land.
·5· · · ·Q.· · ·And Mr. Hill is the president of League
·6· of the South; is that correct?
·7· · · ·A.· · ·That's correct.
·8· · · ·Q.· · ·So League of the South shares all of
·9· his beliefs; is that correct?
10· · · ·A.· · ·Does everyone in the League of the
11· South agree with Dr. Hill on every issue?
12· Certainly not.
13· · · · · · · · · ·MS. MUNLEY:· Well, okay.
14· · · · · · ·Allegra, will you show -- I believe
15· · · · · · ·it's Exhibit 5.
16· · · · · · · · · ·(Exhibit 5 was marked for
17· · · · · · · · · · identification.)
18· BY MS. MUNLEY:
19· · · ·Q.· · ·This is from the League of the South
20· website; is that correct?
21· · · ·A.· · ·It looks like it, yeah.
22· · · ·Q.· · ·And do you recognize the photos of
23· Mr. Hill there?
24· · · ·A.· · ·Yes, I do.
25· · · ·Q.· · ·All right.· I'm going to direct you to


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·1· · · · · · · · ·BRADLEY DEAN GRIFFIN
·2· the third paragraph in this, and I'm going to read
·3· it.· Mr. Hill, on behalf of League of the South,
·4· says, we have radicalized by openly and directly
·5· addressing the negro and general dark-skin question
·6· and the Jew question.· We are de facto and openly
·7· professed white/Southern nationalists, meaning that
·8· we seek to restore the South to the dominance of
·9· the white man and to make it our own ethnostate for
10· our posterity.
11· · · · Is that correct?
12· · · ·A.· · ·It looks that way.· I can barely see
13· the text.
14· · · ·Q.· · ·We can make it larger for you, if that
15· would be helpful.
16· · · · Is that correct?
17· · · ·A.· · ·Yes.
18· · · ·Q.· · ·All right.· Allegra, will you show
19· exhibit number -- this will be Exhibit 6.· It's tab
20· number 93, I believe.
21· · · · · · · · · ·(Exhibit 6 was marked for
22· · · · · · · · · · identification.)
23· BY MS. MUNLEY:
24· · · ·Q.· · ·Is this also from the League of the
25· South website?


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·1· · · · · · · · ·BRADLEY DEAN GRIFFIN
·2· · · ·A.· · ·Yes.· It looks like that article is
·3· from 2018.
·4· · · ·Q.· · ·And that's a picture of Mr. Hill,
·5· correct?
·6· · · ·A.· · ·That's correct.
·7· · · ·Q.· · ·And so that Mr. Hill wrote this
·8· article; is that correct?
·9· · · ·A.· · ·That's correct.
10· · · ·Q.· · ·I'm going to direct you to that first
11· sentence -- two sentences.· It says, I am a
12· Southern nationalist.· I am a proud white man.                   I
13· suppose that also makes me a white nationalist.
14· · · · Does that look correct?
15· · · ·A.· · ·That is correct.
16· · · ·Q.· · ·Then it goes on to say, So, in reality,
17· I am a Southern/white nationalist, correct?
18· · · ·A.· · ·That's correct.
19· · · · · · · · · ·MS. MUNLEY:· Okay.· Allegra, will
20· · · · · · ·you show what will now be Exhibit 7,
21· · · · · · ·and it's tab number 94.
22· · · · · · · · · ·(Exhibit 7 was marked for
23· · · · · · · · · · identification.)
24· BY MS. MUNLEY:
25· · · ·Q.· · ·And, again, this is from the League of


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·1· · · · · · · · ·BRADLEY DEAN GRIFFIN
·2· the South website; is that correct?
·3· · · ·A.· · ·Yes, that's correct.· This is from
·4· 2017, I believe.
·5· · · ·Q.· · ·Okay.· And based on the date in the
·6· corner here, October 30th, 2017?
·7· · · ·A.· · ·Uh-huh.
·8· · · ·Q.· · ·And this is also by Michael Hill?
·9· · · ·A.· · ·That's correct.
10· · · ·Q.· · ·All right.· I am going to direct you to
11· the third paragraph.· It says, In Shelbyville, we
12· got our message out.· We had a fun and peaceful
13· rally like we had hoped to do in Charlottesville
14· and enjoyed the fellowship of other Southern/white
15· nationalists; is that correct?
16· · · ·A.· · ·Yes.· Can I comment on this?
17· · · ·Q.· · ·No, thank you.
18· · · · Based on these three documents, do you
19· dispute that League of the South is a white
20· nationalist organization?
21· · · ·A.· · ·When I joined the League of the South
22· in 2012 --
23· · · ·Q.· · ·Mr. Griffin, it's a yes-or-no question.
24· · · ·A.· · ·Dr. Hill has taken it in that direction
25· in recent years.


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·1· · · · · · · · ·BRADLEY DEAN GRIFFIN
·2· · · ·Q.· · ·Okay.· Thank you.
·3· · · · · · · · · ·MS. MUNLEY:· Allegra, you can
·4· · · · · · ·close out of this one.
·5· BY MS. MUNLEY:
·6· · · ·Q.· · ·We discussed before and actually just a
·7· moment ago, that, in general, League of the South
·8· members -- League of the South members share common
·9· beliefs; is that correct?
10· · · ·A.· · ·Like I said, there has been so many
11· changes over the years that it's caused a lot of
12· turmoil within the organization.
13· · · · · · · · · ·MS. MUNLEY:· Okay.· Allegra, will
14· · · · · · ·you show what will be Exhibit 8.· It's
15· · · · · · ·tab 2.
16· · · · · · · · · ·(Exhibit 8 was marked for
17· · · · · · · · · · identification.)
18· BY MS. MUNLEY:
19· · · ·Q.· · ·Do you recognize this document from
20· your blog?
21· · · ·A.· · ·That looks like from about 2012, yes.
22· · · · · · · · · ·MS. MUNLEY:· Okay.· Allegra,
23· · · · · · ·would you mind scrolling up?· I just
24· · · · · · ·want to verify that date.
25· ///


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·1· · · · · · · · ·BRADLEY DEAN GRIFFIN
·2· BY MS. MUNLEY:
·3· · · ·Q.· · ·Close.· It looks like it's from 2010;
·4· is that correct?
·5· · · ·A.· · ·Oh.· 2010.· Yeah.· Okay.· That's even
·6· earlier.
·7· · · ·Q.· · ·These are some statements that you're
·8· making on League of the South; is that correct?
·9· · · ·A.· · ·This was -- this was about two years
10· before I joined the group, and I had not thought of
11· the group in years when I wrote that.
12· · · ·Q.· · ·Would you say that a belief that you
13· hold is to not be politically correct?
14· · · ·A.· · ·Oh.· Well, obviously, I mean, I believe
15· in political correctness [sic].
16· · · ·Q.· · ·And do you believe that that is common
17· to League of the South members?
18· · · ·A.· · ·Oh, definitely.· Everyone in the League
19· of the South rejects this idea that political
20· correctness has anything to do with morality.
21· · · ·Q.· · ·Okay.· And you say that you believe in
22· a white ethnostate?
23· · · ·A.· · ·I used to be a white nationalist, but
24· I've changed my views on that subject.
25· · · · · · · · · ·MS. MUNLEY:· Okay.· Allegra, will


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·1· · · · · · · · ·BRADLEY DEAN GRIFFIN
·2· · · · · · ·you show, I believe it will be
·3· · · · · · ·Exhibit 9, tab 85.
·4· · · · · · · · · ·(Exhibit 9 was marked for
·5· · · · · · · · · · identification.)
·6· BY MS. MUNLEY:
·7· · · ·Q.· · ·So in this article, you talk about
·8· believing in a white ethnostate; is that correct?
·9· · · ·A.· · ·Yes.· That was 2010.· And it was --
10· actually, Mr. Harold Covington was one of the
11· reasons I ceased to be a white nationalist.
12· · · ·Q.· · ·Do you believe that -- would you say
13· that League of the South members are racially
14· conscious?
15· · · ·A.· · ·Oh, definitely.
16· · · ·Q.· · ·Would you say that League of the South
17· members defend white Southerners as a racial and
18· ethnic group?
19· · · ·A.· · ·Oh, well, obviously, they're
20· ethnonationalists.
21· · · ·Q.· · ·Would you say that League of the South
22· members believe that black people cannot be a part
23· of Southern nationalism?
24· · · ·A.· · ·A lot of them probably do.· But from
25· what I understand, there were black members in the


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·1· · · · · · · · ·BRADLEY DEAN GRIFFIN
·2· past, so I'm not exactly sure --
·3· · · · · · · · · ·(Simultaneous speakers.)
·4· BY MS. MUNLEY:
·5· · · ·Q.· · ·Do you believe that black people cannot
·6· be part of Southern nationalism?
·7· · · ·A.· · ·I don't see why black people should not
·8· be allowed to support Southern nationalism.· The
·9· world is full of all kinds of people who wish other
10· groups well.
11· · · ·Q.· · ·Can they be a part of Southern
12· nationalism?
13· · · ·A.· · ·Well, if we define the South as a place
14· and they're born here and have been here for
15· generations, then, obviously, they can be
16· supportive of Southern nationalism.· In fact, many
17· are.· One of the rallies I went to with the League
18· of the South, there was a black man named Anthony
19· Hurdey.· This is a rally --
20· · · · · · · · · ·(Simultaneous speakers.)
21· BY MS. MUNLEY:
22· · · ·Q.· · ·I'm going to ask you to go back to
23· tab 2.· (Indiscernible) for you.
24· · · · If you scroll up, you can see this is
25· the same article we looked at earlier; is that


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·1· · · · · · · · ·BRADLEY DEAN GRIFFIN
·2· correct?
·3· · · ·A.· · ·(No response.)
·4· · · ·Q.· · ·We're going to look at this paragraph
·5· right here, if you can see where my mouse is.· Oh.
·6· You probably can't.· If you can see where Allegra's
·7· mouse is.· Yeah.· She's highlighting it.
·8· · · ·A.· · ·It's still loading.
·9· · · ·Q.· · ·Oh.· I'm sorry.
10· · · ·A.· · ·Okay.· There we go.
11· · · ·Q.· · ·Okay.· You wrote, The idea that blacks
12· can be converted to Southern nationalism is so
13· retarded that it is truly amazing it was ever taken
14· seriously.· The most stalwart supporters of the
15· South have always been white racialists.· What
16· sense does it make to alienate your base to appease
17· people who will never join you?
18· · · · Is that correct?
19· · · ·A.· · ·Can you tell me the date on that
20· article?
21· · · ·Q.· · ·Yeah.· Let's scroll up.
22· · · ·A.· · ·It looks like it was written -- it
23· looks like it was written in 2010, correct?
24· · · ·Q.· · ·That's correct.
25· · · ·A.· · ·Well, didn't I tell you I was a white


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·1· · · · · · · · ·BRADLEY DEAN GRIFFIN
·2· nationalist at that time?
·3· · · ·Q.· · ·But you don't dispute that you wrote
·4· that article, correct?
·5· · · ·A.· · ·I did write it.· I was a white
·6· nationalist at the time.· And as I explained, my
·7· views changed over the course of the next few
·8· years.
·9· · · ·Q.· · ·And as we've discussed, the League of
10· the South has white nationalist views currently; is
11· that correct?
12· · · ·A.· · ·The League of the South has become more
13· white nationalist over the last two years.· Like --
14· · · · · · · · · ·(Court reporter interruption.)
15· BY MS. MUNLEY:
16· · · ·Q.· · ·And you are still a member of the
17· League of the South?
18· · · ·A.· · ·I haven't renewed my dues in two years,
19· so I guess not.
20· · · ·Q.· · ·You're now saying that you are no
21· longer a member of League of the South; is that
22· correct?
23· · · ·A.· · ·I haven't renewed my dues.· I su- --
24· I'm generally supportive of the group.· I think
25· it -- I hope it can be turned around.· But I've


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·1· · · · · · · · ·BRADLEY DEAN GRIFFIN
·2· never agreed with the -- some of the language that
·3· Dr. Hill has been using in recent years about white
·4· Southern na- -- Southern/white nationalism.· It's
·5· been very controversial in the group.
·6· · · ·Q.· · ·Okay.· Your testimony today is that you
·7· are no longer a member of the League of the South;
·8· is that correct?
·9· · · ·A.· · ·That would be technically correct.                   I
10· haven't renewed my dues in two years.
11· · · ·Q.· · ·Okay.· Whether or not it is technically
12· correct, do you consider yourself a member of the
13· League of the South today?
14· · · ·A.· · ·I consider myself just a blogger and a
15· social critic.· But I'm not involved in --
16· · · · · · · · · ·(Simultaneous speakers.)
17· BY MS. MUNLEY:
18· · · ·Q.· · ·When I asked at the beginning of this
19· deposition if are you a member of the League of the
20· South and you testified yes, was that incorrect?
21· · · ·A.· · ·I was a member of the League of the
22· South.· And as I told you at the time, I didn't --
23· I haven't renewed my dues in two years, so I guess
24· that makes me not a member.
25· · · ·Q.· · ·Okay.


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·1· · · · · · · · ·BRADLEY DEAN GRIFFIN
·2· · · ·A.· · ·From my understanding, membership in
·3· the League of the South is based on renewing your
·4· dues; and I have not renewed my dues since, I
·5· think, 2018.
·6· · · ·Q.· · ·Is it fair to say that League of the
·7· South members do not believe in equality between
·8· the races?
·9· · · ·A.· · ·League of the South members believe
10· that there are natural differences between the
11· races and the sexes and that gender, for example,
12· is rooted in human biology.
13· · · ·Q.· · ·They believe that white people are,
14· quote/unquote, biologically gifted and black people
15· are not; is that correct?
16· · · ·A.· · ·I believe that different races are
17· gifted in different ways.· I would not say that
18· everyone is exactly the same, because it's not
19· true.
20· · · ·Q.· · ·Do you believe that white people have
21· contributed more to society and the world than
22· black people; is that correct?
23· · · ·A.· · ·If we're looking at accomplishments in,
24· say, science and technology, in math and art, I
25· would say that's unquestionably true.


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·1· · · · · · · · ·BRADLEY DEAN GRIFFIN
·2· · · ·Q.· · ·The League of the South members also
·3· believe in creating a society that does not include
·4· people of other ethnicities; is that correct?
·5· · · ·A.· · ·I would not say that's correct.
·6· · · · · · · · · ·MS. MUNLEY:· Allegra, will you
·7· · · · · · ·open tab 56.· I think this will be
·8· · · · · · ·Exhibit 9.· I may be off on my number.
·9· · · · · · · · · ·(Exhibit 10 was marked for
10· · · · · · · · · · identification.)
11· BY MS. MUNLEY:
12· · · ·Q.· · ·Mr. Griffin, can you see this exhibit?
13· · · ·A.· · ·Yes.
14· · · ·Q.· · ·And does this appear to come from the
15· League of the South Facebook?
16· · · ·A.· · ·What year was this?
17· · · ·Q.· · ·I actually do not have that on me.
18· · · ·A.· · ·It appears correct, but I can't tell
19· you what -- place the year.· I mean, the rhetoric
20· has changed over the years, as I've told you.
21· · · ·Q.· · ·Okay.· I believe it's 2017, but I will
22· verify that.
23· · · · I am going to read you from this -- and
24· this is from League of the South Facebook, correct?
25· · · ·A.· · ·It appears that way.· I assume it's


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·1· · · · · · · · ·BRADLEY DEAN GRIFFIN
·2· true.
·3· · · ·Q.· · ·Rather, what we Southern nationalists
·4· seek is nothing less than the complete reconquest
·5· and restoration of our patrimony, the whole entire
·6· South.· And that means that the South will once
·7· again be, in name and in actuality, white man's
·8· land, a place where we and our progeny can enjoy
·9· Christian liberty and the fruits of our own labor
10· unhindered by parasitical, quote/unquote,
11· outgroups; to reconquer what is ours, we men of the
12· west -- white men and their women -- must put aside
13· all disagreements and unite in this cause.
14· · · · Is that correct?
15· · · ·A.· · ·It appears that way.
16· · · ·Q.· · ·And League of the South members believe
17· in creating a society that does not include Jewish
18· people; is that correct?
19· · · ·A.· · ·I haven't seen any official statement
20· on that.· But, I mean, ideally, I'm sure they would
21· encourage Jewish people to emigrate.
22· · · · · · · · · ·MS. MUNLEY:· Allegra, will you
23· · · · · · ·show tab 46.· It's going to be
24· · · · · · ·Exhibit 11.
25· ///


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·1· · · · · · · · ·BRADLEY DEAN GRIFFIN
·2· · · · · · · · · ·(Exhibit 11 was marked for
·3· · · · · · · · · · identification.)
·4· BY MS. MUNLEY:
·5· · · ·Q.· · ·And this appears to be a post that you
·6· made on Twitter; is that correct?
·7· · · ·A.· · ·I can't see it.
·8· · · ·Q.· · ·Oh.· I'm sorry.· It should load in just
·9· a moment.
10· · · · This appears to be a post that you made
11· on Twitter in November 2017; is that correct?· I'm
12· sorry.· On Gab.
13· · · ·A.· · ·One of those two.· I see the
14· occdissent.· That's the same on Twitter and Gab.
15· · · ·Q.· · ·Okay.· And it reads, You will never be,
16· quote/unquote, mainstream short of these Jews being
17· overthrown and hurled from power and losing their
18· ability to set cultural norms.· If you think you
19· are going to sneak up on the Jews, you are fooling
20· yourself.
21· · · · Is that correct?
22· · · ·A.· · ·That's correct.
23· · · ·Q.· · ·And League of the South members believe
24· that they are prepared to fight for a white
25· ethnostate; is that correct?


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                                                                            Page 89
·1· · · · · · · · ·BRADLEY DEAN GRIFFIN
·2· · · ·A.· · ·Can you clarify the meaning of the word
·3· "fight"?
·4· · · ·Q.· · ·Yeah.· Absolutely.
·5· · · · · · · · · ·MS. MUNLEY:· Allegra, we're going
·6· · · · · · ·to go back to, I believe, 10.· It is
·7· · · · · · ·tab 56.
·8· BY MS. MUNLEY:
·9· · · ·Q.· · ·We looked at this before.· We think
10· it's from the League of the South Facebook page in
11· 2017, correct?
12· · · ·A.· · ·It sounds correct.
13· · · ·Q.· · ·And the first line is, Fight or die,
14· white man; is that correct?
15· · · ·A.· · ·That's correct.· I asked you to clarify
16· the meaning of the word "fight."
17· · · ·Q.· · ·In the last paragraph here says, Are
18· you willing to fight for your flesh and blood, for
19· your sublime civilization, or will you meekly and
20· supinely submit to what your enemies tell you is
21· your inevitable and deserved descent into
22· historical and biological oblivion?· I choose life
23· and to fight in the tradition of my honorable and
24· courageous forebearers.· Join me.
25· · · · Is that correct?


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·1· · · · · · · · ·BRADLEY DEAN GRIFFIN
·2· · · ·A.· · ·That's correct.· Can you clarify the
·3· meaning of the word "fight"?
·4· · · ·Q.· · ·I am using the word "fight" in the same
·5· way that it is used in this post.
·6· · · ·A.· · ·Well, I mean, when you fight for
·7· something, that can be -- you can be fighting for a
·8· cause.· You can be trying to persuade people.· You
·9· can be publishing literature.· You can be
10· recruiting people on social media.· Fighting for a
11· cause does not necessarily mean physical violence.
12· · · ·Q.· · ·And when you're fighting for your life,
13· as this post implies, are you posting on social
14· media?
15· · · ·A.· · ·Well, you should be trying to convince
16· others that their identity and civilization is at
17· stake.· But that doesn't imply that you should be
18· engaging in physical violence, no.
19· · · · · · · · · ·MS. MUNLEY:· Allegra, will you
20· · · · · · ·pull up, I believe it is tab 53.· This
21· · · · · · ·will be Exhibit 12.
22· · · · · · · · · ·(Exhibit 12 was marked for
23· · · · · · · · · · identification.)
24· BY MS. MUNLEY:
25· · · ·Q.· · ·I'm going to direct you to the last


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·1· · · · · · · · ·BRADLEY DEAN GRIFFIN
·2· paragraph here.· It says, Something is wrong with
·3· this picture.· I have no special talents or
·4· insight, but I think if I had the necessary forces
·5· and the will and legal authority to use them, that
·6· I could stop this crap before it got out of hand.
·7· How, you ask?· By making the streets of Hamburg run
·8· ankle deep with communist blood.
·9· · · · Do you see that?
10· · · ·A.· · ·Yes, I see that.
11· · · ·Q.· · ·Okay.· And this was posted by the
12· Tennessee League of the South and attributed to
13· Michael Hill; is that correct?
14· · · ·A.· · ·It looks that way.· We've had a big
15· problem recently with anarchists trying to burn
16· down the United States.· They recently set the
17· capital of the United States on fire.· And if
18· Dr. Hill had the legal authority, I guess, as
19· president of the United States, he could send in
20· the national guard to quell the protest, which is a
21· matter of some concern right now.
22· · · ·Q.· · ·And under that definition, what would
23· "fight" mean?
24· · · ·A.· · ·Well, it says right there, If I had the
25· necessary forces and the -- and legal authority --


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·1· · · · · · · · ·BRADLEY DEAN GRIFFIN
·2· keyword being there "the legal authority."· So what
·3· Dr. Hill is saying, if he was in the position of
·4· Trump here, he would be using the National Guard to
·5· quell all the anarchists who have rioted across our
·6· country over the past two weeks.
·7· · · ·Q.· · ·And he would use that force to, quote,
·8· make the streets run ankle deep with blood; is that
·9· correct?
10· · · ·A.· · ·Well, when people are engaging in
11· violence and breaking the law and, I would say --
12· and setting police stations on fire and pulling
13· down monuments and physically attacking people and
14· murdering people, as has happened in our country
15· over the last two weeks, someone in legal authority
16· has to respond to that.· And like I said, that's
17· a -- a question that's being debated right now.                   I
18· mean, should the National Guard be used to quell
19· violent anarchists who are assaulting everyday
20· citizens?· And I think -- I mean, that is --
21· · · · · · · · · ·(Simultaneous speakers.)
22· BY MS. MUNLEY:
23· · · ·Q.· · ·By doing that, the correct -- the
24· League of the South's position is that the correct
25· response would be to make the streets run ankle


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·1· · · · · · · · ·BRADLEY DEAN GRIFFIN
·2· deep with blood, correct?
·3· · · ·A.· · ·Dr. Hill says -- and I quote -- I
·4· think -- if I had -- that's a conditional
·5· statement.· If I had the necessary forces and --
·6· another conditional statement -- the will and --
·7· key point here, a conditional statement -- legal
·8· authority to use them, then I could stop this crap
·9· before it got out of hand.· Well, I would say --
10· · · · · · · · · ·(Simultaneous speakers.)
11· BY MS. MUNLEY:
12· · · ·Q.· · ·Mr. Griffin, you're not answering my
13· question.
14· · · ·A.· · ·No.· I have answered your question.
15· · · ·Q.· · ·Okay.
16· · · · · · · · · ·(Simultaneous speakers.)
17· · · ·A.· · ·Huh?
18· · · ·Q.· · ·What does "blood and soil" mean?
19· · · ·A.· · ·That means a nation rooted in kinship.
20· · · ·Q.· · ·And is it a slogan or phrase commonly
21· used by League of the South members?
22· · · ·A.· · ·Sometimes, yes.· What is wrong with
23· saying our country should be based on ancestry?
24· · · · · · · · · ·(Simultaneous speakers.)
25· ///


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                                                                            Page 94
·1· · · · · · · · ·BRADLEY DEAN GRIFFIN
·2· BY MS. MUNLEY:
·3· · · ·Q.· · ·Are you aware that that slogan is
·4· derived from the Nazi slogan, Blut und Boden?
·5· · · ·A.· · ·I'm sorry.· But most of Europe -- in
·6· fact, virtually all of Europe is carved into states
·7· that are based on ethnicity, and most of Asia is
·8· too.· Most of the countries in the world are based
·9· on a common ethnicity.· And that's --
10· · · · · · · · · ·(Simultaneous speakers.)
11· · · ·A.· · ·No.· You're trying to say this is
12· specifically a Nazi position when it's not.
13· · · ·Q.· · ·That's not the question that I asked
14· you.· I asked you whether the slo- -- if you were
15· aware that the slogan was derived from the Nazi
16· slogan Blut und Boden?
17· · · ·A.· · ·I don't believe it is a -- necessarily
18· a Nazi slogan at all.· Japan is based on ethnicity,
19· as well.· It's based on -- it's based on blood --
20· citizenship in Japan is based on descent.· And the
21· same thing is true in most countries around the
22· world.· In Poland.· The Nazis invaded Poland, but
23· Poland -- citizenship in Poland is based on
24· ethnicity.
25· · · · · · · · · ·(Simultaneous speakers.)


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                                                                            Page 95
·1· · · · · · · · ·BRADLEY DEAN GRIFFIN
·2· BY MS. MUNLEY:
·3· · · ·Q.· · ·Do members of the League of the South
·4· generally believe that Jewish people should be
·5· excluded from society?
·6· · · ·A.· · ·From our society?· I would say yes.
·7· · · · · · · · · ·MS. MUNLEY:· Allegra, I'm going
·8· · · · · · ·to ask you to pull up tab 88.· This
·9· · · · · · ·will be Exhibit 13.· No.· That's not
10· · · · · · ·the correct one.· I apologize.· Give me
11· · · · · · ·one moment.· Tab 68.
12· · · · · · · · · ·(Exhibit 13 was marked for
13· · · · · · · · · · identification.)
14· BY MS. MUNLEY:
15· · · ·Q.· · ·Mr. Wallace, this appears to be an
16· email from you to -- I believe that's your wife; is
17· that correct?
18· · · ·A.· · ·No.· I printed the email off -- I got
19· my mom to print it off for me.
20· · · ·Q.· · ·Oh.· Okay.· I apologize.· Your mother.
21· · · ·A.· · ·It's a speech I gave at the League
22· conference last year, I think.
23· · · ·Q.· · ·Okay.· Perfect.· That's all I wanted.
24· I'm sorry.· Allegra, you may scroll.· Yes.· This is
25· perfect.


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·1· · · · · · · · ·BRADLEY DEAN GRIFFIN
·2· · · · You wrote, The story of the late 20th
·3· century in America is how Jews became wealthy and
·4· powerful and how their disproportionate influence
·5· in America's cultural, political, and economic
·6· elite set us down the course to where we are at
·7· today.· Underneath every rock that you turn over
·8· that is found to be in the process of either
·9· demoralizing or degrading our people and sapping
10· their will to exist, you will invariably find this
11· race of cultural termites.
12· · · · Is that correct?
13· · · ·A.· · ·That's correct.· I did say that.
14· · · ·Q.· · ·And you've written that you admire
15· Adolf Hitler because he was a supporter of
16· eugenics?
17· · · ·A.· · ·That I admire Adolf Hitler?
18· · · ·Q.· · ·Yeah.
19· · · ·A.· · ·I don't support eugenics.
20· · · · · · · · · ·MS. MUNLEY:· Okay.· Allegra, will
21· · · · · · ·you pull up tab 86.· I believe this
22· · · · · · ·will be Exhibit 14.
23· · · · · · · · · ·(Exhibit 14 was marked for
24· · · · · · · · · · identification.)
25· ///


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·1· · · · · · · · ·BRADLEY DEAN GRIFFIN
·2· BY MS. MUNLEY:
·3· · · ·Q.· · ·And this is from your blog, correct?
·4· · · ·A.· · ·It looks like it, yes.
·5· · · ·Q.· · ·Okay.· And this was written by you in
·6· 2010, correct?
·7· · · ·A.· · ·It looks like when I was a white
·8· nationalist, yes, in 2010.
·9· · · · · · · · · ·MS. MUNLEY:· Allegra, you can
10· · · · · · ·scroll down.
11· · · ·A.· · ·Can you scroll up for a minute?
12· · · · What does that say right there?· It
13· says, I'm a white -- it's (indiscernible) --
14· · · · · · · · · ·(Simultaneous speakers.)
15· · · ·A.· · ·It says, I am generally not interested
16· in the Third Reich or European nationalist
17· movement.
18· · · · · · · · · ·(Simultaneous speakers.)
19· BY MS. MUNLEY:
20· · · ·Q.· · ·This is my deposition.· You don't get
21· to ask the questions here.
22· · · · · · · · · ·MS. MUNLEY:· Allegra, will you
23· · · · · · ·scroll down?
24· · · ·A.· · ·Well, you're reading from my post.
25· · · ·Q.· · ·Yes.


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·1· · · · · · · · ·BRADLEY DEAN GRIFFIN
·2· · · ·A.· · ·I mean, it says right there, I
·3· generally am not interested in -- in that.· I mean,
·4· that's from the same article.
·5· · · · · · · · · ·MS. MUNLEY:· Okay.· Allegra, will
·6· · · · · · ·you highlight the section that starts
·7· · · · · · ·with "I admire"?
·8· BY MS. MUNLEY:
·9· · · ·Q.· · ·It says, I admire Adolf Hitler in the
10· sense that I acknowledge he had a few good points.
11· I'm skipping a sentence here.· And it says, He was
12· an artist and a supporter of eugenics, a German
13· patriot, put Germans back to work, prescribed
14· degenerate art, and funded cancer research.
15· · · · It says you admire him because he was a
16· supporter of eugenics; is that correct?
17· · · ·A.· · ·I did say that at the time.· I was a
18· white nationalist.· But can I -- can I respond
19· since you're --
20· · · ·Q.· · ·No, you may not.
21· · · · Do League of the South members --
22· · · · · · · · · ·MR. JONES:· I'm going to object.
23· · · · · · ·He's allowed to -- he's allowed to
24· · · · · · ·answer the question.
25· · · · · · · · · ·(Simultaneous speakers.)


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·1· · · · · · · · ·BRADLEY DEAN GRIFFIN
·2· · · · · · · · · ·MS. MUNLEY:· But that wasn't the
·3· · · · · · ·question.· And you may --
·4· · · ·A.· · ·Well, I mean --
·5· · · · · · · · · ·(Simultaneous speakers.)
·6· · · ·A.· · ·You asked me -- you asked me about my
·7· opinion on eugenics, so I should be able to respond
·8· to that.
·9· · · ·Q.· · ·No.· I asked you if that's what that
10· said there.
11· · · ·A.· · ·Yes, that's what that said there.· But,
12· like, I later converted to Chris- -- I later
13· converted to Christianity several years later, and
14· I did not believe in eugenics.
15· · · ·Q.· · ·My question was whether you wrote that
16· you admire Adolf Hitler because he was a supporter
17· of eugenics.· Did you write that?
18· · · ·A.· · ·I believed in eugenics a decade ago
19· before I was a Christian, but not anymore.
20· · · ·Q.· · ·That does not answer my questions.· Did
21· you write that?
22· · · ·A.· · ·Yes, I did, a decade ago, before I
23· was --
24· · · · · · · · · ·(Simultaneous speakers.)
25· ///


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·1· · · · · · · · ·BRADLEY DEAN GRIFFIN
·2· BY MS. MUNLEY:
·3· · · ·Q.· · ·-- members believe in ethnic cleansing?
·4· · · ·A.· · ·I don't think so.
·5· · · ·Q.· · ·Do you believe in ethnic cleansing?
·6· · · ·A.· · ·I believe communities should be able to
·7· have the freedom to form homogeneous communities,
·8· and those who want to remain mixed can.· I believe
·9· that white people should be free to establish white
10· communities; black people should be free to
11· establish black communities.· People who want to
12· mix should be able to establish their communities,
13· just like we have Native American communities in
14· this country.· And I think, if we did that, that
15· would take a lot of the tension that we have in our
16· society out of it.
17· · · ·Q.· · ·And you believe that those communities
18· should be free to cleanse their communities of
19· other ethnicities; is that correct?
20· · · ·A.· · ·I believe those communities should be
21· allowed a degree of sovereignty, like we have on
22· Native American reservations in this country
23· already.· There is a --
24· · · · · · · · · ·(Simultaneous speakers.)
25· · · ·A.· · ·-- Cherokee nation.· There is an Apache


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·1· · · · · · · · ·BRADLEY DEAN GRIFFIN
·2· nation.· Why can't we have -- why can't we extend
·3· the same principle to another groups and allow them
·4· to have homogeneous areas?· Why can't we --
·5· · · · · · · · · ·(Simultaneous speakers.)
·6· BY MS. MUNLEY:
·7· · · ·Q.· · ·And that sovereignty would extend to
·8· allowing them to exclude people of other
·9· ethnicities or religions; is that correct?
10· · · ·A.· · ·Well, I mean, I believe that -- I
11· believe -- Indian nations determine who is a member
12· of their community, do they not?
13· · · ·Q.· · ·I'm not being questioned here.· I don't
14· have to answer your questions.
15· · · ·A.· · ·Well, I mean, you -- when -- you asked
16· me for my views, and I said that different
17· ethnicities should be able to have sovereign areas
18· just like the American Indian reservations.· That's
19· my position.
20· · · ·Q.· · ·I am asking you if that sovereignty
21· extends to being able to exclude people of other
22· ethnicities or religions from their areas.
23· · · ·A.· · ·I don't see why that's a bad thing.                  I
24· don't believe that all --
25· · · · · · · · · ·(Simultaneous speakers.)


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·1· · · · · · · · ·BRADLEY DEAN GRIFFIN
·2· · · ·Q.· · ·I'm not asking you what my [sic]
·3· judgment is.· I'm asking whether that's what you
·4· believe.
·5· · · ·A.· · ·I believe that sovereign areas should
·6· be allowed to determine who is a citizen of their
·7· community, just like we have on the Cherokee
·8· reservations.
·9· · · · · · · · · ·MS. MUNLEY:· We should break for
10· · · · · · ·lunch now, about 45 minutes.· We'll
11· · · · · · ·come back at 2:00.· Does that make
12· · · · · · ·sense to everybody?· Let's go off the
13· · · · · · ·record.
14· · · · · · · · · ·THE VIDEOGRAPHER:· The time is
15· · · · · · ·12:15 p.m.· We're off the record.
16· · · · · · · · · ·(Lunch recess from 12:15 p.m. to
17· · · · · · · · · · 1:03 p.m.)
18· · · · · · · · · ·THE VIDEOGRAPHER:· The time is
19· · · · · · ·1:03 p.m.· We're on the record.
20· BY MS. MUNLEY:
21· · · ·Q.· · ·Mr. Griffin, what was the Nationalist
22· Front?
23· · · ·A.· · ·It was a group of organizations that
24· came together to -- kind of banded together once
25· the streets started to get extremely violent in


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·1· · · · · · · · ·BRADLEY DEAN GRIFFIN
·2· 2017 out of self-defense.· I mean, anarchists were
·3· getting extremely violent in that period.
·4· · · ·Q.· · ·And which groups were members of the
·5· Nationalist Front?
·6· · · ·A.· · ·If I remember correctly, it was the
·7· League, the NSM, Trad Worker, and Vanguard America,
·8· I want to say.
·9· · · ·Q.· · ·Does NSM stand for National Socialist
10· Movement?
11· · · ·A.· · ·Yes.
12· · · ·Q.· · ·And TradWorker is Traditionalist
13· Workers Party?
14· · · ·A.· · ·That's correct.
15· · · ·Q.· · ·And about when was the Nationalist
16· Front formed?
17· · · ·A.· · ·If I remember correctly, it was
18· sometime after the Pikeville rally, which was
19· peaceful, and there were no issues in Kentucky.
20· · · ·Q.· · ·When was the Pikeville rally?
21· · · ·A.· · ·It was in April 2017, I want to say.
22· The end of April.
23· · · ·Q.· · ·Who made the decision to form the
24· Nationalist Front?
25· · · ·A.· · ·I'm not sure.· I wasn't a part of that.


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·1· · · · · · · · ·BRADLEY DEAN GRIFFIN
·2· It just happened.
·3· · · ·Q.· · ·Okay.· And who made the decision that
·4· League of the South would be part of it?
·5· · · ·A.· · ·I'm not sure.· Dr. Hill, I guess.
·6· · · ·Q.· · ·Did you agree to join the Nationalist
·7· Front?
·8· · · ·A.· · ·I was -- my views were I was skeptical
·9· of it, but in the early -- they were affected by
10· what happened in early 2017.· When I saw the
11· violence in Berkeley, the violence at the
12· inauguration, the -- you know, it seemed to be
13· everywhere at the time.· It seemed like -- I was
14· very concerned -- yeah.
15· · · · When Mr. Spencer was punched at the
16· inauguration, I was very concerned that that was
17· going to escalate and that, once that precedent had
18· been set, that the anarchists would just get out of
19· control.· So a lot of groups around that time -- in
20· response to that specific circumstances, groups
21· that had not been allowed in the past kind of
22· banded together at that point; and it was totally
23· because of what was happening with those violent
24· leftists.
25· · · ·Q.· · ·And so the groups banded together for


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·1· · · · · · · · ·BRADLEY DEAN GRIFFIN
·2· protection; is that correct?
·3· · · ·A.· · ·Not just -- not just strength in
·4· numbers, but we -- I guess the mindset was that
·5· authority -- anyone's speech was a threat to the
·6· speech of any group, and not just people who were
·7· white nationalists or national socialists.· But the
·8· groups that were engaging in violence, you know,
·9· seemed to be denouncing everyone who disagreed with
10· them.
11· · · ·Q.· · ·So the groups banded together to
12· present a united front; is that correct?
13· · · ·A.· · ·That's correct.· We perceived that the
14· left was becoming extremely violent in 2017, and
15· that trend has continued over the last four years.
16· · · ·Q.· · ·And you and League of the South felt
17· that you shared enough beliefs with these other
18· groups that it made sense for you to band together
19· against the left; is that correct?
20· · · ·A.· · ·I'm not a National Socialist, and I
21· don't agree with National Socialism, but I
22· absolutely supported their right to have peaceful
23· protests.· And I was extremely concerned that if
24· this "punch a Nazi" thing -- if that got out of
25· control, then everyone would be being punched and


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·1· · · · · · · · ·BRADLEY DEAN GRIFFIN
·2· that these violent leftists would just overrun us
·3· all.· And that was my mindset in 2017.· So we --
·4· even though we have significant differences with
·5· these other groups, we recognize that, you know,
·6· all of us are under attack; not just us, but people
·7· that don't even, like, share our racial beliefs.
·8· · · ·Q.· · ·So was the Nationalist Front open to
·9· any group that, you know, was interested in
10· practicing free speech?
11· · · ·A.· · ·I was not, like, ever in charge of the
12· Nationalist Front, so I don't know.
13· · · ·Q.· · ·In your opinion, would it have been
14· open to any group that was interested in practicing
15· free speech?
16· · · · · · · · · ·MR. JONES:· I'm going to object.
17· · · · · · ·That calls for speculation.· He's
18· · · · · · ·answered already.
19· · · ·A.· · ·I don't know.· That's just
20· (indiscernible).
21· · · ·Q.· · ·I'm sorry.· I don't think either me or
22· the court reporter caught your last few words
23· there.
24· · · ·A.· · ·Oh.· I said I wouldn't care to
25· speculate.· I was never involved in those decisions


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·1· · · · · · · · ·BRADLEY DEAN GRIFFIN
·2· in the first place.
·3· · · ·Q.· · ·Okay.· So you didn't know anything
·4· about the Nationalist Front; is that your
·5· testimony?
·6· · · ·A.· · ·My testimony is that I wasn't involved
·7· in the formation of the group.· But I recognize the
·8· common interests, not just with the members of the
·9· Nationalist Front, but also the alt-right groups --
10· NPI, the Proud Boys.· All of these groups felt like
11· they were under siege by violent leftists, because
12· it's true.· And we all recognized the need to stand
13· up for free speech, because that was very
14· imperative at that moment in time.
15· · · ·Q.· · ·I'm trying to get to what that common
16· interest is here.· I'm not asking you to speculate,
17· because you said that you recognized the common
18· interests.· What were the common interests that
19· banded these groups together?
20· · · ·A.· · ·The right to hold peaceful
21· demonstrations, our right to freedom of assembly,
22· and our right to free speech.
23· · · ·Q.· · ·So any group that believed in holding
24· peaceful demonstrations, the right to the freedom
25· of assembly, and the right to free speech would


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·1· · · · · · · · ·BRADLEY DEAN GRIFFIN
·2· have fit in with the Nationalist Front; is that
·3· your opinion?
·4· · · ·A.· · ·There were other groups that came to
·5· Charlottesville which do not, like, share our
·6· racial beliefs at all but, say, supported
·7· Confederate monuments, they supported free speech.
·8· So there were also Southern heritage groups who
·9· came; there were patriot groups and civic
10· nationalist groups.· Those organizations had no
11· interest in joining the Nationalist Front, because
12· they didn't believe in, like, ethnonationalism.
13· That's a big dividing line, I would say.
14· · · ·Q.· · ·Okay.· So the common interest there, in
15· addition to free speech and peaceful demonstrations
16· and the right to assembly, would be
17· ethnonationalism, correct?
18· · · ·A.· · ·I would say that's -- I would say
19· ethnonationalism limited the appeal of the
20· Nationalist Front, because you've got to remember
21· there were alt-right organizations like Identity
22· Evropa which never joined the Nationalist Front.
23· But everyone agreed on our importance of free
24· speech and freedom of assembly, which are our
25· constitutional rights.


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·1· · · · · · · · ·BRADLEY DEAN GRIFFIN
·2· · · ·Q.· · ·So I just want to clarify that -- I'm
·3· asking about the four organizations that we
·4· identified that are part of the -- were part of the
·5· Nationalist Front, what bonded them together, their
·6· common interest, was this interest in freedom of
·7· assembly and ethnonationalism; is that correct?
·8· · · ·A.· · ·Freedom of assembly, freedom of speech.
·9· And these groups are also united in, I would say,
10· ethnonationalism.· Even -- there were even other
11· ethnonationalist groups, like Identity Evropa,
12· which didn't -- was at odds with the Nationalist
13· Front.
14· · · ·Q.· · ·Okay.· And was Identity Evropa one of
15· the groups involved in the Nationalist Front?
16· · · ·A.· · ·No, it was not.
17· · · ·Q.· · ·Okay.· But, in general, you would say
18· that the groups in the Nationalist Front had a
19· common interest, and that was why they banded
20· together, correct?
21· · · ·A.· · ·Yes.· We were all under attack by
22· violent anarchist mobs.· It seems kind of, you
23· know, the canary in the coal mine now.
24· · · ·Q.· · ·So when League of the South joined the
25· Nationalist Front with the National Socialist


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·1· · · · · · · · ·BRADLEY DEAN GRIFFIN
·2· Movement, were you aware that the National
·3· Socialist Movement was a neo-Nazi group?
·4· · · ·A.· · ·I was familiar with that, and for
·5· years, for over a decade, I disliked the National
·6· Socialist Movement.· But when the "punch a Nazi"
·7· thing started at Trump's inauguration, I saw where
·8· that was going.· And I wrote an article, and I said
·9· that it's very important to defend their right to
10· freedom of speech, because they're not going to --
11· in the eyes of these violent anarchists, everyone
12· is a Nazi, even someone's grandmother.
13· · · ·Q.· · ·And were you aware, when League of the
14· South joined the Nationalist Front, that the group
15· Vanguard America, who they were banding together
16· with, used the slogan "Blood and Soil"?
17· · · ·A.· · ·Yes.· Even they have the right to
18· express their views peacefully and to have peaceful
19· demonstrations.· Even the National Socialist
20· Movement has been having these demonstrations for
21· 20 years.· And even they have the right to do that,
22· and we all acknowledge that.· And it was time to
23· stand up against these bullies who were trying to
24· bully everyone into silence.
25· · · ·Q.· · ·And were you aware, when League of the


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·1· · · · · · · · ·BRADLEY DEAN GRIFFIN
·2· South joined the Nationalist Front, that Matthew
·3· Heimbach, one of the leaders of the Traditionalist
·4· Worker Party, had previously joined a -- burned --
·5· joined a cross and swastika lighting hosted by the
·6· Aryan Terror Brigade in 2013?
·7· · · ·A.· · ·Yes.· We all made fun of Matt for doing
·8· that at the time, but --
·9· · · · · · · · · ·(Simultaneous speakers.)
10· BY MS. MUNLEY:
11· · · ·Q.· · ·He was expelled from League of the
12· South for his attendance to that event, correct?
13· · · ·A.· · ·Exact -- I'm not exactly sure if it was
14· that specific event, but it was getting involved
15· with those kind of groups.· And like I said, these
16· groups had no history of cooperation until, like,
17· the violent anarchists that were at the
18· inauguration and "punch a Nazi" meme went viral
19· after Spencer was attacked at Trump's inauguration
20· in D.C.
21· · · ·Q.· · ·Why haven't you previously -- why
22· haven't you and League of the South previously been
23· interested in associating with these groups?
24· · · ·A.· · ·Because we have vast ideological and
25· cultural differences with them.· I'm a Southerner


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·1· · · · · · · · ·BRADLEY DEAN GRIFFIN
·2· and a populist and a nationalist and a reactionary
·3· blogger.· I have no interest whatsoever in National
·4· Socialism.· My ancestry is British.· I'm not German
·5· (indiscernible).
·6· · · ·Q.· · ·Had League of the South previously
·7· wanted to distance itself from these groups because
·8· they were associated with an image that it was not
·9· interested in projecting?
10· · · ·A.· · ·Oh, that's absolutely true.· And it
11· was -- the National- -- the Nationalist Front was
12· highly controversial within the League precisely
13· for that reason.
14· · · ·Q.· · ·And what -- what image was that?
15· · · ·A.· · ·Well, we don't -- I mean, the vast
16· majority of people in the League do not -- have no
17· interest at all in European neo-fascism or
18· neo-Nazism or anything like that.· We're mostly
19· Southerners and Christians.· We're interested in
20· the history and future of our own people here in
21· the South.· And I'm just, like, not interested in
22· that.· Heimbach, for example, was.· But like I
23· said, circumstances changed.· And the thing that
24· changed was the rise of these violent anarchist
25· groups that we saw happen at Trump's inauguration


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·1· · · · · · · · ·BRADLEY DEAN GRIFFIN
·2· and moving forward.
·3· · · ·Q.· · ·And had League of the South previously
·4· wanted to distance itself from these groups and
·5· their image of violence and street fighting?
·6· · · ·A.· · ·Are you talking about Heimbach's group?
·7· · · ·Q.· · ·All of the other groups in the
·8· Nationalist Front -- the Vanguard America --
·9· · · · · · · · · ·(Simultaneous speakers.)
10· · · ·A.· · ·Yeah.· I don't think they have -- I
11· don't think they ever really had a history -- much
12· of a history of street fighting.· Insofar as that
13· ever happened, it was because they were attacked
14· by, you know, violent anarchists who, you know, are
15· in the habit of attacking everybody, including
16· (indiscernible).
17· · · ·Q.· · ·And what about the violent and racist
18· imagery they have displayed?· Did League of the
19· South want to distance itself from that imagery?
20· · · ·A.· · ·Can you define that?
21· · · ·Q.· · ·The cross burnings, the swastikas, the
22· Nazi salute, the use of Nazi slogans.
23· · · ·A.· · ·Yes.· That's -- that's not part of our
24· tradition.· That's -- like I said, even the most
25· extreme groups have a right to have those rallies.


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·1· · · · · · · · ·BRADLEY DEAN GRIFFIN
·2· And when you start saying, Well, I'm just -- just
·3· the Nazis, we'll just punch them, and we can engage
·4· in violence against them and take away their
·5· constitutional rights, that's a slippery slope.
·6· Sooner or later, there are some people will be
·7· burning down the capital of the United States.
·8· · · ·Q.· · ·So League of the South was aware, at
·9· the time that it decided to join the Nationalist
10· Front that it was associating itself with an image
11· that it had previously rejected; is that correct?
12· · · ·A.· · ·That's correct.· There's all kinds of
13· groups that we didn't want to be associated with or
14· disagreed with.· But -- and the key "but" is they
15· have a right to engage in peaceful protest as
16· American citizens and --
17· · · · · · · · · ·(Simultaneous speakers.)
18· BY MS. MUNLEY:
19· · · ·Q.· · ·And specifically that imagery is
20· cross-burning, the use of Nazi imagery, and Nazi
21· slogans; is that correct?
22· · · ·A.· · ·Yeah.· Even those people have a right
23· to do that.· And when they don't, a slippery slope
24· is the result.
25· · · ·Q.· · ·I know we talked a little bit about an


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·1· · · · · · · · ·BRADLEY DEAN GRIFFIN
·2· event called Unite the Right today.· Do you
·3· understand that to be the event that occurred in
·4· Charlottesville on August 12th, 2017?
·5· · · ·A.· · ·Yes, I do.
·6· · · ·Q.· · ·And you're familiar with that event,
·7· correct?
·8· · · ·A.· · ·Yes, I am.
·9· · · ·Q.· · ·When did you first hear about the Unite
10· the Right rally that was being planned for
11· August 12th?
12· · · · · · · · · ·(Technical discussion off the
13· · · · · · · · · · record.)
14· BY MS. MUNLEY:
15· · · ·Q.· · ·When did you first hear about the Unite
16· the Right rally that was being planned for
17· August 12th?
18· · · ·A.· · ·I believe Jason Kessler told me about
19· it either late May or early June that he was
20· getting a permit for it.
21· · · ·Q.· · ·When did you decide to attend the
22· rally?
23· · · ·A.· · ·I believe I agreed to come in either
24· late May or June.· I can't tell you precisely when.
25· But everyone was in a very positive mood after the


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·1· · · · · · · · ·BRADLEY DEAN GRIFFIN
·2· first rally in Charlottesville that was peaceful,
·3· and everyone was in a festive, (indiscernible)
·4· mood, as we would say.
·5· · · ·Q.· · ·How did you know Jason Kessler?
·6· · · ·A.· · ·I had only -- I was only vaguely
·7· familiar with him.· I had seen -- I think he was
·8· writing for Daily Caller, and I know he was at the
·9· first event.· But I barely knew Jason.· I think the
10· first time I actually talked to him was after the
11· New Orleans rally.· But I didn't really know -- I
12· didn't remember even talking to Jason until, like,
13· June of that summer.
14· · · ·Q.· · ·And I'm sorry.· When was the New
15· Orleans rally?
16· · · ·A.· · ·It was in early May of 2017.
17· · · ·Q.· · ·When you decided to attend the Unite
18· the Right rally, was that as an individual or had
19· the League of the South decided to attend together?
20· · · ·A.· · ·Well, I originally decided to attend,
21· you know, just as an individual.· But then a bunch
22· of other groups signed up, and the League was one
23· of them.· Everyone seemed to have had good time at
24· the first rally, so everyone wanted to go to the
25· second one.


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·1· · · · · · · · ·BRADLEY DEAN GRIFFIN
·2· · · ·Q.· · ·Do you know whose idea the second one
·3· was?
·4· · · ·A.· · ·It was Jason Kessler's idea.
·5· · · ·Q.· · ·And do you know who was involved in the
·6· planning and organization of the event?
·7· · · ·A.· · ·It was planned in different ways, is my
·8· understanding.· The alt-right groups kind of
·9· planned their own thing, and our groups kind of,
10· like, planned our own thing.· And we weren't really
11· exactly that in touch, I would -- I would say.
12· But --
13· · · · · · · · · ·(Simultaneous speakers.)
14· · · ·A.· · ·The Nationalist Front groups.
15· · · ·Q.· · ·So the Nationalist Front groups planned
16· their attendance at the Unite the Right rally
17· together; is that correct?
18· · · ·A.· · ·I'm not exactly sure.· I wasn't part of
19· the planning.
20· · · ·Q.· · ·You were not involved in the planning
21· at all of the Unite the Right rally?
22· · · ·A.· · ·Not at all.· I promoted it on Twitter
23· and on my blog, but I didn't start organizing
24· anything.
25· · · ·Q.· · ·Do you know what groups were involved


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·1· · · · · · · · ·BRADLEY DEAN GRIFFIN
·2· in the Unite the Right rally?
·3· · · ·A.· · ·If memory serves, it was the four
·4· Nationalist Front groups.· Identity Evropa was one.
·5· There were various smaller groups.· Patriot groups
·6· agreed to come and protect our constitutional
·7· rights.· There were flaggers who showed up.                 I
·8· mean, that's my understanding of it.
·9· · · ·Q.· · ·And do you know who the individuals
10· were who were working with Jason Kessler to plan
11· the rally?
12· · · ·A.· · ·I didn't plan the rally with Kessler,
13· so I don't know.
14· · · ·Q.· · ·So to kind of restate your testimony
15· here:· It was the alt-right, the Southern
16· nationalists, and the white nationalist groups who
17· were working together to plan and attend the rally;
18· is that correct?
19· · · ·A.· · ·That's not exactly the case.· The
20· alt-right groups kind of -- Identity Evropa seemed
21· to have had their own plan, and the League seemed
22· to have had its own plan, and the other groups had
23· their plan.· But everyone agreed that they were
24· going to come to Charlottesville and just go to the
25· rally and that Kessler was getting the permits for


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·1· · · · · · · · ·BRADLEY DEAN GRIFFIN
·2· it and was handling the court.
·3· · · ·Q.· · ·Do you know who coordinated the
·4· speakers and promotional materials?
·5· · · ·A.· · ·I'm not sure who made the memes or
·6· anything like that.· I just saw them online and
·7· shared them.· I didn't compile the speakers list or
·8· anything like that.
·9· · · ·Q.· · ·And you said you were involved in
10· promoting the rally on behalf of League of the
11· South; is that correct?
12· · · ·A.· · ·Well, I promoted it on my own behalf
13· and, I guess, on the part of the League.                    I
14· promoted it almost overwhelmingly on my Twitter
15· account and on my blog.
16· · · ·Q.· · ·And we talked before about how your
17· Twitter account and your blog were what you used to
18· promote League beliefs and League events; is that
19· correct?
20· · · ·A.· · ·Well, yes, I used any own accounts to
21· promote League stuff.· But, I mean, that -- I had
22· already decided to go before the League had even
23· got involved, I mean, as an individual.· I liked --
24· I was impressed by how the first rally went, and it
25· seemed like everyone had a good time.· And everyone


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·1· · · · · · · · ·BRADLEY DEAN GRIFFIN
·2· wanted to have a good time that summer and have a
·3· big, you know, euphoric rally, kind of like a
·4· end-of-the-summer, I don't know, like, Woodstock
·5· kind of thing:· go to a rally and have an
·6· afterparty afterwards is what I understood.
·7· · · ·Q.· · ·Did anybody ask you to help with the
·8· promotion of the rally?
·9· · · ·A.· · ·I don't recall exactly, but, you know,
10· I promoted it anyway, so it didn't matter.
11· · · ·Q.· · ·Did you ever talk to Jason Kessler or
12· Eli Mosley about the promotion of the rally?
13· · · ·A.· · ·I think I talked to Kessler.· We did an
14· interview on the Identity Dixie Rebel Yell podcast
15· together.
16· · · ·Q.· · ·And did he ask you to do any other
17· promotion?
18· · · ·A.· · ·I don't really recall.· I was promoting
19· it anyway.· I thought it was a good idea.
20· · · ·Q.· · ·Did Michael Hill ask you to promote the
21· Unite the Right rally?
22· · · ·A.· · ·I don't recall.· I was promoting it
23· anyway, so. . .
24· · · ·Q.· · ·He was speaking at the rally; is that
25· correct?


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·1· · · · · · · · ·BRADLEY DEAN GRIFFIN
·2· · · ·A.· · ·Yes.· He was listed as one of the
·3· speakers by Jason.· I'm not sure what he --
·4· interactions he had with Jason.· You would have to
·5· ask him.
·6· · · ·Q.· · ·Did you generally promote Michael
·7· Hill's speaking engagements as the PR officer of
·8· League of the South?
·9· · · ·A.· · ·Well, there hasn't been that many since
10· Charlottesville.· There was the Shelbyville rally,
11· and there was a few flash rallies after that.· But
12· I wasn't involved, really, in the flash rallies.                   I
13· covered it afterwards in the aftermath.
14· · · ·Q.· · ·All right.· But prior to the
15· Charlottesville rally, did you generally promote
16· Michael Hill's speaking engagements?
17· · · ·A.· · ·I would say I promoted the other
18· rallies, like the Pikeville rally and the -- what
19· was it? -- the New Orleans one.· Those were the two
20· I remember from that time period.
21· · · ·Q.· · ·So you promoted other events where
22· League of the South planned to attend --
23· · · · · · · · · ·(Simultaneous speakers.)
24· · · ·A.· · ·I mean, yeah.· I mean, before 2017, we
25· had had something like 20 or 30 rallies across the


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·1· · · · · · · · ·BRADLEY DEAN GRIFFIN
·2· South and never had any problem with any of those
·3· whatsoever.· And that was --
·4· · · · · · · · · ·(Simultaneous speakers.)
·5· BY MS. MUNLEY:
·6· · · ·Q.· · ·And you promoted all of those on your
·7· website and your personal social media accounts; is
·8· that correct?
·9· · · ·A.· · ·Yeah.· The ones back in 2013, '14, '15,
10· '16, from the -- the first rally I promoted was in
11· Uvalda, Georgia, through, I think, Shelbyville.                  I
12· don't recall promoting the ones after that, because
13· they were mainly flash rallies, so you didn't want
14· to promote an event and give advance notice that
15· you were doing something.· So I covered them -- I
16· posted pics and stuff from the rallies afterwards.
17· · · ·Q.· · ·And when was the Shelbyville rally?
18· · · ·A.· · ·It was two months after
19· Charlottesville.· I think in October of 2017.
20· · · ·Q.· · ·Okay.· Through 2017, you were still
21· very much engaged as the PR officer and working
22· with Michael Hill to promote League of the South
23· and Michael Hill events, correct?
24· · · ·A.· · ·I promoted our rallies, because I agree
25· with the message, from -- like, 2013 was the first


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·1· · · · · · · · ·BRADLEY DEAN GRIFFIN
·2· one, through Shelbyville.· And after that, we
·3· changed tactics, and we did flash rallies, so we
·4· didn't have advance notice.· We would just show up
·5· somewhere.· And that way, we could avoid the
·6· violent anarchists and not have to deal with those
·7· people, which was --
·8· · · · · · · · · ·(Simultaneous speakers.)
·9· BY MS. MUNLEY:
10· · · ·Q.· · ·You were PR officer for League of the
11· South in 2017; is that correct?
12· · · ·A.· · ·I believe that's when they kind of gave
13· me that role.· But, I mean, I was already --
14· unofficially for years, you know, I would promote
15· the rallies before that.
16· · · ·Q.· · ·And who gave you that role?
17· · · ·A.· · ·I'm not sure if it was Tubbs or Hill.
18· I can't recall.· One of the two.
19· · · ·Q.· · ·And they asked you to promote League
20· events; is that correct?
21· · · ·A.· · ·I was going to do it anyway, so yeah.
22· I mean, I promoted -- oh.· I forgot about the
23· conferences too.· I've gone to all the national
24· conferences since 2012.
25· · · ·Q.· · ·So you promoted these events at the


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·1· · · · · · · · ·BRADLEY DEAN GRIFFIN
·2· direction of and request of Michael Hill.· Whether
·3· or not you were going to do it on your own, he had
·4· asked you to do it, though, correct?
·5· · · ·A.· · ·I don't think -- I don't recall ever,
·6· you know, him asking me.· I was just doing it
·7· anyway.· I mean, I was a big supporter of
·8· activism --
·9· · · · · · · · · ·(Simultaneous speakers.)
10· · · ·A.· · ·I was a big supporter of the activism,
11· and I agreed with it at the time.· And I changed my
12· views in 2018 about that.
13· · · ·Q.· · ·So he appointed you as the PR officer
14· but did not ask you to actually do any PR for
15· League of the South; is that your testimony?
16· · · ·A.· · ·I had very, very, very vague
17· interactions with him.· I mean, it was just like,
18· okay, Brad -- Brad is going to promote what we do
19· anyway because Brad is a supporter of the League.
20· So, I mean, he didn't really have to tell me to
21· promote events.· I would do it anyway, because I
22· agree with the League.· And like I said, I quit
23· supporting these public street rallies in 2018.
24· · · ·Q.· · ·So right now, I think we're going to
25· focus on 2017.· I'm not really interested in the


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·1· · · · · · · · ·BRADLEY DEAN GRIFFIN
·2· time period after Charlottesville.· I will have
·3· questions about that after this.· But let's focus
·4· on the time period leading up to and including the
·5· Unite the Right rally in August of 2017.· Okay?
·6· · · ·A.· · ·Okay.
·7· · · ·Q.· · ·Do you know if anybody else in League
·8· of the South was involved in the planning of the
·9· Unite the Right rally?
10· · · ·A.· · ·I think Ike, maybe.
11· · · ·Q.· · ·Is that Ike Baker?
12· · · ·A.· · ·Yes.· I mean, I wasn't in charge of
13· planning the rally itself.· I had nothing to do
14· with that.
15· · · ·Q.· · ·Was Michael Tubbs involved in the
16· planning?
17· · · ·A.· · ·I'm not exactly sure.· I don't really
18· recall talking about it.· My job was just to -- if
19· we talked to the press, would be to talk to the
20· press, and to promote the rally on social media,
21· which, you know, I guess I did.· I was doing it
22· anyway.
23· · · ·Q.· · ·And was Michael Hill involved in the
24· planning?
25· · · ·A.· · ·I don't think Hill personally was.                  I


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·1· · · · · · · · ·BRADLEY DEAN GRIFFIN
·2· don't think he plotted the logistics of, like,
·3· entering the rally and leaving the rally, who got
·4· the -- who reserved where we stayed at in
·5· Charlottesville.· I don't think he handled those
·6· decisions.· But, like I said, I want to emphasize I
·7· don't know.· You would have to ask him.
·8· · · ·Q.· · ·And League of the South had a venue for
·9· their members to stay at while they were at the
10· rally; is that correct?
11· · · ·A.· · ·Yes.
12· · · ·Q.· · ·Where was that venue?
13· · · ·A.· · ·It was north of Charlottesville, I
14· believe, in Madison, Virginia.
15· · · ·Q.· · ·And was it just a large house outside
16· of Charlottesville?
17· · · ·A.· · ·It was, like, a -- some kind of new-age
18· hippie retreat campground.· It was very weird.· It
19· was -- it was north -- a bit north of town, though.
20· · · ·Q.· · ·Sounds right for Virginia.· Do you know
21· who organized the compound?
22· · · ·A.· · ·No, I don't.· I was just told that's
23· where to meet up, and I drove up there with my
24· friends and just stayed there in the home.
25· · · ·Q.· · ·Okay.· So you stayed there, correct?


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·1· · · · · · · · ·BRADLEY DEAN GRIFFIN
·2· · · ·A.· · ·Yes.· I spent the night at that place.
·3· · · · · · · · · ·(Simultaneous speakers.)
·4· BY MS. MUNLEY:
·5· · · ·Q.· · ·How many other League of the South
·6· members stayed there?
·7· · · ·A.· · ·Probably 50 to 60, I'd say.
·8· · · ·Q.· · ·Did Michael Tubbs stay there?
·9· · · ·A.· · ·I believe so.
10· · · ·Q.· · ·Did Ike Baker stay there?
11· · · ·A.· · ·I'm pretty sure he did.
12· · · ·Q.· · ·Did Michael Hill stay there?
13· · · ·A.· · ·Yes, he did.
14· · · ·Q.· · ·Is there anyone else you recall from
15· League of the South who stayed there?
16· · · ·A.· · ·Just various people who went to rallies
17· at the time.
18· · · ·Q.· · ·Any specific names you can recall?
19· · · ·A.· · ·Let me think.· I don't really -- I just
20· know names like Spencer and things, like -- I think
21· Harold -- yeah, Harold was there.
22· · · · · · · · · ·(Simultaneous speakers.)
23· BY MS. MUNLEY:
24· · · ·Q.· · ·Did Tyler Davis stay there?
25· · · ·A.· · ·I'm not sure.


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·1· · · · · · · · ·BRADLEY DEAN GRIFFIN
·2· · · ·Q.· · ·Tyler Davis?
·3· · · ·A.· · ·I believe he stayed there.
·4· · · ·Q.· · ·Okay.· Did anybody from other groups
·5· stay at the League of the South venue?
·6· · · ·A.· · ·I'm pretty sure that that was not the
·7· case.
·8· · · ·Q.· · ·So nobody that you recall from groups
·9· besides League of the South, correct?
10· · · ·A.· · ·I didn't see anyone there who wasn't,
11· like, involved with the League.
12· · · ·Q.· · ·So we've talked about you promoting the
13· Unite the Right rally, and you said that you
14· retweeted and reshared the memes and the posters
15· that other people put together; is that correct?
16· · · ·A.· · ·That's correct.· I have no skill at
17· graphic design.· None.
18· · · · · · · · · ·MS. MUNLEY:· Allegra, let's show
19· · · · · · ·tab 57.· I believe it's Exhibit 15.
20· · · · · · · · · ·(Exhibit 15 was marked for
21· · · · · · · · · · identification.)
22· BY MS. MUNLEY:
23· · · ·Q.· · ·Mr. Griffin, let me know when you can
24· see that.
25· · · ·A.· · ·Oh, I can see it.


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·1· · · · · · · · ·BRADLEY DEAN GRIFFIN
·2· · · ·Q.· · ·Okay.· Does this poster look familiar?
·3· · · ·A.· · ·Yes.· It was one of the many poster
·4· memes of the event that was circulating at the
·5· time.
·6· · · ·Q.· · ·And is this one of the ones that you
·7· shared?
·8· · · ·A.· · ·I'm pretty sure.· There was a lot of
·9· cool memes like that that I shared.
10· · · ·Q.· · ·Are these birds on the poster?
11· · · ·A.· · ·I have no idea.· I didn't design that.
12· I'm -- I don't know, like, what that was on there
13· for.
14· · · ·Q.· · ·Have you ever seen this symbol before?
15· · · ·A.· · ·I'm not sure what it is.· It's
16· definitely not anything to do with the South.
17· · · ·Q.· · ·And I apologize.· Anything to do with
18· what?
19· · · ·A.· · ·The South.· It's not -- it's not
20· Southern iconography, is what I would say.
21· · · ·Q.· · ·So this poster was not created by
22· League of the South, correct?
23· · · ·A.· · ·Oh, no.· Definitely not.
24· · · ·Q.· · ·However, you promoted this poster as a
25· member of the League of the South, correct?


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·1· · · · · · · · ·BRADLEY DEAN GRIFFIN
·2· · · ·A.· · ·I shared it on Twitter, just because I
·3· thought -- and I think Facebook and maybe on my own
·4· blog, because I thought it was cool.
·5· · · ·Q.· · ·And Michael Hill is listed as a speaker
·6· on this poster; correct?
·7· · · ·A.· · ·That's correct.
·8· · · ·Q.· · ·Are you aware that the birds on this
·9· poster are eagle symbols used by the Nazis?
10· · · ·A.· · ·I don't know.· It's not a detail I
11· noticed at the time or thought much about.
12· · · ·Q.· · ·And are you aware that these birds are
13· carrying a fasces?
14· · · ·A.· · ·No.· I didn't -- like I said, I didn't
15· really dwell on it at the time.· It just looked
16· like an alt-right meme -- memer.· You see it looks
17· like Pepes with Confederate flags and lojacks.
18· Some alt-right person did this.
19· · · ·Q.· · ·So on the bottom here, it looks like
20· there are soldiers with firearms marching; is that
21· correct?
22· · · ·A.· · ·It looks like the Confederate army,
23· made up of Pepes and lojack memes.· It's just
24· something some alt-right kid made.
25· · · ·Q.· · ·So you tweeted or shared on Facebook or


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·1· · · · · · · · ·BRADLEY DEAN GRIFFIN
·2· on your blog a -- promotional material for the
·3· Unite the Right rally with Nazi and fascism and
·4· Confederate signs and with firearms to advertise
·5· the rally; is that correct?
·6· · · ·A.· · ·It's just a -- it struck me as just,
·7· like, a poster some kid made that looked cool, to
·8· be honest.· I didn't dwell -- I didn't dwell on the
·9· eagles or the fasces or anything.· I didn't even
10· notice it at the time.
11· · · ·Q.· · ·Did you notice the soldiers with
12· firearms?
13· · · ·A.· · ·Yeah.· It's Pepes and lojacks.· So, I
14· mean, this is just Internet meme culture here.
15· · · ·Q.· · ·So it didn't occur to you at the time
16· that the inclusion of these symbols -- the Nazi
17· imagery and the firearms -- would promote an image
18· of violence; is that correct?
19· · · ·A.· · ·No, it never once occurred to me,
20· looking at this poster, that it had anything to do
21· with violence.· I mean, I look at the poster, and I
22· see monuments, I see Confederate flags, eagles,
23· names listed.· I see Pepes and lojacks.· So, I
24· mean, this is just, like, something an Internet kid
25· made, an alt-right kid made and posted on 4chan or


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·1· · · · · · · · ·BRADLEY DEAN GRIFFIN
·2· something.
·3· · · · · · · · · ·(Simultaneous speakers.)
·4· · · · · · · · · ·MS. MUNLEY:· Tab 65 will be
·5· · · · · · ·Exhibit 16.
·6· · · · · · · · · ·(Exhibit 16 was marked for
·7· · · · · · · · · · identification.)
·8· BY MS. MUNLEY:
·9· · · ·Q.· · ·Mr. Griffin, does this look familiar to
10· you?
11· · · ·A.· · ·Yes.· That's another meme that someone
12· created.
13· · · ·Q.· · ·This is not a League of the South meme;
14· is that correct?
15· · · ·A.· · ·No.· The League of the South never made
16· any of these memes.· It was just various people on
17· Twitter were making them and sharing them.
18· · · ·Q.· · ·Okay.· And you were sharing them,
19· correct?
20· · · ·A.· · ·That's correct.· I thought they were
21· cool memes.
22· · · ·Q.· · ·In your position as PR officer for
23· League of the South, correct?
24· · · ·A.· · ·No.· I was just sharing them because I
25· thought they were cool memes.


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·1· · · · · · · · ·BRADLEY DEAN GRIFFIN
·2· · · ·Q.· · ·So it's your testimony that you were
·3· not promoting the Unite the Right rally on behalf
·4· of League of the South; is that correct?
·5· · · ·A.· · ·It just didn't occur to me at the time.
·6· I was promoting the rally anyway.· I didn't, like,
·7· make this distinction.· I just was sharing what I
·8· thought was a cool meme, and I was promoting the
·9· rally.· It didn't really matter --
10· · · · · · · · · ·(Simultaneous speakers.)
11· BY MS. MUNLEY:
12· · · ·Q.· · ·You didn't really draw a distinction
13· between what you shared and promoted as an
14· individual and shared and promoted as PR officer
15· for League of the South; is that your testimony?
16· · · ·A.· · ·That's correct.· Just -- I just shared
17· on my social media account what I thought were cool
18· memes.
19· · · ·Q.· · ·And this meme says, "Join or die"; is
20· that correct?
21· · · ·A.· · ·Yes.· It's a reference to the American
22· Revolution.
23· · · ·Q.· · ·Were these posters intended to cause
24· fear among non-white people and Jewish people?
25· · · ·A.· · ·It seems unfathomable to me that


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·1· · · · · · · · ·BRADLEY DEAN GRIFFIN
·2· someone would be afraid of a meme that has, what,
·3· Czechostan in it.· Like, it never -- it never
·4· occurred -- it never once crossed my mind that this
·5· is, like, something, like, fearsome at all.
·6· · · · · · · · · ·(Simultaneous speakers.)
·7· BY MS. MUNLEY:
·8· · · ·Q.· · ·-- something that says "Join or die"
·9· might inspire fear?
10· · · ·A.· · ·It's a reference to American history.
11· · · ·Q.· · ·And it's --
12· · · · · · · · · ·(Simultaneous speakers.)
13· BY MS. MUNLEY:
14· · · ·Q.· · ·It's unfathomable to you that something
15· that includes Nazi imagery might inspire fear; is
16· that your testimony?
17· · · ·A.· · ·If you look at the tail of the snake,
18· it says K, and that's a reference to Czechostan,
19· which is an Internet meme and a joke.· I don't
20· understand how anyone -- I guess people who aren't
21· familiar with Internet meme culture.· But, like, I
22· look at this and I'm like, okay, Czechostan.                 I
23· mean, come on here.· This is a joke.· All it is is
24· saying that people are coming together to support a
25· rally.


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·1· · · · · · · · ·BRADLEY DEAN GRIFFIN
·2· · · · · · · · · ·MS. MUNLEY:· Allegra, will you
·3· · · · · · ·put up Exhibit 15 again, tab 57.
·4· BY MS. MUNLEY:
·5· · · ·Q.· · ·And is it your testimony that it is
·6· unfathomable to you that something that displays
·7· Nazi imagery would inspire fear in Jewish people?
·8· · · ·A.· · ·It never occurred to me at the time.
·9· Like I said, I didn't dwell on the eagles or
10· anything.· I just saw like, what, Pepes and lojacks
11· and Confederate flags and monuments.· And it
12· says -- you know, it's a speaking event.· I mean,
13· it has a list of speakers.· This is for a rally.
14· It just didn't cross -- honest to God, it just
15· never crossed my mind.· And like I said, I never
16· even dwelt on, like, the eagles thing.· I never
17· even noticed it until you brought it up a second
18· ago.
19· · · ·Q.· · ·And is it your testimony that it is
20· unfathomable to you that a poster that shows
21· soldiers marching with firearms would inspire fear
22· in people?
23· · · ·A.· · ·Well, I mean, some people are
24· illiterate and they don't understand Internet meme
25· culture.· And I see Pepes and lojacks.· And this is


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·1· · · · · · · · ·BRADLEY DEAN GRIFFIN
·2· just Internet meme culture.· I don't understand,
·3· like -- I can't -- I can't gra- -- I can't process
·4· what other people are feeling.· I can't reach into
·5· their minds.· But it certainly wasn't on my mind.
·6· · · ·Q.· · ·You anticipated violence at the Unite
·7· the Right rally; is that correct?
·8· · · ·A.· · ·I anticipated that it would go a lot
·9· like -- there was a Klan rally after the first
10· rally, a public rally in Charlottesville.· And my
11· anticipation was -- is that we would go there and
12· we would hold the rally, like the Klan groups held
13· their rally in, I think, July, the previous rally.
14· And I anticipated that the anarchists would spend
15· their time fighting with the police.· That was my
16· expectation.· I ex- -- I trusted the police based
17· on what I saw at the July rally.
18· · · ·Q.· · ·Did members of the League of the South
19· plan to bring shields to the Unite the Right rally?
20· · · ·A.· · ·That is the case.· We were afraid that
21· projectiles would be thrown in the park after
22· watching what happened at the July rally, and that
23· turned out to be very accurate.
24· · · ·Q.· · ·And did they plan to use these shields
25· as weapons?


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·1· · · · · · · · ·BRADLEY DEAN GRIFFIN
·2· · · ·A.· · ·No, not at all.· The only thing we
·3· anticipated is that projectiles would be thrown
·4· into the park.· We believed, based on what happened
·5· at the July rally, that the police would succeed in
·6· maintaining law and order.· And certainly, with
·7· two, three months to prepare and the whole federal
·8· government and the state sending in -- there was
·9· more than enough cops there to maintain law and
10· order, in our view.
11· · · ·Q.· · ·And you communicated, actually, with
12· the Charlottesville police on behalf of League of
13· the South regarding security for the event; is that
14· correct?
15· · · ·A.· · ·I was contacted by a Sgt. Via, I think,
16· of the Charlottesville Police Department.
17· · · ·Q.· · ·And you told them -- him what the
18· League of the South plans were; is that correct?
19· · · ·A.· · ·As far as -- he asked me, like, how
20· many people were coming and what our intentions
21· were.· And I believe I talked to the sergeant on
22· the phone.· And I fully cooperated with the police.
23· I told them --
24· · · · · · · · · ·(Simultaneous speakers.)
25· ///


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                                                                          Page 138
·1· · · · · · · · ·BRADLEY DEAN GRIFFIN
·2· BY MS. MUNLEY:
·3· · · ·Q.· · ·He was asking you these questions, not
·4· as an individual attending, but as a representative
·5· of the League of the South; is that correct?
·6· · · ·A.· · ·He contacted me via email, I guess,
·7· because he was -- the Charlottesville Police
·8· Department was searching for information about the
·9· event and my blog was promoting it, so he reached
10· out to me, and I talked to him.
11· · · · · · · · · ·(Simultaneous speakers.)
12· BY MS. MUNLEY:
13· · · ·Q.· · ·Did you expect that groups like Black
14· Lives Matter and Stand Up For Racial Justice would
15· show up at the Unite the Right rally?
16· · · ·A.· · ·I did anticipate that antifa, Black
17· Lives Matter -- I expected a bunch of protesters,
18· but I expected it to go just like the July rally
19· which I had saw.
20· · · · · · · · · ·MS. MUNLEY:· It's going to be
21· · · · · · ·Exhibit 17.· Allegra, will you show tab
22· · · · · · ·10?
23· · · · · · · · · ·(Exhibit 17 was marked for
24· · · · · · · · · · identification.)
25· · · · · · · · · ·MS. MUNLEY:· Can we go off the


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·1· · · · · · · · ·BRADLEY DEAN GRIFFIN
·2· · · · · · ·record for just a moment.
·3· · · · · · · · · ·THE VIDEOGRAPHER:· The time is
·4· · · · · · ·1:49 p.m.· We're off the record.
·5· · · · · · · · · ·(Off-the-record discussion from
·6· · · · · · · · · · 1:49 p.m. to 1:50 p.m.)
·7· · · · · · · · · ·THE VIDEOGRAPHER:· The time is
·8· · · · · · ·1:50 p.m.· We're on the record.
·9· BY MS. MUNLEY:
10· · · ·Q.· · ·We're going to show Exhibit 17.
11· Mr. Griffin, does this exhibit look familiar to
12· you?
13· · · ·A.· · ·Yes.· It's a post I wrote on my blog.
14· · · ·Q.· · ·Okay.· And this was on August 4th,
15· 2017, correct?
16· · · ·A.· · ·That's correct.
17· · · ·Q.· · ·You wrote, It is reasonable to assume
18· there is a high potential for civil unrest.· There
19· hasn't been a far-right event this large in the
20· United States in over 25 years.· And by the end of
21· the day, the antifas and SJWs could be very, very,
22· very triggered.· Someone has to protect the public.
23· · · · Is that correct?
24· · · ·A.· · ·That's correct.
25· · · ·Q.· · ·The League of the South that had to


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·1· · · · · · · · ·BRADLEY DEAN GRIFFIN
·2· protect the public?
·3· · · ·A.· · ·No.· That's the job of law enforcement.
·4· · · ·Q.· · ·But eight days before the event, you
·5· believed there would be civil unrest; is that
·6· correct?
·7· · · ·A.· · ·Based on what I saw at the July rally,
·8· anarchists got violent and attacked the cops and
·9· there were a bunch of arrests.· And in the
10· aftermath of that rally, they took over
11· Charlottesville City Hall and chased the mayor out
12· and were just going crazy on several occasions in
13· Charlottesville City Hall.· So my assumption was
14· that we would go and have the rally, it would be
15· like the July rally, and then the anarchists would
16· probably just take out their rage by attacking the
17· police, as is their custom.
18· · · ·Q.· · ·So did the League of the South do
19· anything to prepare for this unrest that you
20· anticipated?
21· · · ·A.· · ·We trusted completely that the police
22· would maintain order at the event, and we based
23· that assumption based on the first two events that
24· were relatively peaceful in Charlottesville.
25· · · · · · · · · ·(Simultaneous speakers.)


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·1· · · · · · · · ·BRADLEY DEAN GRIFFIN
·2· · · ·A.· · ·-- had like two months to -- the
·3· federal and state government and the local
·4· government had two months to prepare for the rally.
·5· Our understanding was that it was going to be a sea
·6· of police there.· And if they had made the
·7· slightest effort, they would have been able to keep
·8· order.
·9· · · · · · · · · ·MS. MUNLEY:· Allegra, will you
10· · · · · · ·show tab 13?
11· · · · · · · · · ·(Exhibit 18 was marked for
12· · · · · · · · · · identification.)
13· BY MS. MUNLEY:
14· · · ·Q.· · ·This will be Exhibit 18.· Do you
15· recognize this document?
16· · · ·A.· · ·That's correct.· I wrote that on my
17· blog.
18· · · ·Q.· · ·Okay.· And you wrote this on
19· August 31st, 2017; is that correct?
20· · · ·A.· · ·That sounds about right.
21· · · ·Q.· · ·Allegra is going to scroll for us.
22· · · · You wrote, We brought about a dozen
23· shields.· They were designed to deal with any
24· projectiles that we expected antifa to lob into the
25· park, and a few of us brought pepper spray.· But as


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·1· · · · · · · · ·BRADLEY DEAN GRIFFIN
·2· a whole, no one came in with sticks or any type of
·3· weapon; is that correct?
·4· · · ·A.· · ·There was a debate before the rally
·5· whether we should bring guns or anything, and the
·6· debate was whether that has bad optics.· And from
·7· what I know, we agreed that, as a group, we
·8· wouldn't come in armed, but individuals might, you
·9· know, come armed to protect (indiscernible); but as
10· a group, not.· So we were relatively more disarmed
11· than usual at that rally.· And like I said -- I
12· said what I just told you.· We brought shields
13· because we anticipated that projectiles would be
14· thrown into the park.· But we trusted the police
15· with our security, and that trust was misplaced.
16· · · ·Q.· · ·But people brought pepper spray; is
17· that correct?
18· · · ·A.· · ·I believe some people did, yes.
19· · · ·Q.· · ·And you said that some people brought
20· other weapons; is that correct?
21· · · ·A.· · ·I don't know.· I can't speak for them.
22· I didn't --
23· · · · · · · · · ·(Simultaneous speakers.)
24· BY MS. MUNLEY:
25· · · ·Q.· · ·You just said that some individuals


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·1· · · · · · · · ·BRADLEY DEAN GRIFFIN
·2· brought weapons, but, as a group, you decided not
·3· to?
·4· · · ·A.· · ·The policy was -- from what I remember,
·5· is that the group would not come armed to the
·6· rally, especially with guns.· But I believe
·7· Dr. Hill said that individuals, you know, could
·8· bring means to defend themselves.· But that -- my
·9· impression was that we were coming in significantly
10· less armed than is our usual custom, because that
11· was bad optics.· That was the debate:· whether it
12· was bad optics to come in with guns.· And most
13· people didn't come in with guns, although I
14· can't -- I have no idea what each individual
15· brought, because there was no group policy on that
16· that I recall.
17· · · ·Q.· · ·And are you aware if people brought
18· weapons to defend themselves?
19· · · ·A.· · ·You would have to take that up with
20· them.· I came in completely unarmed.· I didn't even
21· have goggles on.· And I came with my wife, and we
22· were both unarmed.· I didn't even have goggles on
23· or anything to defend myself except a selfie stick,
24· because I was anticipating that the day was going
25· to be a nice day in the park.· I never would have


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·1· · · · · · · · ·BRADLEY DEAN GRIFFIN
·2· brought my wife into a violent situation like that
·3· if that was what I anticipated would happen.
·4· · · ·Q.· · ·Did League of the South have a uniform
·5· that their members were told to wear to Unite the
·6· Right?
·7· · · ·A.· · ·As per our custom at events, we usually
·8· wear the black khakis and the League polo shirt,
·9· and I believe that's what I was wearing that day.
10· · · ·Q.· · ·And did League of the South send a
11· document to its members in advance of the rally
12· detailing this uniform?
13· · · ·A.· · ·I believe that had been set in policy,
14· the khakis and the black polos, for a while before
15· the rally.· So that was just normal.
16· · · ·Q.· · ·And the League of the South members
17· planned to enter and exit the park in military
18· formation; is that correct?
19· · · ·A.· · ·I wasn't -- I wasn't aware of the
20· planning details.· Like I said, my job was there
21· just to cover the rally by filming it and to talk
22· to the media.· I didn't handle that.· I didn't
23· know.· All I knew was I was going with the group.
24· · · ·Q.· · ·And who gave you that job?
25· · · ·A.· · ·Are you talking about public relations


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·1· · · · · · · · ·BRADLEY DEAN GRIFFIN
·2· officer?· We've already been over -- we've already
·3· been over that.
·4· · · ·Q.· · ·You keep saying that nobody gave you
·5· that job, but then you keep talking about how you
·6· were given the job.
·7· · · ·A.· · ·Well, we've already established that,
·8· you know, I was given, I guess, the role of being
·9· public relations officer.· I never took it
10· seriously, because I had been promoting the rallies
11· and stuff for years before I had that title.· So I
12· just did what I normally do.· And, like, my -- I
13· was -- my impression was I was going to film the
14· event and talk to the media.· I had nothing to do
15· with the planning and logistics of the entry and
16· exit.· The only thing -- the only exception being
17· when Sgt. Via asked me about how many people were
18· coming, and I told him the honest truth.
19· · · ·Q.· · ·Mr. Griffin, the issue that we're
20· having is that you keep detailing assignments that
21· you were given and then saying, oh, nobody gave me
22· that assignment, it was just going to do
23· something -- something I was going to do anyway.
24· Do you understand?
25· · · ·A.· · ·You keep, like -- you keep making this,


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·1· · · · · · · · ·BRADLEY DEAN GRIFFIN
·2· like, I had this -- I was doing this as part of a
·3· role.· But like as we covered earlier, I was
·4· already promoting the League events for years
·5· before 2017.· I was already filming the events.                  I
·6· was already -- I was -- as I told you, I was going
·7· to go to the rally regardless if the League went.
·8· So, I mean, I didn't have it in my mind that I was
·9· doing this on behalf of the League.· I was -- I
10· guess, for myself and both.· I was just promoting
11· the rally and talking to journalists like I always
12· do.· And I talked to the police when they contacted
13· me, but I didn't reach out to them.· And I
14· certainly didn't plan the logistics of the entry
15· and exit.
16· · · ·Q.· · ·You testified, quote, my job there was
17· just to cover the rally by filming it and to talk
18· to the media, end quote.
19· · · · So your testimony is that you gave
20· yourself that job; is that correct?
21· · · ·A.· · ·Like I said, I've always -- before --
22· before I was the public relations officer for the
23· League, I would talk to the media, and I would
24· promote the events.· And I was doing this before
25· they said that you have this title, public


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·1· · · · · · · · ·BRADLEY DEAN GRIFFIN
·2· relations officer.· I believe they gave me that
·3· title after the Pikeville rally when I talked to
·4· the media on behalf of the League, just because I
·5· was there.· And I didn't have a role then, but I
·6· did it anyway.
·7· · · · And that's what I planned to do in
·8· Charlottesville, which was in -- in Pikeville, I
·9· talked to journalists, and I also did the same
10· thing in Shelbyville.· So, I mean, does it matter?
11· I mean, I was talking to the media anyway.· I don't
12· think it really matters.· It's, like, a distinction
13· without a difference, in my view.
14· · · ·Q.· · ·So League of the South planned to march
15· in military formation and wear a uniform to the
16· Unite the Right rally; is that correct?
17· · · ·A.· · ·I didn't know anything whatsoever about
18· the plan to enter and exit the park until I got
19· there.· I didn't plan that aspect of the thing.                  I
20· had nothing to do with it.· I just followed along
21· with my wife.
22· · · ·Q.· · ·So once you got there, though, you
23· learned that League of the South members planned to
24· march together in military formation into and out
25· of the park; is that correct?


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·1· · · · · · · · ·BRADLEY DEAN GRIFFIN
·2· · · ·A.· · ·When I got there, everyone was lining
·3· up so they could go in together, because we wanted
·4· to go in together, because that was the safest way,
·5· because, as per is the custom of anarchists -- it
·6· is their custom to attack the lone individual,
·7· which is exactly and precisely what they did in
·8· Charlottesville.· They beat the crap out of people
·9· who tried to come into the rally alone.· And it
10· just was common sense to go in together as a group.
11· · · · It was -- I didn't know anything about
12· military formation.· It was just common sense and
13· given -- in light of the threat.· And
14· specifically -- the League parked specifically
15· right besides the Charlottesville Police Department
16· at the Market Street parking garage.· My
17· understanding was we were cooperating with the
18· police, and we literally, like, trusted our
19· security to them and parked right next door to the
20· police department.· So I didn't anticipate any
21· problems going in or out of the park.
22· · · ·Q.· · ·So League of the South planned to exit
23· and enter the park together wearing the same
24· uniform; is that correct?
25· · · ·A.· · ·We always -- we always wear our -- our


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·1· · · · · · · · ·BRADLEY DEAN GRIFFIN
·2· shirts and our -- our khakis and stuff, just
·3· because it -- you know, it looks nice, to, you
·4· know, be in khakis and stuff.· And we've always --
·5· we've done that for, like, four years.· But our
·6· custom has always been to cooperate with the police
·7· and trust our security to law enforcement.
·8· · · ·Q.· · ·I'm not asking you about the police,
·9· Mr. Griffin.· I understand.· I understand that that
10· is your position.
11· · · · I'm asking you about the plan for the
12· event and how you were planning -- how League of
13· the South was planning to exit and enter the park.
14· They were planning to do so in a large group
15· wearing the same uniform; is that correct?
16· · · ·A.· · ·I did not -- I did not -- I wasn't
17· aware -- like I said, I wasn't aware of any plan.
18· · · · · · · · · ·(Simultaneous speakers.)
19· BY MS. MUNLEY:
20· · · ·Q.· · ·-- that when you got there?
21· · · ·A.· · ·Right.· I just lined up behind everyone
22· else, and we walked into the park.
23· · · ·Q.· · ·You arrived in Charlottesville on
24· Friday afternoon; is that correct?
25· · · ·A.· · ·That's correct.


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·1· · · · · · · · ·BRADLEY DEAN GRIFFIN
·2· · · ·Q.· · ·And you drove there from Alabama?
·3· · · ·A.· · ·Let me see.· I was kind of worried for
·4· a second there about battery on my tablet.· Yes.
·5· We -- I drove from -- we drove from Alabama to
·6· Charlottesville, yes.
·7· · · ·Q.· · ·Who did you drive with?
·8· · · ·A.· · ·My wife and four friends.
·9· · · ·Q.· · ·Who were those friends?
10· · · ·A.· · ·Andrew, Ryan, Michael, and Chris.
11· · · ·Q.· · ·What was Andrew's last name?
12· · · ·A.· · ·Andrew Tracey was one of my friends,
13· Ryan King was another, Michael Weaver was another,
14· and I don't know Chris's real name.· He's just a
15· local in Alabama.
16· · · · · · · · · ·MS. MUNLEY:· Let's actually go
17· · · · · · ·off the record.· We'll take a break and
18· · · · · · ·let Mr. Griffin recharge his tablet for
19· · · · · · ·a few minutes.· We'll come back at 3:20
20· · · · · · ·Eastern time.· Does that make sense?
21· · · · · · · · · ·THE WITNESS:· Okay.· All
22· · · · · · ·right.· So it's 2:20 my time?
23· · · · · · · · · ·MS. MUNLEY:· Correct.
24· · · · · · · · · ·THE VIDEOGRAPHER:· The time is
25· · · · · · ·2:05 p.m.· We're off the record.


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·1· · · · · · · · ·BRADLEY DEAN GRIFFIN
·2· · · · · · · · · ·(Off-the-record discussion from
·3· · · · · · · · · · 2:05 p.m. to 2:23 p.m.)
·4· · · · · · · · · ·THE VIDEOGRAPHER:· The time is
·5· · · · · · ·2:23 p.m.· We're on the record.
·6· BY MS. MUNLEY:
·7· · · ·Q.· · ·So you arrived in Charlottesville on
·8· Friday afternoon; is that correct?
·9· · · ·A.· · ·Yes.· Yes.
10· · · ·Q.· · ·And you participated in the torchlight
11· rally on Friday night?
12· · · ·A.· · ·Yes.
13· · · ·Q.· · ·You attended that as an observer for
14· League of the South; is that correct?
15· · · ·A.· · ·No.
16· · · ·Q.· · ·Did you attend that with other League
17· of the South members?
18· · · ·A.· · ·There were a few people there as
19· individuals, but group had decided to stay behind
20· that night.
21· · · ·Q.· · ·So how many of you from League of the
22· South attended?
23· · · ·A.· · ·I'm not sure.· I just know with me, it
24· was just the people who were in -- who came with me
25· to Charlottesville.


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·1· · · · · · · · ·BRADLEY DEAN GRIFFIN
·2· · · ·Q.· · ·And how many people was that?
·3· · · ·A.· · ·Me, my wife, and four friends.
·4· · · ·Q.· · ·So at least six people and potentially
·5· more people from League of the South attended,
·6· correct?
·7· · · ·A.· · ·Well, I think two -- two of them, I
·8· don't think, were League of the South members.
·9· Maybe three, anyway.
10· · · ·Q.· · ·You-all came from the League of the
11· South venue together; is that correct?
12· · · ·A.· · ·No.· We had gone to a barbecue at
13· another friend's house -- another friend's place.
14· And I had talked to Jason Kessler, because I found
15· out that evening that the -- the antifa had found
16· out about the torchlight march, and I recommended
17· to Jason that he shift the location of that march.
18· But he called me back and said that he had talked
19· to the police and everything was fine and good to
20· go.· And it was around that time that the court
21· ruled in our favor that he had won his lawsuit and
22· he could have the rally in the park the next day.
23· · · ·Q.· · ·But why did you recommend to
24· Mr. Kessler to cancel the torch march?
25· · · ·A.· · ·Because I was concerned about antifa.


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·1· · · · · · · · ·BRADLEY DEAN GRIFFIN
·2· And Jason assured me that he had talked to the
·3· police and the police said everything was fine and
·4· that they were going to protect everything.
·5· · · ·Q.· · ·Why were you concerned about antifa on
·6· Friday night but not on Saturday?
·7· · · ·A.· · ·I was concerned about them -- about
·8· them both nights.· But the torch march was going to
·9· be a surprise thing.· But Jason told me that, you
10· know, he had talked to the police about it
11· beforehand, and the police were going to be
12· providing security, you know, for both days.
13· · · ·Q.· · ·Why was the torch march planned as a
14· surprise?
15· · · ·A.· · ·Because there was -- it was like the
16· first one.
17· · · ·Q.· · ·What do you mean by "it was like the
18· first one"?
19· · · ·A.· · ·The first event in May was, like, a
20· surprise event.
21· · · ·Q.· · ·The first event in Charlottesville?
22· · · ·A.· · ·The time they went in there with May --
23· when Identity Evropa had a torch march at the
24· monument in May, that was not publicly advertised.
25· · · ·Q.· · ·And why was it not publicly advertised


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·1· · · · · · · · ·BRADLEY DEAN GRIFFIN
·2· in May?
·3· · · ·A.· · ·To deter antifa from coming, to avoid
·4· conflict.
·5· · · ·Q.· · ·Did you see Jason Kessler at the torch
·6· march?
·7· · · ·A.· · ·I briefly ran into him afterwards.
·8· · · ·Q.· · ·Did you see Richard Spencer?
·9· · · ·A.· · ·No.
10· · · ·Q.· · ·Did you see Christopher Cantwell?
11· · · ·A.· · ·Yes.
12· · · ·Q.· · ·Did you see James Fields?
13· · · ·A.· · ·No.
14· · · ·Q.· · ·Did you see Andrew England?
15· · · ·A.· · ·No.
16· · · ·Q.· · ·Did you see Robert Azzmador Ray?
17· · · ·A.· · ·Yes.
18· · · ·Q.· · ·Did you see Nathan?
19· · · ·A.· · ·No.
20· · · ·Q.· · ·Did you see Eli Mosely?
21· · · ·A.· · ·Not sure.· It was really chaotic.                  I
22· don't think so.
23· · · ·Q.· · ·Did you see Matthew Heimbach?
24· · · ·A.· · ·No.· He wasn't there.
25· · · ·Q.· · ·Did you see Matthew Parrott?


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·1· · · · · · · · ·BRADLEY DEAN GRIFFIN
·2· · · ·A.· · ·No.
·3· · · ·Q.· · ·Did you see Michael Tubbs?
·4· · · ·A.· · ·No.
·5· · · ·Q.· · ·Did you see Michael Hill?
·6· · · ·A.· · ·No.
·7· · · ·Q.· · ·Thank you see Jack Schoep?
·8· · · ·A.· · ·No.
·9· · · ·Q.· · ·Did you see Augustus Sol Invictus?
10· · · ·A.· · ·Yes.
11· · · ·Q.· · ·What did you bring with you to the
12· torch march?
13· · · ·A.· · ·We had some torches, but we were late
14· getting there.· It was halfway over.· And some of
15· my friends had torches who came with me, but I
16· didn't have one.
17· · · ·Q.· · ·Where did you get the torches from?
18· · · ·A.· · ·I think a Dollar General.
19· · · ·Q.· · ·On the way to the torch march?
20· · · ·A.· · ·I believe we already had them.
21· · · ·Q.· · ·So you brought them from Alabama?
22· · · ·A.· · ·I believe so.
23· · · ·Q.· · ·And why did you bring a torch?
24· · · ·A.· · ·We knew that there was going to be a
25· torch march and the alt-right was doing that; but


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·1· · · · · · · · ·BRADLEY DEAN GRIFFIN
·2· we weren't sure whether we would get there in time
·3· or whether we would go, so we just brought one just
·4· in case.
·5· · · ·Q.· · ·And did everybody bring tiki torches to
·6· the march?
·7· · · ·A.· · ·In my group, no.
·8· · · ·Q.· · ·Did the other protestors -- or other
·9· people at the march have tiki torches?
10· · · ·A.· · ·Yes.
11· · · ·Q.· · ·And were they giving them out to people
12· who didn't have them?
13· · · ·A.· · ·Were they what?
14· · · ·Q.· · ·Were they giving tiki torches out to
15· people who did not arrive with them?
16· · · ·A.· · ·I didn't see them doing that.                   I
17· arrived late.
18· · · ·Q.· · ·And what was the purpose of the tiki
19· torches?
20· · · ·A.· · ·It's an American custom, and it was to
21· honor the memory of our forefathers, especially
22· Thomas Jefferson, who is the champion of free
23· speech.
24· · · ·Q.· · ·What do you mean by "it's an American
25· custom"?


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·1· · · · · · · · ·BRADLEY DEAN GRIFFIN
·2· · · ·A.· · ·Torch marches were commonplace in the
·3· 19th century.
·4· · · ·Q.· · ·What were they -- what were they used
·5· for?
·6· · · ·A.· · ·Both political parties had torch
·7· marches all the time in the 19th century.· The
·8· Republican party had -- and the Democratic party
·9· both had -- commonly had torch marches in the -- in
10· the 18th and 19th centuries.
11· · · ·Q.· · ·And they just held torch marches for no
12· reason?
13· · · ·A.· · ·There was always political -- like I
14· said, political torch marches.· It was -- it would
15· be elections.· It was -- I mean, it's commonplace
16· in Europe today, but it was also extremely
17· commonplace in 19th century America.
18· · · ·Q.· · ·Did you light your own tiki torch?
19· · · ·A.· · ·What?
20· · · ·Q.· · ·Light your own tiki torch?
21· · · ·A.· · ·I didn't have a lit tiki torch.
22· · · ·Q.· · ·But other people who were with you did?
23· · · ·A.· · ·I think two of my friends did.· But it
24· was already halfway over there -- it was already
25· halfway over when we arrived, so what was the


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·1· · · · · · · · ·BRADLEY DEAN GRIFFIN
·2· point, in my view.· I caught up to the back of the
·3· line.
·4· · · ·Q.· · ·So you did not carry a torch; is that
·5· correct?
·6· · · ·A.· · ·No.· My wife did, I believe.
·7· · · ·Q.· · ·Did everybody in your group bring the
·8· lighter fluid for their tiki torches?
·9· · · ·A.· · ·I'm not exactly sure.· I wasn't the one
10· who bought them, and I didn't light it.
11· · · ·Q.· · ·What did you wear to the torch march?
12· · · ·A.· · ·I believe I bought a new polo from my
13· friend Kyle at the barbecue.· It was a -- it was a
14· new League of the South polo.· I got it from him
15· just a moment before.
16· · · ·Q.· · ·What color was it?
17· · · ·A.· · ·It was a black one, I think.
18· · · ·Q.· · ·And were other people wearing black
19· polos?
20· · · ·A.· · ·Not really.· It was an all-white event.
21· · · ·Q.· · ·Was there an instruction given to wear
22· a white polo?
23· · · ·A.· · ·If there was, I didn't notice.· It was
24· really Identity Evropa that did that.· That was
25· their group.


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·1· · · · · · · · ·BRADLEY DEAN GRIFFIN
·2· · · ·Q.· · ·But everybody else was wearing a white
·3· polo; is that correct?
·4· · · ·A.· · ·No.· They were too many people there.
·5· They were just dressed in all kinds of street
·6· clothes, and everyone wasn't in a white polo,
·7· although I think Identity Evropa members might have
·8· been.· I'm not sure.
·9· · · ·Q.· · ·If this was an Identity Evropa event,
10· why did you decide to attend?
11· · · ·A.· · ·It was -- my understanding is that
12· there was going to be three events that weekend:
13· the surprise torch march, the rally, and an
14· afterparty.· And it was really, like I said, on a
15· spur-of-the-moment thing, after Kessler assured me
16· that he had talked to the cops and the cops had
17· told him that the police were going to protect the
18· rally, that I went.· But I wasn't inclined to go
19· before then.
20· · · ·Q.· · ·Your testimony is that you packed a
21· tiki torch when you left Alabama, but it was not
22· your intention to go to the torch rally; is that
23· correct?
24· · · ·A.· · ·It was an optional thing.· Like I said,
25· I didn't really decide until the last minute to go.


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·1· · · · · · · · ·BRADLEY DEAN GRIFFIN
·2· But we didn't even think we were going to get there
·3· in time for it.· And we were extremely tired when
·4· we got there, because we drove all night.· We
·5· thought about sleeping, just going to sleep that
·6· evening.
·7· · · ·Q.· · ·Did you bring a weapon to the torch
·8· march?
·9· · · ·A.· · ·No, I did not.
10· · · ·Q.· · ·Did anybody you were with?
11· · · ·A.· · ·No.
12· · · ·Q.· · ·Did you see anybody at the torch march
13· carrying weapons?
14· · · ·A.· · ·No.
15· · · ·Q.· · ·Did you see anybody carrying firearms?
16· · · ·A.· · ·No, I did not.
17· · · ·Q.· · ·Was anybody carrying shields?
18· · · ·A.· · ·I don't recall shields at the torch
19· march.
20· · · ·Q.· · ·Did you see anybody carrying knives?
21· · · ·A.· · ·No.
22· · · ·Q.· · ·Did you see anybody carrying batons?
23· · · ·A.· · ·No.
24· · · ·Q.· · ·Did you see anybody carrying pepper
25· spray?


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·1· · · · · · · · ·BRADLEY DEAN GRIFFIN
·2· · · ·A.· · ·No, although I remember when it was
·3· discharged.
·4· · · ·Q.· · ·Did you see people carrying lighter
·5· fluid?
·6· · · ·A.· · ·No.· When I got -- when I arrived
·7· there, the march was halfway over.· It was already
·8· underway, so they had lit their torches before I
·9· got there.
10· · · ·Q.· · ·You said that the intent of the march
11· was to walk to the Jefferson statue on the
12· University of Virginia campus; is that correct?
13· · · ·A.· · ·That was my understanding.· It was to
14· honor Thomas Jefferson, who is one of the founding
15· fathers and champion of the First Amendment, and to
16· show that we support our heritage and especially to
17· emphasize that the -- it wasn't just the
18· Confederate monuments that would be attacked, it
19· would be all monuments, which was accurate.
20· · · ·Q.· · ·So from Nameless Field, the torch march
21· went -- walked to the Jefferson statue, is that
22· correct?
23· · · ·A.· · ·It was already halfway over in the UVA
24· campus when I arrived.· They were already marching
25· through the campus.· I arrived there, and I didn't


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·1· · · · · · · · ·BRADLEY DEAN GRIFFIN
·2· even -- I didn't even bother to light a torch,
·3· because it was already halfway over.· And so I just
·4· caught up at the back of the line.
·5· · · ·Q.· · ·Though the march was walking through
·6· the campus and up the lawn, correct?
·7· · · ·A.· · ·I'm not familiar with the grounds, but
·8· it marched through the campus, is what I saw.
·9· · · ·Q.· · ·Were the marchers at the torch rally
10· chanting anything?
11· · · ·A.· · ·I believe so.
12· · · ·Q.· · ·Were they chanting, "You will not
13· replace us"?
14· · · ·A.· · ·That was Identity Evropa.· I think
15· that's their slogan.
16· · · ·Q.· · ·What did you take this to mean?
17· · · ·A.· · ·It means that, you know -- that they're
18· going to stand up and defend their culture and
19· identity and the monuments from people who are
20· destroying monuments.
21· · · · · · · · · ·(Simultaneous speakers.)
22· BY MS. MUNLEY:
23· · · ·Q.· · ·I apologize.· Could you repeat that?
24· · · ·A.· · ·I said that they were opposing the
25· people who were engaged in violence and tearing


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·1· · · · · · · · ·BRADLEY DEAN GRIFFIN
·2· down monuments, like in Richmond last night.
·3· · · ·Q.· · ·Does it refer to non-white people
·4· replacing white people?
·5· · · ·A.· · ·I think they were referring -- I think
·6· it's more than that.· I think it's a total
·7· destruction and erasure of identity, and it isn't
·8· so much about non-whites as it is destroying our
·9· culture and identity, is my understanding.
10· · · ·Q.· · ·And did you chant, "You will not
11· replace us" with the torch rally?
12· · · ·A.· · ·I don't recall chanting anything.· I'm
13· not a chanter.
14· · · ·Q.· · ·Did the marchers chant, "Jews will not
15· replace us"?
16· · · ·A.· · ·I believe some of them did.
17· · · ·Q.· · ·Does this refer to Jewish people
18· replacing white people?
19· · · ·A.· · ·It refers to Jewish people attacking
20· Southern monuments, American -- monuments to
21· American history.· There's a long thread on Twitter
22· today about someone -- a self-identified Jewish
23· person who has a hit list of all kinds of monuments
24· which need to be destroyed.· So that's the kind of
25· people they were responding to.


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·1· · · · · · · · ·BRADLEY DEAN GRIFFIN
·2· · · ·Q.· · ·Did the marchers chant, "Blood and
·3· Soil"?
·4· · · ·A.· · ·Some of them did.
·5· · · ·Q.· · ·Were these statements intended to be
·6· intimidating to non-white people?
·7· · · ·A.· · ·I don't think so.· Most nations in the
·8· world are based on ethnicity, not citizenship.
·9· · · ·Q.· · ·So your testimony is that a large mass
10· of people carrying torches, chanting "You will not
11· replace us" is not -- was not intended to be
12· intimidating to non-white people; is that correct?
13· · · ·A.· · ·Torch marches are common in Europe and
14· are common in American history.
15· · · ·Q.· · ·(Indiscernible.)
16· · · ·A.· · ·I did not see it as intimidating.                  I
17· thought it was a celebration of our identity.
18· · · ·Q.· · ·Were these statements intended to be
19· intimidating to Jewish people?
20· · · ·A.· · ·I don't think so.
21· · · ·Q.· · ·All right.· Did the marchers also
22· chant, "Into the oven"?
23· · · ·A.· · ·I didn't hear that one.
24· · · ·Q.· · ·So is it your testimony that a large
25· mass of people carrying torches, chanting "Jews


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·1· · · · · · · · ·BRADLEY DEAN GRIFFIN
·2· will not replace us" is not intended to be
·3· intimidating to Jewish people?
·4· · · ·A.· · ·I would say that they're just opposed
·5· to Jewish people who are tearing down our
·6· monuments, like in Richmond last night.
·7· · · ·Q.· · ·Did you get close to the Jefferson
·8· statue?
·9· · · ·A.· · ·I was -- I got around it, but I was
10· towards the back.
11· · · ·Q.· · ·Did you see people around the Jefferson
12· statue locking arms?
13· · · ·A.· · ·Yes, I did.· I was somewhat surprised
14· the police weren't there.
15· · · ·Q.· · ·And how many people were -- had their
16· arms locked around the Jefferson statue?
17· · · ·A.· · ·I couldn't really see.· I was at the
18· back.
19· · · · · · · · · ·MS. MUNLEY:· Allegra, will you
20· · · · · · ·show tab 13?· I think we used it as an
21· · · · · · ·exhibit before.· I don't recall which
22· · · · · · ·number it was.
23· BY MS. MUNLEY:
24· · · ·Q.· · ·Do you recognize this document?
25· · · ·A.· · ·Yes, I do.


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·1· · · · · · · · ·BRADLEY DEAN GRIFFIN
·2· · · ·Q.· · ·I think we identified it before.· It's
·3· a post that you wrote on your blog, Occidental
·4· Dissent, correct?
·5· · · ·A.· · ·That's correct.
·6· · · ·Q.· · ·Okay.· And you wrote on this blog that,
·7· When we came down the stairs at the Jefferson
·8· monument, Emily Gorcenski was there with a group of
·9· about 20 antifa; is that correct?
10· · · ·A.· · ·That's correct.· After the event was
11· over, I got to -- a month to review the footage,
12· but it was different from being in the moment.
13· · · ·Q.· · ·So there were about 20
14· counterprotestors there, correct?
15· · · ·A.· · ·After reviewing the footage after the
16· event, there were -- I think, there were about that
17· many.
18· · · ·Q.· · ·All right.
19· · · ·A.· · ·But I couldn't see at the time -- from
20· my perspective at the time, being actually involved
21· in the event, I didn't see it at the time.· I -- it
22· was only, you know, looking through the video
23· footage after the event, because people are a lot
24· taller than me, so I couldn't see over them.
25· · · ·Q.· · ·I can certainly relate.· And then --


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·1· · · · · · · · ·BRADLEY DEAN GRIFFIN
·2· and that's also because you noted that there were a
·3· huge mass of people attending the torch rally,
·4· correct?
·5· · · ·A.· · ·I was shocked by how many people were
·6· there.
·7· · · ·Q.· · ·And, eventually, the people at the
·8· torch rally surrounded the protesters at the
·9· statue; is that correct?
10· · · ·A.· · ·Yes.· There wasn't any police at the
11· statue when we arrived.
12· · · ·Q.· · ·Not the question that I asked you.
13· · · · The marchers surrounded --
14· · · ·A.· · ·Yes.
15· · · ·Q.· · ·Got you.· Okay.· Were you part of that
16· group that surrounded the protesters?
17· · · ·A.· · ·No.· I just stood back and watched.
18· · · ·Q.· · ·What was the purpose of surrounding the
19· protesters, in your opinion?
20· · · ·A.· · ·In my view, the protesters were, you
21· know, supposed to be separated by police, but they
22· were there disrupting the event.· And the plan -- I
23· think the plan was to just surround the -- to go
24· forward with the event and to -- I think that was
25· always part of the event -- was just to go to the


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·1· · · · · · · · ·BRADLEY DEAN GRIFFIN
·2· statue.· I mean, I thought that was the goal.· But
·3· the police were supposed to separate the
·4· protesters, and they didn't.
·5· · · ·Q.· · ·Was the purpose of surrounding the
·6· protesters to intimidate them?
·7· · · ·A.· · ·No.· I think that the goal was to
·8· surround the statue regardless.· I think that
·9· was -- I don't think they counted on the protesters
10· being there.
11· · · · Kessler had talked to the cops, and the
12· cops had told Kessler that they were going to
13· separate the protesters, and they did not.
14· · · ·Q.· · ·Was the purpose of surrounding the
15· protesters to provoke a violent confrontation?
16· · · ·A.· · ·That's inconsistent with talking to the
17· cops beforehand.
18· · · ·Q.· · ·Is that a "no"?
19· · · ·A.· · ·That's a "no."
20· · · ·Q.· · ·Did you interact with any of the
21· protesters?
22· · · ·A.· · ·I briefly met Jason at the event.                  I
23· shook his hand, but I don't think I said more than
24· three words to him.
25· · · ·Q.· · ·Did you interact with any of the


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·1· · · · · · · · ·BRADLEY DEAN GRIFFIN
·2· protesters who were locking arms around the statue?
·3· · · ·A.· · ·No, I did not.
·4· · · ·Q.· · ·Did you feel threatened by the
·5· protesters who were locking arms around the statue?
·6· · · ·A.· · ·I saw one of them barrel through the
·7· ring of people at me, and it was a commotion, and
·8· it was over in, like, a split second.· But I just
·9· kind of, like, stood back.· I was kind of surprised
10· that the police weren't there, to be honest.
11· · · ·Q.· · ·And so did you feel threatened?
12· · · ·A.· · ·Not from my distance from the -- from
13· the statue, no.
14· · · · · · · · · ·(Simultaneous speakers.)
15· · · ·A.· · ·I did inhale the pepper spray, though.
16· That was my first experience with that.
17· · · ·Q.· · ·Did you see anyone confront the
18· protesters who were surrounding the statue?
19· · · ·A.· · ·There were too many people in front of
20· me.· I couldn't see from my vantage point.
21· · · ·Q.· · ·Did you see anyone throw lighter fluid
22· on the protesters?
23· · · ·A.· · ·No, I did not.· Like I said, the people
24· in front of me were a lot taller than me, so I
25· couldn't see over them or what was going on.                 I


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·1· · · · · · · · ·BRADLEY DEAN GRIFFIN
·2· just saw one barrel through, and the next thing I
·3· know, it was over.
·4· · · ·Q.· · ·So, in your opinion, was the torchlight
·5· rally a success?
·6· · · ·A.· · ·It was disrupted.· Everybody was, you
·7· know -- I don't think people read into the
·8· significance of what happened that night at the
·9· time.· But people were feeling positive about it.
10· But, like I said, I didn't -- I was too far away to
11· see what happened right at the -- you know, right
12· around meeting at the statue.· I was behind a lot
13· of other guys.· I just saw it.
14· · · ·Q.· · ·What do you mean by "the significance
15· of what happened"?
16· · · ·A.· · ·The significance of the -- in
17· hindsight -- hindsight is 20/20.· But Kessler had
18· told me that the cops were going to be there to
19· separate the protesters.· And the cops stayed
20· across the street and watched that night, and that
21· should have been an indication of what was going to
22· happen the next day.· We should have just left at
23· that point.· But it didn't really dawn on us
24· that -- the significance of what happened, that the
25· police would stand there and watch and not do their


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·1· · · · · · · · ·BRADLEY DEAN GRIFFIN
·2· jobs, especially after they had been contacted
·3· to -- by Kessler to, you know, secure the march
·4· where it could take place peacefully.
·5· · · · · · · · · ·MS. MUNLEY:· Allegra, will you
·6· · · · · · ·show tab 24.· I think this is going to
·7· · · · · · ·be Exhibit 19.
·8· · · · · · · · · ·(Exhibit 19 was marked for
·9· · · · · · · · · · identification.)
10· BY MS. MUNLEY:
11· · · ·Q.· · ·Does this look familiar to you?
12· · · ·A.· · ·Uh-huh.
13· · · ·Q.· · ·Okay.· Do you recognize this as a
14· Discord chat?
15· · · ·A.· · ·Yes.
16· · · ·Q.· · ·And do you recognize your Discord
17· handle, Hunter Wallace?
18· · · ·A.· · ·Yes, that's correct.
19· · · ·Q.· · ·Okay.· And these are posts from
20· September 8th, 2017; is that correct?
21· · · ·A.· · ·Yes.· This is during what we call the
22· "optics war."
23· · · ·Q.· · ·Okay.· So the last post, you say, The
24· scariest optics by far to normies was the
25· torchlight.· The rally itself was tame by


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·1· · · · · · · · ·BRADLEY DEAN GRIFFIN
·2· comparison.
·3· · · · Is that correct?
·4· · · ·A.· · ·It looks like I did say that.
·5· · · ·Q.· · ·Okay.· What are "normies"?
·6· · · ·A.· · ·People who aren't involved in the
·7· movement.
·8· · · ·Q.· · ·And what did you mean that "the optics
·9· were scary to normies"?
10· · · ·A.· · ·Well, I mean, I wasn't watching CNN and
11· stuff, like, when we were doing the torch march.
12· And it was only, like, in hindsight that, you know,
13· I got to go back and, you know, review what was
14· going on on television.· I wasn't watching
15· television when I was at the march.
16· · · · It seems like, you know, like, the -- I
17· don't know.· Like, that torch march, which -- it
18· seemed like, you know, was -- the reaction to it
19· was hysterical on the 11th.· I didn't get to watch
20· the media hysteria until after -- well after the
21· event, though.· This was in September, so this was
22· well after (indiscernible).
23· · · ·Q.· · ·The intention of the torchlight was to
24· be scary; is that correct?
25· · · ·A.· · ·No, that's not correct.· Like I said,


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·1· · · · · · · · ·BRADLEY DEAN GRIFFIN
·2· it was only after the rally that I got to watch,
·3· you know, what CNN and so forth were saying about
·4· the rally.
·5· · · · · · · · · ·(Simultaneous speakers.)
·6· BY MS. MUNLEY:
·7· · · ·Q.· · ·You didn't realize at the time that a
·8· large mass of people, particularly men, dressed in
·9· uniforms, marching with torches would be
10· frightening to, quote/unquote, normies; is that
11· correct?
12· · · ·A.· · ·Not really.· This is a common custom in
13· Europe, and it used to be an American custom.· And
14· like I said, there was already -- this was the
15· second torch march.· Everyone really liked the
16· first one.· There was -- this was the second one
17· they did in Charlottesville.· The first one they
18· had done in May and everyone was really impressed
19· by it.
20· · · ·Q.· · ·Is that everyone including,
21· quote/unquote, normies?
22· · · ·A.· · ·Well, my impression was that a lot of
23· normies, after the May rally, were really -- you
24· know, I want to get involved in this, I want to go
25· to -- the response to the first rally was very


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·1· · · · · · · · ·BRADLEY DEAN GRIFFIN
·2· positive, and that was a torchlight rally.· And my
·3· impression was that the reason that Kessler wanted
·4· to hold a second rally was because the first one
·5· had been such a success and the normies really
·6· liked it.· But the second rally, you know, the
·7· footage was a lot more hysterical than the one in
·8· May, I would say.
·9· · · ·Q.· · ·But your testimony that the intention
10· of the torchlight rally -- this large mass of men
11· with torches in uniform -- was to play to public
12· opinion and make people like the alt-right; is that
13· correct?
14· · · ·A.· · ·Well, the first rally, which was a
15· torch march rally in Charlottesville in May, had a
16· very positive response.· In fact, that's why so
17· many people came to Charlottesville, because, you
18· know, they wanted to, you know --
19· · · · · · · · · ·(Simultaneous speakers.)
20· BY MS. MUNLEY:
21· · · ·Q.· · ·You're not answering the question that
22· I asked.
23· · · ·A.· · ·I have.· Like I said, the first rally,
24· which was a torch march rally, the public response
25· was positive.· And that's why there was the second


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·1· · · · · · · · ·BRADLEY DEAN GRIFFIN
·2· torch march.
·3· · · ·Q.· · ·And I'm asking you if the intention of
·4· the torchlight rally was to appeal to normal people
·5· and make people like the alt-right?
·6· · · ·A.· · ·That was the intention, I believe.
·7· Yes.
·8· · · ·Q.· · ·All right.· And so it's your testimony
·9· that the intention of a large group of people in
10· uniform with torches chanting "Jews will not
11· replace us" and "You will not replace us" and
12· "Blood and Soil" was not meant to be menacing to
13· Jewish people and non-white people, correct?
14· · · ·A.· · ·No.· Like I said, torch marches were
15· common in American history, and we were just doing
16· the same thing.
17· · · ·Q.· · ·Okay.· And, in fact, it is your
18· testimony that this large group of people in
19· uniform with torches chanting "Jews will not
20· replace us" and "You will not replace us" and
21· "Blood and Soil" was meant to appeal to the normal
22· American public, correct?
23· · · ·A.· · ·Half the American publics opposes
24· anarchists, and the majority of people in Virginia
25· support Southern monuments, especially one of the


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·1· · · · · · · · ·BRADLEY DEAN GRIFFIN
·2· founding fathers, so --
·3· · · · · · · · · ·(Simultaneous speakers.)
·4· · · ·A.· · ·Yes, it is.· This position that we
·5· support the monuments is not a marginal one.· Over
·6· half the people in Virginia, even after the rally,
·7· supported the monuments.
·8· · · ·Q.· · ·Mr. Griffin, the question that I asked
·9· you is:· Is it your opinion that a large group of
10· people in uniform with torches chanting "Jews will
11· not replace us" and "You will not replace us" and
12· "Blood and Soil" was meant to appeal to normal
13· people in the American public?
14· · · ·A.· · ·Absolutely.
15· · · ·Q.· · ·Okay.· To your knowledge, was there any
16· ever -- was there ever any discussion amongst the
17· people attending and planning Unite the Right to
18· call off the Saturday events, given what had
19· happened on Friday night?
20· · · ·A.· · ·No.
21· · · ·Q.· · ·You testified that you think they
22· should have, correct?
23· · · ·A.· · ·Well, hindsight is 20/20.
24· · · ·Q.· · ·Did the League of the South decide to
25· do anything differently after the events of Friday


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·1· · · · · · · · ·BRADLEY DEAN GRIFFIN
·2· night?
·3· · · ·A.· · ·No.· The League of the South really
·4· didn't even participate in the torch march.
·5· · · ·Q.· · ·But they were aware of it, correct?
·6· · · ·A.· · ·They were mostly tired from driving so
·7· far and went to sleep that night, the vast majority
·8· of them.
·9· · · ·Q.· · ·Did you tell people what happened at
10· the torchlight march?
11· · · ·A.· · ·Most of the people were in bed when I
12· got back, and then I was exhausted and -- I had
13· been on the road, you've got to remember, 10, 12
14· hours just to travel to Virginia, and I barely got
15· any sleep, so I went to bed.
16· · · ·Q.· · ·All right.· You didn't tell anybody in
17· League of the South what happened during the
18· torchlight march, correct?
19· · · ·A.· · ·I remember just passing out when I got
20· back.
21· · · ·Q.· · ·And you did stay at the League compound
22· on Friday night, correct?
23· · · ·A.· · ·Uh-huh.· I was extremely tired after
24· the drive, so when I got back, I went to sleep.
25· · · · · · · · · ·MS. MUNLEY:· All right.· Let's go


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·1· · · · · · · · ·BRADLEY DEAN GRIFFIN
·2· · · · · · ·off the record.
·3· · · · · · · · · ·THE VIDEOGRAPHER:· The time is
·4· · · · · · ·2:55 p.m.· We're off the record.
·5· · · · · · · · · ·(Recess from 2:55 p.m. to
·6· · · · · · · · · · 3:10 p.m.)
·7· · · · · · · · · ·THE VIDEOGRAPHER:· The time is
·8· · · · · · ·3:10 p.m.· On the record.
·9· BY MS. MUNLEY:
10· · · ·Q.· · ·Mr. Griffin, I just want to clarify one
11· thing from our last exchange.· You defined
12· "normies" as the normal American public; is that
13· correct?
14· · · ·A.· · ·Yeah.· It's a slang word that's used,
15· unfortunately, for normal, average, ordinary,
16· everyday people.
17· · · ·Q.· · ·Okay.· And that includes black people;
18· is that correct?
19· · · ·A.· · ·Yes.
20· · · ·Q.· · ·Okay.· And it includes Jewish people?
21· · · ·A.· · ·I suppose so.
22· · · ·Q.· · ·We were talking about torchlight
23· rallies being an American custom.· Can you -- are
24· you aware that they were used by the Klu Klux Klan?
25· · · ·A.· · ·Well, they were used for decades before


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·1· · · · · · · · ·BRADLEY DEAN GRIFFIN
·2· that.· Abraham Lincoln had a torch march of a -- a
·3· torchlight march at the Republican National
·4· Convention, if I'm not mistaken.
·5· · · ·Q.· · ·Okay.· But you are aware that they were
·6· used by the KKK, correct?
·7· · · ·A.· · ·Yes, but they were used for decades
·8· before that.
·9· · · ·Q.· · ·And so it's still your testimony that a
10· torchlight rally, which was used by the KKK, would
11· not be intimidating to black people; is that
12· correct?
13· · · ·A.· · ·That's correct.· Torchlight marches
14· were used by the Republican party, which abolished
15· slavery.· So it was used by both parties in the
16· United States.· It was extremely commonplace in
17· (indiscernible) America.
18· · · ·Q.· · ·Okay.· And it is also your testimony
19· that the chant, "Jews will not replace us" and
20· "Blood and Soil" are not intended to be
21· intimidating to Jewish people; is that correct?
22· · · ·A.· · ·"Blood and Soil" is just a reference to
23· ethnonationalism.· And "Jews will not replace us"
24· just means that there are Jewish people who oppose
25· our monuments, which is absolutely true.


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·1· · · · · · · · ·BRADLEY DEAN GRIFFIN
·2· · · ·Q.· · ·I think we covered that you are aware
·3· that "Blood and Soil" was used by the Nazi party in
·4· Nazi Germany; is that correct?
·5· · · ·A.· · ·Most of the nations in the world are
·6· based on ethnicity, including --
·7· · · ·Q.· · ·Not the question, Mr. Griffin.· I asked
·8· you if you were aware that Nazi Germany used the
·9· slogan "Blood and Soil"?
10· · · ·A.· · ·This is Winston Churchill's book, A
11· History of the English-Speaking People --
12· · · ·Q.· · ·Mr. Griffin --
13· · · · · · · · · ·(Simultaneous speakers.)
14· BY MS. MUNLEY:
15· · · ·Q.· · ·You're here to answer my questions.
16· · · ·A.· · ·No.· I've answered your question.
17· · · · · · · · · ·(Simultaneous speakers.)
18· · · ·A.· · ·Most countries in the world -- most
19· countries in the world are based on ethnicity,
20· including England --
21· · · · · · · · · ·(Simultaneous speakers.)
22· BY MS. MUNLEY:
23· · · ·Q.· · ·I'm asking you about your awareness of
24· the origin of the term "Blood and Soil."
25· · · ·A.· · ·I don't think that's the origin of the


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·1· · · · · · · · ·BRADLEY DEAN GRIFFIN
·2· term.
·3· · · ·Q.· · ·Are you aware that it was used in Nazi
·4· Germany?
·5· · · ·A.· · ·Yes.· But, like, most countries in the
·6· world are based on ethnicity.
·7· · · ·Q.· · ·(Indiscernible.)
·8· · · ·A.· · ·Including those that opposed the Nazis.
·9· · · ·Q.· · ·So you wrote that, when you woke up on
10· August 12th, #Charlottesville was trending globally
11· and the triggering had begun.
12· · · · What is the "triggering"?
13· · · ·A.· · ·Well, I mean, I woke up -- I woke up on
14· the 12th, I checked Twitter, like I normally do in
15· the morning.· And it was just, you know, hysteria,
16· you know.· I had not seen what had happened on
17· Twitter overnight or the media coverage.· I had
18· barely seen that when I passed out and went to
19· sleep.· But I was like, Wow, the liberals sure are
20· triggered by the torch march.· Oh, my God.
21· · · ·Q.· · ·What do you mean by "triggered"?
22· · · ·A.· · ·That means that, you know, they were
23· being extremely -- extremely hysterical.
24· · · ·Q.· · ·Does it mean that they were upset about
25· it?


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·1· · · · · · · · ·BRADLEY DEAN GRIFFIN
·2· · · ·A.· · ·It means that they were hysterical and
·3· acting irrationally, as they commonly do.
·4· · · ·Q.· · ·But why were they hysterical and acting
·5· irrationally?
·6· · · ·A.· · ·I can't speculate about anyone's
·7· emotional state.· I can't read people's mind.
·8· These people believe all kind of insane things.
·9· · · ·Q.· · ·I'm just -- I'm not understanding what
10· you mean by "they were hysterical."
11· · · ·A.· · ·You would think -- you would think --
12· you would think Martians had landed.· It was -- it
13· was, you know, just beyond belief, like, you know,
14· hysteria.· The only thing I can compare it to is
15· when Orson Welles, you know, had his broadcast that
16· Martians had landed.· That was -- I woke up and I
17· was, Oh, my God, the liberal hysteria.
18· · · ·Q.· · ·So I think where we're disconnecting
19· here is people can have a hysterical reaction to a
20· number of emotions.· What emotion was behind their
21· hysteria?
22· · · ·A.· · ·They were, you know, extremely upset to
23· see that, you know, people would defend -- to
24· actually defend the monuments.· I mean, it's
25· hysterical in the fact that most people in Virginia


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·1· · · · · · · · ·BRADLEY DEAN GRIFFIN
·2· support the monuments, even after Charlottesville.
·3· This is what half the public believes.· And they're
·4· acting like this is an extremely marginal position
·5· when it's not.· Most people would not agree with
·6· vandalizing the statue of Thomas Jefferson, who was
·7· one of our greatest presidents.
·8· · · · And these people -- I mean, why are
·9· there hysterical people tearing down monuments in
10· Richmond?· Why are they tearing down statues of
11· Christopher Columbus --
12· · · · · · · · · ·(Simultaneous speakers.)
13· BY MS. MUNLEY:
14· · · ·Q.· · ·-- right now.· I want to go back to you
15· said they were hysterically upset about the
16· torchlight rally.
17· · · ·A.· · ·Right.
18· · · ·Q.· · ·That's not what you said?
19· · · ·A.· · ·I said they were hysterically upset
20· about the torchlight rally.
21· · · ·Q.· · ·Okay.· All right.· I just want to make
22· sure that we're understanding each other.· So --
23· and you had expected this.· You said, The
24· triggering had begun.· So this was something --
25· · · · · · · · · ·(Simultaneous speakers.)


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·1· · · · · · · · ·BRADLEY DEAN GRIFFIN
·2· BY MS. MUNLEY:
·3· · · ·Q.· · ·My question was:· You said the
·4· triggering had begun.· So this was something that
·5· you had expected people would be upset about,
·6· correct?
·7· · · ·A.· · ·Well, there's always hysteria on CNN.
·8· It's 24/7, so -- I did not expect there to be --
·9· that hysterical.
10· · · ·Q.· · ·But you did expect that people would be
11· upset, correct?
12· · · ·A.· · ·I expected that, you know, it would be
13· covered, but I did not expect it to be covered to
14· the extent it was.· It was -- it seemed to be --
15· get far more publicity than the first torch march
16· in May (unintelligible) --
17· · · · · · · · · ·(Simultaneous speakers.)
18· BY MS. MUNLEY:
19· · · · Q.· · I'm not asking about the amount of
20· media coverage that you had expected for the
21· torchlight rally.· I'm asking about the reaction
22· that you had expected.· Did you get the reaction
23· that you had been expecting?
24· · · ·A.· · ·No.
25· · · ·Q.· · ·Okay.· And you -- people were more


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·1· · · · · · · · ·BRADLEY DEAN GRIFFIN
·2· upset about it than you had expected; is that your
·3· testimony?
·4· · · ·A.· · ·Yes.· Like I said, it was like Martians
·5· had invaded or something like that.· It was liberal
·6· hysteria.
·7· · · ·Q.· · ·And you had not expected people to be
·8· upset about it at all; you had expected people to
·9· be supportive, correct?
10· · · ·A.· · ·I expected it would more of a state and
11· local story like the previous rally in May.· I did
12· not expect it would be getting, like, global
13· attention.· The first rally I don't think got
14· global attention like the second one.
15· · · ·Q.· · ·So the League of the South assembled at
16· their venue on Saturday morning to go together to
17· Charlottesville for the rally; is that correct?
18· · · ·A.· · ·Yes.
19· · · ·Q.· · ·Who did you travel with?
20· · · ·A.· · ·I think -- I think we went together,
21· the same group who -- who I came with, if I'm not
22· mistaken, in our vehicle.
23· · · ·Q.· · ·Okay.· And your plan was to meet up
24· with the League of the South and other groups in
25· the Nationalist Front in downtown Charlottesville,


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·1· · · · · · · · ·BRADLEY DEAN GRIFFIN
·2· correct?
·3· · · ·A.· · ·We met at a parking lot somewhere north
·4· of town, and then, from there, we convoyed to a --
·5· the parking garage.
·6· · · ·Q.· · ·Who arranged for the convoy?
·7· · · ·A.· · ·I have no idea.
·8· · · ·Q.· · ·How did you know about the convoy?
·9· · · ·A.· · ·I followed everyone to the parking lot.
10· I forgot the name of the grocery store it was.· And
11· then we all followed each other to the parking
12· garage.
13· · · ·Q.· · ·And what did you bring with you?
14· · · ·A.· · ·Me personally?
15· · · ·Q.· · ·Yes.
16· · · ·A.· · ·A selfie stick and my cell phone.
17· · · ·Q.· · ·Why did you bring a selfie stick?
18· · · ·A.· · ·Because I was filming the event.
19· · · ·Q.· · ·Did you live-stream the event?
20· · · ·A.· · ·Yes, I did.
21· · · ·Q.· · ·And was that on Periscope?
22· · · ·A.· · ·Yes, it was.
23· · · ·Q.· · ·So what was the purpose of
24· live-streaming the event on Periscope?
25· · · ·A.· · ·Well, I wanted to broadcast it to my


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·1· · · · · · · · ·BRADLEY DEAN GRIFFIN
·2· social media followers, and I also wanted to, you
·3· know, have an account of my own actions that day.
·4· · · ·Q.· · ·Was part of your intent to create a
·5· counternarrative?
·6· · · ·A.· · ·I don't know what that means.
·7· · · ·Q.· · ·Okay.· You might need to bear with us
·8· for this exhibit.· It's going to be Exhibit 20.
·9· · · · · · · · · ·(Exhibit 20 was marked for
10· · · · · · · · · · identification.)
11· BY MS. MUNLEY:
12· · · ·Q.· · ·So we're going to be playing a few
13· clips of a podcast.· Just let me know if you need
14· me to adjust the sound.
15· · · · · · · · · ·(Audio played.)
16· BY MS. MUNLEY:
17· · · ·Q.· · ·Mr. Griffin, do you recognize this
18· podcast?
19· · · ·A.· · ·(Indiscernible) podcast.
20· · · ·Q.· · ·That's Harold Crews, correct?
21· · · ·A.· · ·Yes.
22· · · ·Q.· · ·And his guest is Michael Hill?
23· · · ·A.· · ·It seems that way.
24· · · ·Q.· · ·Okay.
25· · · · · · · · · ·(Audio played.)


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·1· · · · · · · · ·BRADLEY DEAN GRIFFIN
·2· BY MS. MUNLEY:
·3· · · ·Q.· · ·That was Mr. Michael Hill talking about
·4· your role at the Unite the Right rally for League
·5· of the South; is that correct?
·6· · · ·A.· · ·That's correct.
·7· · · ·Q.· · ·Okay.· And he said that your role was
·8· to create a counternarrative and to put a spin on
·9· the facts to promote the League of the South's
10· narrative; is that correct?
11· · · ·A.· · ·Dr. Hill also said I was there to
12· record the truth, which I did.
13· · · ·Q.· · ·Okay.· But is it correct that he said
14· your role was to create a counternarrative and to
15· put a spin on the facts to promote the League of
16· the South's narrative about the day; is that
17· correct?
18· · · ·A.· · ·That's what he said in the podcast.· He
19· also said I was there to report the truth.
20· · · ·Q.· · ·Okay.· So from -- from the time that
21· you got off the convoy and you went downtown, you
22· went to Lee Park; is that correct?
23· · · ·A.· · ·Yes.
24· · · ·Q.· · ·Do you know about what time you arrived
25· at Lee Park?


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                                                                          Page 189
·1· · · · · · · · ·BRADLEY DEAN GRIFFIN
·2· · · ·A.· · ·Somewhere around 10 to 11.· 10.
·3· · · ·Q.· · ·Okay.
·4· · · ·A.· · ·10:30, I don't know.· Somewhere around
·5· that period.
·6· · · ·Q.· · ·How did you get there?
·7· · · ·A.· · ·We stopped in the garage, and everyone
·8· was in the garage lined up, and we walked into the
·9· park.
10· · · ·Q.· · ·And by "everyone," you mean every
11· attendee of Unite the Right, or everyone from
12· League of the South?
13· · · ·A.· · ·Everyone who was in the parking garage,
14· which was a lot of people who were not affiliated
15· with any particular group.
16· · · ·Q.· · ·Were the convoys for League of the
17· South people or were they for all Unite the Right
18· attendees?
19· · · ·A.· · ·It was just people who were there.· It
20· not all Unite the Right attendees.· The alt-right
21· had gathered in, I think, McIntire Park.
22· · · ·Q.· · ·So I'm sorry.· I'm a little confused by
23· your answer.
24· · · · Were the convoys specific to attendees
25· from League of the South or were they open to other


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·1· · · · · · · · ·BRADLEY DEAN GRIFFIN
·2· groups?
·3· · · ·A.· · ·It was just everyone who was -- who
·4· wanted to come with us into the rally.
·5· · · ·Q.· · ·Okay.
·6· · · ·A.· · ·Which included people who came by
·7· themselves who weren't affiliated with any group.
·8· · · ·Q.· · ·Who was with you when you entered Lee
·9· Park?
10· · · ·A.· · ·I was with my wife and my friends, and
11· we walked into the park.
12· · · ·Q.· · ·Were you with other League of the South
13· members?
14· · · ·A.· · ·Yes.· I recorded it.
15· · · ·Q.· · ·Okay.· Who specifically were you with?
16· · · ·A.· · ·My wife and my friend Michael Weaver
17· and Ryan King and Chris and Andrew, who I came
18· with.· And in front of us were other League of the
19· South members and various people from -- I had
20· never seen before.
21· · · ·Q.· · ·Was Michael Tubbs with you?
22· · · ·A.· · ·He was in the parking garage.                   I
23· wasn't, like, exactly right near Tubbs.· I was with
24· my friends.
25· · · ·Q.· · ·So you were in the same general group;


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·1· · · · · · · · ·BRADLEY DEAN GRIFFIN
·2· is that correct?
·3· · · ·A.· · ·That's correct.
·4· · · ·Q.· · ·Was Michael Hill with you?
·5· · · ·A.· · ·He was at the -- the front.· I was,
·6· like, way back, like, in the middle or the end of
·7· the people who were walking to the park.
·8· · · ·Q.· · ·But, again, the same general group,
·9· correct?
10· · · ·A.· · ·Yeah.· We parked right by the --
11· · · · · · · · · ·(Simultaneous speakers.)
12· BY MS. MUNLEY:
13· · · ·Q.· · ·I'm sorry.· You parked right by where?
14· · · ·A.· · ·The police station.
15· · · ·Q.· · ·About how many League of the South
16· members were with you at that time?
17· · · ·A.· · ·Well, there were only, like, 50 or 60
18· who came to Charlottesville, and they were all,
19· like, in that group.
20· · · ·Q.· · ·About how many League of the South
21· members are there total?
22· · · ·A.· · ·I have -- I'm not in charge of that.                   I
23· don't know.· You would have to ask Dr. Hill.
24· · · ·Q.· · ·You don't even know a ballpark?
25· · · ·A.· · ·No, I don't.· Most people who join


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·1· · · · · · · · ·BRADLEY DEAN GRIFFIN
·2· don't, like, you know, come to rallies and stuff
·3· like that.
·4· · · ·Q.· · ·When did you leave Lee Park?
·5· · · ·A.· · ·I left Lee Park when the state of
·6· emergency was declared and they ordered us to
·7· disperse.· And I left with -- I was thinking the
·8· rally was relocating to McIntire Park, and I
·9· followed the alt-right to McIntire Park.
10· · · ·Q.· · ·So that's where you went after Lee
11· Park?· You walked there; is that correct?
12· · · ·A.· · ·With my wife and friends, yes.
13· · · ·Q.· · ·Were there any clear leaders on the
14· ground at Lee Park?
15· · · ·A.· · ·Inside Lee Park, the atmosphere was
16· cordial.· Everybody was preparing for the rally.                   I
17· saw David Duke was there.· He was in high spirits.
18· I saw Mike Enoch was there.· He was in high
19· spirits.· There was one counterprotester inside Lee
20· Park who was handing out water bottles.· And he
21· told me that he wasn't with the antifa, he was just
22· there to oppose violence.· And so I took a water
23· bottle from him and gave him a hug and said, I
24· oppose violence too.· There were counter-protesters
25· even in the park, but everyone was fine.


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·1· · · · · · · · ·BRADLEY DEAN GRIFFIN
·2· · · ·Q.· · ·Did anybody seem to be in charge in the
·3· park?
·4· · · ·A.· · ·Everyone seemed to be just doing two
·5· things -- well, three things:· socializing, waiting
·6· for the event to start, or -- you know, there was a
·7· group of guys who were keeping the anarchists from
·8· charging up the steps and attacking people.
·9· · · ·Q.· · ·Did you communicate with Michael Hill
10· at all on August 12th?
11· · · ·A.· · ·I believe I saw him afterwards, but,
12· like, in the midst of the chaos in the park, not
13· really.· But I recorded that.
14· · · ·Q.· · ·Did you communicate with Michael Tubbs
15· at all while you were -- during the rally?
16· · · ·A.· · ·Tubbs was too busy trying to rescue
17· people who were getting beaten by the anarchists
18· who were coming in late by themselves.
19· · · ·Q.· · ·Did you communicate with Ike Baker at
20· all during the rally?
21· · · ·A.· · ·I saw Ike on the way out of the rally,
22· and it looked like his knee had gone out, and he
23· was waiting for someone to pick him up.
24· · · ·Q.· · ·Did you communicate with any other
25· members of League of the South during the rally?


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·1· · · · · · · · ·BRADLEY DEAN GRIFFIN
·2· · · ·A.· · ·I was mostly going around socializing
·3· with the alt-right people who were there.· And I
·4· left -- in fact, I got separated from my group.                  I
·5· went to McIntire Park, where the alt-right was.
·6· And I had to catch a ride back to the parking
·7· garage.· But I didn't go out of the park with
·8· League of the South; I went out of the park with
·9· the alt-right.
10· · · ·Q.· · ·Okay.· And were you -- were you
11· communicating about the rally on any other social
12· media platforms during the rally besides Periscope?
13· · · ·A.· · ·I don't think so.· My battery died on
14· the way out.
15· · · ·Q.· · ·Do you know who James Fields is?
16· · · ·A.· · ·Do I know who James Fields is?· Yeah.
17· Everyone knows who James Fields is now.· I didn't
18· know him at the time.
19· · · ·Q.· · ·Did you know who he was prior to the
20· rally?
21· · · ·A.· · ·Did I what?
22· · · ·Q.· · ·Did you know who he was prior to the
23· rally?
24· · · ·A.· · ·No.· The first time I ever heard of
25· James Fields was after the event was over when they


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·1· · · · · · · · ·BRADLEY DEAN GRIFFIN
·2· said there was a car crash.· And then he was
·3· identified, and no one knew him.· It wasn't until
·4· his trial that we found out anything about him at
·5· all.· We didn't know him at all.
·6· · · ·Q.· · ·Have you ever spoken to him?
·7· · · ·A.· · ·No, I have not.
·8· · · ·Q.· · ·Have you ever communicated with him in
·9· any other way?
10· · · ·A.· · ·No, I have not.
11· · · ·Q.· · ·Are you aware that he was a member of
12· Vanguard America?
13· · · ·A.· · ·No, I was not.· I saw that he was
14· (indiscernible).· I think he had a Vanguard America
15· shield.· But he was not someone known to me.· He
16· was not anyone I recognized.· He wasn't with my
17· group.
18· · · ·Q.· · ·Are you aware that he marched with
19· Vanguard America members at the rally?
20· · · ·A.· · ·I've seen the photos, but I don't think
21· he -- I don't know if they even knew him.· But that
22· group kind of disappeared after, you know,
23· Charlottesville.
24· · · ·Q.· · ·And James Fields murdered Heather Heyer
25· by driving his car into a crowd with his vehicle;


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·1· · · · · · · · ·BRADLEY DEAN GRIFFIN
·2· is that correct?
·3· · · ·A.· · ·I've seen, over the last two weeks, at
·4· least 24 similar incidents to what happened with
·5· James Fields, so I don't -- I don't think so.
·6· · · ·Q.· · ·You don't think he murdered Heather
·7· Heyer?
·8· · · ·A.· · ·I've seen 24 similar car crashes
·9· involving antifa in the streets in the last two
10· weeks, so that is -- raised my doubts.· I think he
11· just got caught at the wrong place at the wrong
12· time, just like all the other 24 people I've seen
13· over the past two weeks.
14· · · ·Q.· · ·So you don't believe he drove into a
15· crowd of protesters on August 12th; is that
16· correct?
17· · · ·A.· · ·I knew nothing about James Fields until
18· his trial, and I watched his trial.· And I didn't
19· know until his trial that he had set his GPS to
20· return home to Ohio.· So I don't see why he had his
21· GPS on to return to Ohio if he intended to murder
22· anyone.· I think he just got caught in an antifa
23· mob like all the other people we've seen over the
24· last two weeks.
25· · · ·Q.· · ·And did that result in Heather Heyer's


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·1· · · · · · · · ·BRADLEY DEAN GRIFFIN
·2· death?
·3· · · ·A.· · ·Yes, it did.· That's tragic.
·4· · · ·Q.· · ·You still claim that Heather Heyer
·5· actually died of a heart attack and not the car
·6· attack?
·7· · · ·A.· · ·No.· There was a period of confusion
·8· that stemmed from an interview her mother gave.
·9· And Michael Edison Hayden called me from Newsweek
10· and told me that -- you know, we couldn't find
11· Heather Heyer in the video footage for a while.
12· But after the autopsy come out, I said, you know,
13· that she had been hit by the car.
14· · · ·Q.· · ·Do you know DeAndre Harris?
15· · · ·A.· · ·I've only heard of him after the event,
16· but, of course, I know who DeAndre is.
17· · · · · · · · · ·(Technical discussion off the
18· · · · · · · · · · record.)
19· BY MS. MUNLEY:
20· · · ·Q.· · ·And is it your understanding that
21· DeAndre Harris was attacked by a group of Unite the
22· Right attendees?
23· · · ·A.· · ·No, that's not my understanding.
24· · · ·Q.· · ·What is your understanding?
25· · · ·A.· · ·DeAndre Harris and his friends


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·1· · · · · · · · ·BRADLEY DEAN GRIFFIN
·2· (indiscernible) pursued League of the South
·3· protesters as they were returning to their
·4· vehicles.· He approached my friend Harold Crews, he
·5· grabbed his Confederate flag and tried to steal it,
·6· like he had done with another person earlier that
·7· day.· He spun Harold around, and he hit Harold
·8· across the head with a Maglite and hurt him really
·9· bad.· In fact, I talked to Harold after the event
10· was over.· He was very injured and upset.· One of
11· the nicest Southern gentlemen I have ever met in my
12· life.· He would never harm anyone like that.
13· · · ·Q.· · ·Mr. Griffin, are you -- are you reading
14· from a document?
15· · · ·A.· · ·No, I'm not.
16· · · · · · · · · ·(Simultaneous speakers.)
17· · · ·A.· · ·I've seen that video so many times, you
18· know, I can recount from memory.· So, yeah, I've
19· written about it many times.
20· · · ·Q.· · ·So you've seen video of the attack,
21· correct?
22· · · ·A.· · ·Yes.· In fact, I found the video of
23· DeAndre Harris sneaking up behind Harold and
24· spinning him around and hitting him across the head
25· with a Maglite in front of police officers who let


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·1· · · · · · · · ·BRADLEY DEAN GRIFFIN
·2· it happen.· And it was one of the most disgraceful
·3· things I've ever seen in my life.· And what's
·4· happened since then by these very same people
·5· disgusts me.· And I am no bit surprised.· Because
·6· what happened in Charlottesville has happened all
·7· over this country in the last few weeks.
·8· · · ·Q.· · ·All right.· Mr. Griffin, I'm going to
·9· cut you off.
10· · · · When did you first hear about the
11· incident with DeAndre Harris?
12· · · ·A.· · ·It was after I got back.· I think it
13· was at the -- at the -- the hippie compound or
14· whatever, the new-age place where I saw Harold, and
15· he was bleeding from his forehead.
16· · · ·Q.· · ·So Harold Crews is the person who told
17· you about the incident; is that correct?
18· · · ·A.· · ·Yes.· I believe it was Harold who told
19· me.· I was outraged by it.
20· · · ·Q.· · ·There were League of the South members
21· involved in this incident besides Harold Crews; is
22· that correct?
23· · · ·A.· · ·Yes.· There were -- there were people
24· who weren't even part of our group.· They saw these
25· people attack a man and try to steal his property


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·1· · · · · · · · ·BRADLEY DEAN GRIFFIN
·2· and hit him in the side of the head with a
·3· flashlight while cops looked on.· And that caused a
·4· melee.· It's extremely sad that, you know -- what
·5· happened -- the most outrageous thing about it is
·6· that the video was deliberately edited, and it was
·7· broadcast all over the media.· But they left out
·8· the part where Corey Long and DeAndre Harris
·9· approached Harold, tried to steal his flag, and hit
10· him over the head with a Maglite.
11· · · ·Q.· · ·Okay.· So in addition to Harold Crews,
12· Michael Tubbs was involved in this incident; is
13· that correct?
14· · · ·A.· · ·I don't recall -- I don't recall Tubbs
15· getting physically involved.· I think I saw it --
16· I've seen the video.· But Harold is a nice man.· He
17· is an elderly man.· And elderly people were being
18· attacked by thugs in front of the Charlottesville
19· Police Department while they watched.
20· · · ·Q.· · ·I don't need your editorializing on
21· this incident.· I've just got a couple more
22· questions.· We're trying to get through this.
23· Okay?
24· · · ·A.· · ·That's the facts.
25· · · ·Q.· · ·What I'm asking is:· Was Michael Tubbs


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·1· · · · · · · · ·BRADLEY DEAN GRIFFIN
·2· present during this incident?
·3· · · ·A.· · ·I wasn't there at the time.· I was in
·4· McIntire Park.
·5· · · ·Q.· · ·All right.· When did this incident
·6· occur, roughly?
·7· · · ·A.· · ·After the event was over, the League of
·8· the South -- the event was canceled, and they
·9· returned to the parking garage to leave and go back
10· to the place we were staying at north of town.
11· They were returning to their vehicles in the
12· parking garage.
13· · · · · · · · · ·MS. MUNLEY:· Allegra, will you
14· · · · · · ·show tab 90.· I think it's going to be
15· · · · · · ·Exhibit 21.
16· · · · · · · · · ·(Exhibit 21 was marked for
17· · · · · · · · · · identification.)
18· BY MS. MUNLEY:
19· · · ·Q.· · ·Mr. Griffin, can you see this photo?
20· · · ·A.· · ·Yes, I can see that photo.
21· · · ·Q.· · ·Do you recognize this as a photograph
22· of the incident that we're discussing?
23· · · ·A.· · ·Yes.
24· · · ·Q.· · ·The man who is circled there, is that
25· Mr. Tubbs?


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·1· · · · · · · · ·BRADLEY DEAN GRIFFIN
·2· · · ·A.· · ·It looks like him.· I can't really
·3· tell, though.
·4· · · ·Q.· · ·Do you recognize anybody else in this
·5· photo?
·6· · · ·A.· · ·I believe that's Daniel Borden, who is
·7· currently in jail.
·8· · · ·Q.· · ·And I apologize.· Can you describe who
·9· you're speaking about?
10· · · ·A.· · ·I think that's the guy on the right,
11· the one who went to jail.
12· · · ·Q.· · ·The white helmet.
13· · · · · · · · · ·(Simultaneous speakers.)
14· · · ·A.· · ·Can I what?
15· · · ·Q.· · ·I'm sorry.· I'm asking Allegra to
16· circle that person to make sure we're talking about
17· the same person.
18· · · · This person is Daniel Borden?
19· · · ·A.· · ·I believe so.· I believe he's one of
20· the ones in jail.
21· · · ·Q.· · ·And do you recognize anybody else in
22· this photo?
23· · · ·A.· · ·No, I don't.
24· · · ·Q.· · ·The person to the left, all the way on
25· the left, holding -- I can't tell what.· Can you


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·1· · · · · · · · ·BRADLEY DEAN GRIFFIN
·2· identify what he's holding?
·3· · · ·A.· · ·It looks like a flag upside down.
·4· · · ·Q.· · ·And the person on the far right -- who
·5· is holding what appears to be a shield; is that
·6· correct?
·7· · · ·A.· · ·Yes.
·8· · · ·Q.· · ·And they are using those items as
·9· weapons here; is that correct?
10· · · ·A.· · ·It appears that way.· Is that DeAndre?
11· · · ·Q.· · ·On the ground?
12· · · ·A.· · ·Yeah.
13· · · ·Q.· · ·I would assume so.
14· · · ·A.· · ·Yes.· This was the scuffle after he had
15· attacked Harold with the Maglite.
16· · · · · · · · · ·MS. MUNLEY:· Allegra, you can
17· · · · · · ·take this down.
18· BY MS. MUNLEY:
19· · · ·Q.· · ·Tyler Davis was also involved in this
20· incident; is that correct?
21· · · ·A.· · ·He's been charged with it, but I wasn't
22· there to personally witness it.
23· · · · · · · · · ·(Simultaneous speakers.)
24· BY MS. MUNLEY:
25· · · ·Q.· · ·Did you know Tyler Davis before Unite


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·1· · · · · · · · ·BRADLEY DEAN GRIFFIN
·2· the Right?
·3· · · ·A.· · ·I met him before in Florida.
·4· · · ·Q.· · ·Were you friendly?
·5· · · ·A.· · ·I would suppose so.· I only briefly met
·6· him and shook his hand.
·7· · · ·Q.· · ·Were you with him during the Unite the
·8· Right rally?
·9· · · ·A.· · ·No, I was not.
10· · · ·Q.· · ·Did you see him on that day?
11· · · ·A.· · ·I believe so.
12· · · ·Q.· · ·And you believe he was staying at the
13· same venue as you were, correct?
14· · · ·A.· · ·I think so.· I'm not exactly sure.
15· · · ·Q.· · ·Four individuals -- Tyler Davis, Jacob
16· Goodwin, Daniel Borden, and Alex Ramos -- were
17· charged with malicious wounding as a result of this
18· incident, correct?
19· · · ·A.· · ·Yes.
20· · · ·Q.· · ·And all four of them are serving time
21· in prison, correct?
22· · · ·A.· · ·Last I checked.
23· · · ·Q.· · ·Did you know Jacob Goodwin before Unite
24· the Right?
25· · · ·A.· · ·No, I did not.


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·1· · · · · · · · ·BRADLEY DEAN GRIFFIN
·2· · · ·Q.· · ·Do you know Daniel Borden?
·3· · · ·A.· · ·No, I do not.· I've only seen him in
·4· the media.· He wasn't with my group.
·5· · · ·Q.· · ·And do you know Alex Ramos?
·6· · · ·A.· · ·I especially don't know that guy.
·7· That's an Hispanic guy from Atlanta, if I'm
·8· mistaken -- not mistaken.
·9· · · ·Q.· · ·Are any of them League of the South
10· members?
11· · · ·A.· · ·No.· Davis -- Tyler Davis was a League
12· of the South member.
13· · · · · · · · · ·MS. MUNLEY:· Okay.· Allegra, I'm
14· · · · · · ·going to ask you to put tab 24 back up.
15· · · · · · ·I know we've used this as an exhibit
16· · · · · · ·already, and I don't know what the
17· · · · · · ·number was.
18· BY MS. MUNLEY:
19· · · ·Q.· · ·We're getting really close,
20· Mr. Griffin, I promise.
21· · · ·A.· · ·My son has been quiet so far.
22· · · ·Q.· · ·He's doing really well.
23· · · · All right.· I think we identified these
24· earlier as posts you made on Discord in September
25· of 2017; is that correct?


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·1· · · · · · · · ·BRADLEY DEAN GRIFFIN
·2· · · ·A.· · ·That's correct.
·3· · · ·Q.· · ·And at that point, you wrote, The
·4· optics were fine.· We projected strength and unity.
·5· Could have done without the one swastika flag, but
·6· the overall image of the event was defined by the
·7· polos/khakis; is that correct?
·8· · · ·A.· · ·Yes.
·9· · · ·Q.· · ·And that was your opinion of the Unite
10· the Right rally in September 2017; is that correct?
11· · · ·A.· · ·This was during what's called the
12· optics war, which was a fiasco.
13· · · ·Q.· · ·Can you explain that?
14· · · ·A.· · ·After the Unite the Right rally, the
15· alt-right began arguing over the optics of the
16· event, and that went on for months into 2018.· But
17· that's what that's in reference to.
18· · · ·Q.· · ·Okay.· And you were on the side of the
19· optics being positive from the Unite the Right
20· rally; is that correct?
21· · · ·A.· · ·I felt the optics argument was
22· seriously, seriously, like, overblown.
23· · · ·Q.· · ·All right.· But here you say, The
24· optics were fine, correct?
25· · · ·A.· · ·I mean, in terms of what we intended to


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·1· · · · · · · · ·BRADLEY DEAN GRIFFIN
·2· do, yes.· There was one individual who showed up
·3· with a swastika flag who no one knew, and we never
·4· found out who that guy was.· He was never doxed.
·5· Everyone agreed that that guy, you know, was an
·6· embarrassment.· And -- but I think, you know, when
·7· we were attacked by anarchists in the park, I felt,
·8· you know, we were doing the right thing.· I think
·9· we looked good.
10· · · ·Q.· · ·Mr. Griffin, what was the -- what would
11· you say the normies' reaction to the Unite the
12· Right rally was?
13· · · ·A.· · ·A lot of people were inspired by it,
14· because they had been looking for people to defend
15· the monuments and to stand up for their rights.
16· And, of course, there was a lot of infighting and
17· hysteria afterwards.· These posts are in reference
18· to the infighting that was after the event.
19· · · ·Q.· · ·The infighting amongst who?
20· · · ·A.· · ·Everyone who went to the rally who had
21· this -- this debate over optics that went on for,
22· like, six months.
23· · · ·Q.· · ·So you're not expressing an opinion
24· here that the optics of Unite the Right were
25· overall positive in the American public; is that


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·1· · · · · · · · ·BRADLEY DEAN GRIFFIN
·2· correct?
·3· · · ·A.· · ·In hindsight, I think, you know, the
·4· optics are better than, you know, they were made
·5· out to be at the time.· The anarchists who attacked
·6· us that day have gone down to burn down the entire
·7· country, so -- and tear down all these monuments,
·8· so, you know, I think it was the right thing to
·9· support the Lee monument, although I didn't count
10· on the police standing down that day.· And I
11· wouldn't do it again.
12· · · ·Q.· · ·And you would call the whole Unite the
13· Right overall a success; is that correct?
14· · · ·A.· · ·No.· We were -- we entrusted our
15· security to the police, and that was a mistake, and
16· it was a mistake we learned from.
17· · · ·Q.· · ·So you are saying that the reason that
18· Unite the Right was a failure was not because a
19· woman was murdered, it was because you entrusted
20· your security to the police; is that correct?
21· · · ·A.· · ·The reason Unite the Right was a
22· failure, as was determined in the Heaphy report, is
23· that the police barricaded themselves and watched
24· on while a city descended to anarchy.· And for over
25· two hours after the event, antifa was parading


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·1· · · · · · · · ·BRADLEY DEAN GRIFFIN
·2· through the streets attacking people leaving the
·3· event and just bystanders.· When you allow your
·4· city to descend into lawlessness like that, that's
·5· why, you know, it was a failure.· We should not --
·6· we don't need to be associated with those kind of
·7· optics, like the kind we're seeing, you know, the
·8· anarchists do all over the country now.
·9· · · ·Q.· · ·League of the South disassociated
10· itself from the Nationalist Front after Unite the
11· Right; is that correct?
12· · · ·A.· · ·I believe in 2018.
13· · · ·Q.· · ·Do you know why?
14· · · ·A.· · ·Well, it was never really an -- it was
15· never really, you know, an ideal match in the first
16· place.· And we decided to deal with the flash model
17· of holding activism.· So we didn't even want to be
18· in the same area as violent anarchists.· So we
19· didn't -- at that point, you know, we decided to,
20· you know, change tactics.
21· · · · · · · · · ·MS. MUNLEY:· Okay.· We're going
22· · · · · · ·to take maybe five minutes to make sure
23· · · · · · ·we're done here.· And then, Brian, we
24· · · · · · ·can turn it over to you.· We can go off
25· · · · · · ·the record right now.


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1· · · · BRADLEY DEAN GRIFFIN
2· · · · · THE VIDEOGRAPHER:· The time is
3· · 3:50 p.m.· We're off the record.
4· · · · · (Recess from 3:50 p.m. to
5· · · · · ·3:57 p.m.)
6· · · · · · · · · ·THE VIDEOGRAPHER:· The time is
7· · · · · · ·3:57 p.m.· We're on the record.
8· BY MS. MUNLEY:
9· · · ·Q.· · ·Mr. Griffin, have you consulted any
10· documents during this deposition today?
11· · · ·A.· · ·No.
12· · · ·Q.· · ·Have you spoken to anybody about the
13· subject matter of this deposition during the
14· deposition today?
15· · · ·A.· · ·I briefly talked to my lawyer.
16· · · · · · · · · ·MS. MUNLEY:· Okay.· All
17· · · · · · ·right.· No more questions from me.
18· · · · · · ·Mr. Jones, do you have any cross?
19· · · · · · · · · ·MR. JONES:· I don't have any
20· · · · · · ·questions.
21· · · · · · · · · ·MS. MUNLEY:· Okay.· All
22· · · · · · ·right.· Mr. Griffin, thank you so much
23· · · · · · ·for your time.· And I just want to put
24· · · · · · ·on the record that we are going to do
25· · · · · · ·the standard stipulations.


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                                                                           Page 211
·1· · · ·BRADLEY DEAN GRIFFIN
·2· · · · ·MR. CAMPBELL:· No questions.
·3· ·Dave Campbell.· Thanks.· Have a good
·4· ·one.
·5· · · · ·THE VIDEOGRAPHER:· 3:58 p.m.
·6· ·We're off the record.
·7· · · · ·(The deposition of BRADLEY DEAN
·8· · · · · GRIFFIN concluded at 3:58 p.m.)
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·1· · · · · · · · ·BRADLEY DEAN GRIFFIN

·2· · · · · · · ·REPORTER'S CERTIFICATE

·3· · · · · · I, Greta H. Duckett, Certified Court

·4· Reporter, Registered Professional Reporter, and

·5· Certified Realtime Reporter, hereby certify that on

·6· Thursday, June 11, 2020, I reported the deposition

·7· of BRADLEY DEAN GRIFFIN, who was first duly sworn

·8· or affirmed to speak the truth in the matter of the

·9· foregoing cause, and that the pages herein contain

10· a true and accurate transcription of the

11· examination of said witness by counsel for the

12· parties set out herein.

13· · · · · · I further certify that I am neither of kin

14· nor of counsel to any of the parties to said cause,

15· nor in any manner interested in the results

16· thereof.

17· · · · · · This 17th day of June, 2020.

18

19

20·   __________________________________________
· ·   GRETA H. DUCKETT, RPR, CRR, CVR-S, RVR-M-S
21·   ACCR-12, GCCR-2891, MCCR-1945, TNLCR-671
· ·   Commissioner, State of Alabama at Large
22·   CCR EXPIRATION:· 9/30/20
· ·   MY COMMISSION EXPIRES:· 5/17/21
23

24

25


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·1· · · · · · · · · · ERRATA SHEET

·2· Case Name:

·3· Deposition Date:

·4· Deponent:

·5· Pg.· No. Now Reads· · ·Should Read· Reason

·6· ___· ___ __________· · __________· ·____________________

·7· ___· ___ __________· · __________· ·____________________

·8· ___· ___ __________· · __________· ·____________________

·9· ___· ___ __________· · __________· ·____________________

10· ___· ___ __________· · __________· ·____________________

11· ___· ___ __________· · __________· ·____________________

12· ___· ___ __________· · __________· ·____________________

13· ___· ___ __________· · __________· ·____________________

14· ___· ___ __________· · __________· ·____________________

15· ___· ___ __________· · __________· ·____________________

16· ___· ___ __________· · __________· ·____________________

17· ___· ___ __________· · __________· ·____________________

18· ___· ___ __________· · __________· ·____________________

19· ___· ___ __________· · __________· ·____________________

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· ·   · · · · · · · · · · · · · · · · _____________________
21
· ·   · · · · · · · · · · · · · · · · Signature of Deponent
22
· ·   SUBSCRIBED AND SWORN BEFORE ME
23·   THIS ____ DAY OF __________, 2020.

24· ____________________

25· (Notary Public)· ·MY COMMISSION EXPIRES:__________


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